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1A
 101-7-TDR
 /2010
 /2009
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF ILLINOIS
                                                        EASTERN DIVISION


              In re:                                         §
                                                             §
              Hull House Association                         §     Case No. 12-04800
                                                             §
                                  Debtor                     §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      DEBORAH M. GUTFELD, chapter 7 trustee, submits this Final Account, Certification
              that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 1,106,470.91                        Assets Exempt: 0.00
              (Without deducting any secured claims)

              Total Distributions to Claimants: 604,506.37          Claims Discharged
                                                                    Without Payment: 22,114,658.00

              Total Expenses of Administration: 506,080.48


                      3) Total gross receipts of $ 1,110,586.85 (see Exhibit 1), minus funds paid to the debtor
              and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 1,110,586.85 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS           CLAIMS                 CLAIMS                 CLAIMS
                                                SCHEDULED         ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                 $ 2,243,222.00         $ 1,500.52            $ 1,500.52                $ 1,500.52

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA         506,080.48             506,080.48            506,080.48

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA                NA                     NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                             71,814.34      3,885,802.39           3,788,078.99            603,005.85

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                            6,001,704.33     25,897,468.65          10,734,964.79                      0.00

TOTAL DISBURSEMENTS                              $ 8,316,740.67   $ 30,290,852.04        $ 15,030,624.78        $ 1,110,586.85


                  4) This case was originally filed under chapter 7 on 02/10/2012 . The case was pending
          for 48 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 01/19/2016                        By:/s/DEBORAH M. GUTFELD
                                                                         Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                            EXHIBITS TO
                                                          FINAL ACCOUNT


              EXHIBIT 1 – GROSS RECEIPTS

                             DESCRIPTION                                   UNIFORM                                     $ AMOUNT
                                                                          TRAN. CODE1                                  RECEIVED

    Accounts Receivable                                                      1129-000                                         236,916.94

    Jane Addams Hull House Association name                                  1129-000                                          15,000.00

    Other Deposits (as of 10/31/11)                                          1129-000                                           8,664.03

Possible D&O and/or professional liability claims
against Qu                                                                   1129-000                                         850,000.00

    Post-Petition Interest Deposits                                          1270-000                                               5.88

TOTAL GROSS RECEIPTS                                                                                                    $ 1,110,586.85
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                      DESCRIPTION                         UNIFORM             $ AMOUNT
                                                                                                   TRAN. CODE              PAID

NA                                                                                                      NA                           NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                       $ NA
THIRD PARTIES


              EXHIBIT 3 – SECURED CLAIMS




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                                                  UNIFORM         CLAIMS
                                                                                   CLAIMS           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.       SCHEDULED                                            CLAIMS PAID
                                                                                  ASSERTED         ALLOWED
                                                   CODE       (from Form 6D)

              The PrivateBank & Trust
              Company 120 S. LaSalle
              Street Chicago, IL 60603                            1,943,222.00               NA              NA               0.00


              The PrivateBank & Trust
              Company 120 S. LaSalle
              Street Chicago, IL 60603                              300,000.00               NA              NA               0.00


              Internal Revenue Service            4300-000                 NA           1,345.93         1,345.93         1,345.93


              Illinois Department of
              Revenue                             4800-000                 NA            154.59           154.59            154.59

TOTAL SECURED CLAIMS                                            $ 2,243,222.00        $ 1,500.52       $ 1,500.52       $ 1,500.52


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                           UNIFORM
                                                               CLAIMS             CLAIMS            CLAIMS
                PAYEE                       TRAN.                                                                   CLAIMS PAID
                                                             SCHEDULED           ASSERTED          ALLOWED
                                            CODE

DEBORAH M. GUTFELD                          2100-000                     NA          56,567.61         56,567.61         56,567.61


Project Leadership Associates               2420-000                     NA          14,400.00         14,400.00         14,400.00


Associated Bank                             2600-000                     NA           8,157.15          8,157.15          8,157.15


Bank of America                             2600-000                     NA             882.66            882.66            882.66


Clerk of the U.S. Bankruptcy Court,
Northern District of Illinois               2990-000                     NA          10,893.40         10,893.40         10,893.40


Arnstein & Lehr LLP                         3210-000                     NA         220,051.37        220,051.37        220,051.37




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                                          UNIFORM
                                                             CLAIMS            CLAIMS             CLAIMS
               PAYEE                       TRAN.                                                                 CLAIMS PAID
                                                           SCHEDULED          ASSERTED           ALLOWED
                                           CODE

Nisen & Elliott, LLC                       3210-600                    NA         170,000.00        170,000.00       170,000.00


Arnstein & Lehr LLP                        3220-000                    NA            2,800.19         2,800.19          2,800.19


Arnstein & Lehr LLP                        3220-000                    NA          11,169.74         11,169.74        11,169.74


Popowcer Katten, Ltd.                      3410-000                    NA            9,044.50         9,044.50          9,044.50


Ceridian Corporation                       3991-000                    NA            2,113.86         2,113.86          2,113.86

TOTAL CHAPTER 7 ADMIN. FEES                                         $ NA        $ 506,080.48      $ 506,080.48      $ 506,080.48
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                             CLAIMS            CLAIMS             CLAIMS
               PAYEE                       TRAN.                                                                 CLAIMS PAID
                                                           SCHEDULED          ASSERTED           ALLOWED
                                           CODE

NA                                               NA                    NA                 NA               NA               NA

TOTAL PRIOR CHAPTER ADMIN.                                          $ NA                $ NA             $ NA              $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                               CLAIMS            CLAIMS
                                                 UNIFORM
                                                             SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.               CLAIMANT                  TRAN.                                                          CLAIMS PAID
                                                              (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                  6E)             Claim)

             Addison Wright 7809 S.
             Calumet Chicago, IL 60619                               249.98                 NA             NA               0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6E)             Claim)

            Adrienne Gillaird 10500 S
            Union Avenue Chicago, IL
            60628                                                   0.00                 NA             NA            0.00


            Agnes Bonano 3537 W Beach
            St Chicago, IL 60651                                    0.00                 NA             NA            0.00


            Alice McColler 7625 S. Laflin
            Chicago, IL 60620                                       0.00                 NA             NA            0.00


            Alicia Beal 2771 E. Goodrich
            Ave Burnham, IL 60633                                   0.00                 NA             NA            0.00


            Alicia Kimball 509 West 36th
            Street Basement Chicago, IL
            60609                                               1,709.49                 NA             NA            0.00


            Alphia Miller 208 North
            Central Avenue 1st Floor
            Chicago, IL 60644                                     149.88                 NA             NA            0.00


            Amanda Frankel 440 West
            Barry #901 Chicago, IL 60657                            0.00                 NA             NA            0.00


            Amy Douglass 2234 Willow
            Rd. Homewood, IL 60430                                  0.00                 NA             NA            0.00


            Andre Robinson 4829 S.
            Prairie Ave. Chicago, IL
            60615                                                   0.00                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6E)             Claim)

            ANDREA M. JOHNSON
            14218 S. DEARBORN
            RIVERDALE, IL 60827                                     0.00                 NA             NA            0.00


            Angela Smith 11640 S.
            Watkins Chicago, IL 60643                               0.00                 NA             NA            0.00


            Angelica Antunez 2504 N.
            Spaulding Chicago, IL 60647                             0.00                 NA             NA            0.00


            Anna Blocker 4711 N. Sawyer
            1st Flr. Chicago, IL 60625                            130.85                 NA             NA            0.00


            Annie Scheffler 1032 West
            Oakdale Avenue #1 Chicago,
            IL 60657                                                0.00                 NA             NA            0.00


            Anthony Warren 6642 S
            Vernon Chicago, IL 60637                                0.00                 NA             NA            0.00


            Apryl Young P.O. Box 2192
            Hammond, IN 46323                                     825.77                 NA             NA            0.00


            Ardena Hoffman 11920 South
            Central Park Alsip, IL 60803                            0.00                 NA             NA            0.00


            Arnedia McCray 7258 South
            Richmond Chicago, IL 60629                              0.00                 NA             NA            0.00


            Ashley Olds 2101 W.
            Roosevelt Road - 2C
            Broadview, IL 60155                                     0.00                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6E)             Claim)

            Azhar Harris 338 Custer Ave
            Evanston, IL 60202                                      0.00                 NA             NA            0.00


            Barbara Allen 18331
            Mulberry Ter. CC Hills, IL
            60478                                                   0.00                 NA             NA            0.00


            Barbara Becker 2548 N
            Bernard St Chicago, IL 60647                          143.18                 NA             NA            0.00


            Barbara Caruthers 1334 W
            Van Buren Apt. 1f Chicago,
            IL 60607                                                0.00                 NA             NA            0.00


            Barbara Mapp-Hamb 9760 S
            Ingleside Ave Chicago, IL
            60628                                                 703.60                 NA             NA            0.00


            Barry Reed 6444 S. Richmond
            Chicago, IL 60629                                     796.44                 NA             NA            0.00


            Betty Howard 2207 W. Morse
            Ave 2W Chicago, IL 60645                                0.00                 NA             NA            0.00


            Beverly Jackson 16111 S.
            Ellis South Holland, IL 60473                         857.52                 NA             NA            0.00


            BOOKER WASHINGTON,
            JR. 4832 WEST HIRSCH
            APT #315 CHICAGO, IL
            60651                                                 436.69                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6E)             Claim)

            Brenda Alford 4501 S
            Leclaire Chicago, IL 60638                              0.00                 NA             NA            0.00


            Brenetta Stephenson 4641 S.
            Vincennes #2 Chicago, IL
            60653                                                   0.00                 NA             NA            0.00


            Brigitte Beal 8512 S. Manistee
            Ave. Chicago, IL 60617                                  0.00                 NA             NA            0.00


            Camelia Gonzalez 4152 W.
            Wellington Apt 2 Chicago, IL
            60641                                                   0.00                 NA             NA            0.00


            Carmen Knighten 14009
            Marquette Burnham, IL 60633                           619.16                 NA             NA            0.00


            Carolee McPherson 14620
            Hamlin Ave Apt 1 Midlothian,
            IL 60445                                                0.00                 NA             NA            0.00


            Carolyn Sabzali 1149 W.
            Vernon Park Place Unit I
            Chicago, IL 60607                                     424.77                 NA             NA            0.00


            Cassandra Barfield 8917 S.
            Clyde Chicago, IL 60617                                 0.00                 NA             NA            0.00


            Cathy Miller 1906 W Pratt
            Blvd Apt 3b Chicago, IL
            60626                                                 523.49                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            Charlene Houston 7617 S.
            Peoria Chicago, IL 60620                               114.68                 NA             NA            0.00


            Charlene Watson 4220 W.
            Gladys Chicago, IL 60624                                 0.00                 NA             NA            0.00


            Charlotte Hudson P.O. Box
            495971 2b Chicago, IL 60649                              0.00                 NA             NA            0.00


            Cheryl Welch 351 E. 146th St.
            Harvey, IL 60426                                         0.00                 NA             NA            0.00


            Christine Goodwin 6553 S.
            Seeley Chicago, IL 60636                               896.00                 NA             NA            0.00


            Chyvonne Patty 2131 N.
            Mason Chicago, IL 60639                                  0.00                 NA             NA            0.00


            Clarence Hogan 1126 East
            47th Street #4 Chicago, IL
            60653                                                    0.00                 NA             NA            0.00


            Colleen Diaz 9316 S.
            Eggleston Chicago, IL 60620                              0.00                 NA             NA            0.00


            Constance Mitchell 13153 S.
            Brandon Chicago, IL 60633                                0.00                 NA             NA            0.00


            Cora Halley 3930 N Pine
            Grove Apt 1213 Chicago, IL
            60613                                                    0.00                 NA             NA            0.00




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                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            Cornelia Vacaru 7913 N.
            Oconto Avenue Niles, IL
            60714                                                    0.00                 NA             NA            0.00


            Cortaiga Johnson 1018
            Eastern Ave Bellwood, IL
            60104                                                  260.39                 NA             NA            0.00


            Crystal Silvestre 609 Vine St
            Joliet, IL 60435                                       796.21                 NA             NA            0.00


            Curtis Roeschley 5253 W.
            Eddy St Chicago, IL 60641                            1,578.35                 NA             NA            0.00


            Cynthia Gentry-Celestine
            1341 North Mason Ave
            Chicago, IL 60651                                      445.10                 NA             NA            0.00


            Cynthia Gerena 1915 N. Tripp
            Ave. Chicago, IL 60639                                   0.00                 NA             NA            0.00


            Danielle Butts 4053 Wolf
            Road Western Springs, IL
            60558                                                1,607.27                 NA             NA            0.00


            Danielle McReynolds 1302
            West 14th Street Chicago, IL
            60608                                                  215.27                 NA             NA            0.00


            Darlene Bell 6754 South
            Laflin Chicago, IL 60636                                 0.00                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            DARLENE HUMPHEY 7640
            S. RIDGELAND STREET
            CHICAGO, IL 60649                                    7,643.79                 NA             NA            0.00


            Darryl Hopson 36 E. 91st
            Street Chicago, IL 60619                               705.45                 NA             NA            0.00


            David Hamilton 8629 South
            Kingston #1 Chicago, IL
            60617                                                    0.00                 NA             NA            0.00


            Deadria Pittman-Howard 5540
            West Congress #1 Chicago, IL
            60644                                                    0.00                 NA             NA            0.00


            DeAnne Mann 9619 S. Racine
            Chicago, IL 60643                                       91.11                 NA             NA            0.00


            Debbie Rogers 127 West
            111th Place Chicago, IL
            60628                                                    0.00                 NA             NA            0.00


            Deborah Dunmars 6509 S
            Maryland Ave 2nd Floor
            Chicago, IL 60637                                        0.00                 NA             NA            0.00


            Deborah Whitted 10-158th Pl.
            Apt. 1n Calumet City, IL
            60409                                                  246.42                 NA             NA            0.00




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                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            Delfina Mena 5010 N Albany
            Chicago, IL 60625                                        0.00                 NA             NA            0.00


            Denise Pinkston 1846 S.
            Central Pk Apt 2 Chicago, IL
            60623                                                    0.00                 NA             NA            0.00


            Diane Vargas 4875 N
            Magnolia #112 Chicago, IL
            60640                                                    0.00                 NA             NA            0.00


            Dianne Laing 5320 N
            Sheridan #505 Chicago, IL
            60640                                                    0.00                 NA             NA            0.00


            Dianne Turner 534 Harrison
            Ave. 1st Fl. Calumet City, IL
            60409                                                   86.58                 NA             NA            0.00


            Donna Ballentine 4206 West
            Roosevelt Road 3C #1
            Chicago, IL 60624                                       90.00                 NA             NA            0.00


            Doris Bedford 10242 South
            Emerald Chicago, IL 60628                                0.00                 NA             NA            0.00


            Dorothy Hayes-Dunlap 7143
            S Ingleside Avenue Chicago,
            IL 60619                                                41.23                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            DR. JOAN MCCOHNELL
            7131 S. CONSTANCE
            CHICAGO, IL 60649                                      183.27                 NA             NA            0.00


            E. Pollard 310 Manistee Ave
            Calumet City, IL 60409                                   0.00                 NA             NA            0.00


            Edith Berry 7620 S. Morgan
            Chicago, IL 60620                                        0.00                 NA             NA            0.00


            Elaine Austin 726 E. 42nd
            Street Basement Chicago, IL
            60653                                                  264.17                 NA             NA            0.00


            Elizabeth Griffin 2465 E. 74th
            Pl. Chicago, IL 60649                                    0.00                 NA             NA            0.00


            Emma McKinney 711 East
            101st St Chicago, IL 60628                               0.00                 NA             NA            0.00


            Ericka Smith 18145 Rarisloe
            Terrace Dr. Country Club
            Hills, IL 60478                                          0.00                 NA             NA            0.00


            Erin Roberton 4133 West 90th
            Place Hometown, IL 60456                             1,443.75                 NA             NA            0.00


            Ethel Strong 8802 S. Parnell
            Ave 1st Floor Chicago, IL
            60620                                               10,394.93                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            Evelyn Stockley 4937
            Butterfield Rd Hillside, IL
            60162                                                    0.00                 NA             NA            0.00


            Everlean Murph 8403 S
            Euclid Chicago, IL 60617                                 0.00                 NA             NA            0.00


            Farahnaz Bagban 5600 North
            Sheridan Apt # 6G Chicago,
            IL 60660                                                 0.00                 NA             NA            0.00


            Felicia Poindexter 1012 W.
            174th East Hazel Crest, IL
            60429                                                  637.97                 NA             NA            0.00


            Gail Dixon 2118 N. Richmond
            1st Floor Chicago, IL 60647                              0.00                 NA             NA            0.00


            Gail Gamble 352 W. 117th St
            Chicago, IL 60628                                        0.00                 NA             NA            0.00


            Gaspar Soto 3654 S.
            Hermitage Chicago, IL 60609                              0.00                 NA             NA            0.00


            Geneva Portis 8828 S.
            Emerald Chicago, IL 60620                                0.00                 NA             NA            0.00


            Genny Villegas 4768 N
            Keystone Chicago, IL 60630                               0.00                 NA             NA            0.00


            Gertrude Jones 2929 East
            Hickory Lane Crete, IL 60417                             0.00                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            Gloria Junius 5830 S. Shields
            Apt1 Chicago, IL 60621                                   0.00                 NA             NA            0.00


            Gloria Reed 3537 Dale Drive
            Crete, IL 60417                                          0.00                 NA             NA            0.00


            Gloria Robinson 6621 S. Yale
            Chicago, IL 60621                                        0.00                 NA             NA            0.00


            Gloria Thomas 8828 S. Justine
            Chicago, IL 60620                                        0.00                 NA             NA            0.00


            Gloria Williams 7757 South
            Winchester Chicago, IL 60620                             0.00                 NA             NA            0.00


            Gwen McCurdy 10338 S.
            Prairie Chicago, IL 60628                              185.81                 NA             NA            0.00


            Gwendoyln Kent 7743 S.
            Reilly Terr. Chicago, IL
            60652                                                    0.00                 NA             NA            0.00


            Hazel Alston 10053 S. Hill
            Ter Apt. 213 Palos Hills, IL
            60465                                                    0.00                 NA             NA            0.00


            Illinois Department of
            Revenue Bankruptcy Section
            PO Box 64338 Chicago, IL
            60664                                                    0.00                 NA             NA            0.00




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            Internal Revenue Service
            Special Procedures Branch
            230 S. Dearborn, Suite 3030A
            Attn: STOP 5010-CHI
            Chicago, IL 60604                                        0.00                 NA             NA            0.00


            Irene Camacho 1653 North
            Whipple Chicago, IL 60647                                0.00                 NA             NA            0.00


            Ivan Ramos 3572 West
            Palmer First Floor Chicago, IL
            60647                                                  425.53                 NA             NA            0.00


            Jacquelyn Booker 7538 S.
            Dobson Ave Chicago, IL
            60619                                                    0.00                 NA             NA            0.00


            James Alexander 9542 S.
            Clyde Chicago, IL 60617                                  0.00                 NA             NA            0.00


            Jan Dunning 7115 W. North
            Ave. 328 Oak Park, IL 60302                            216.76                 NA             NA            0.00


            Jane Cornett 651 West
            Melrose 2n Chicago, IL 60657                           489.62                 NA             NA            0.00


            Janet Williams 9330 S.
            Loomis St Chicago, IL 60620                              0.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            Janice Baska 401 East 32nd
            St. Apt #602 Chicago, IL
            60616                                                   51.42                 NA             NA            0.00


            Jeanette Allen 10110 South
            Prairie Apt 1 Chicago, IL
            60628                                                  424.64                 NA             NA            0.00


            JEANETTE HILL 816 EAST
            46TH STREET - 2ND
            FLOOR #2W CHICAGO, IL
            60653                                                  295.15                 NA             NA            0.00


            Jeanie Pittman 2838 N.
            Leavitt St. Chicago, IL 60618                          215.00                 NA             NA            0.00


            JEFFREY B. NELSON 5701
            NORTH SHERIDAN - APT.
            30-L CHICAGO, IL 60660                                  73.25                 NA             NA            0.00


            Jennifer Baker 5200 South
            Blackstone #1109 Chicago, IL
            60615                                                1,088.04                 NA             NA            0.00


            Jennifer McNeela 1801
            Washington Street Evanston,
            IL 60202                                               181.77                 NA             NA            0.00


            Jennifer Michel 830 West
            Agatite Apt. 1s Chicago, IL
            60640                                                    0.00                 NA             NA            0.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
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            Jeremiah Johnson 9701 S.
            Dobson Chicago, IL 60628                                 0.00                 NA             NA            0.00


            Jesse Johnson 7919 S. Bishop
            Apt. #2 Chicago, IL 60620                                0.00                 NA             NA            0.00


            Jimmy Chan 2823 S Quinn
            Street Chicago, IL 60608                               611.81                 NA             NA            0.00


            Jinnie Ross 1932 Hickory
            Road 1S Homewood, IL
            60430                                                  650.00                 NA             NA            0.00


            Joan McCohnell 7131 S
            Constance Chicago, IL 60649                              0.00                 NA             NA            0.00


            Joanne Jones 36 159th Street
            Calumet City, IL 60409                                  72.93                 NA             NA            0.00


            Johanna Torres 1328 S.
            Federal St N Chicago, IL
            60605                                                    0.00                 NA             NA            0.00


            JOHN A. MULLER III 648 N.
            ASHBURY AVENUE
            BOLINGBROOK, IL 60440                                   18.31                 NA             NA            0.00


            Jonathan Putnam 612 W.
            Aldine #3-S Chicago, IL
            60657                                                    0.00                 NA             NA            0.00




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            Jossett Counter PO Box
            496308 Chicago, IL 60649                                 0.00                 NA             NA            0.00


            Joyce Arrington 1218 S.
            Central Park Chicago, IL
            60623                                                  124.73                 NA             NA            0.00


            Joyce Irons 1137 W Vermont
            Ave Calumet Park, IL 60643                               0.00                 NA             NA            0.00


            Joyce Viglione 5501 West
            Ardmore Chicago, IL 60646                                0.00                 NA             NA            0.00


            Juanita Shamberger 2811
            Cherrywood Lane Hazel
            Crest, IL 60429                                          0.00                 NA             NA            0.00


            Julia Beard 780 Bethel Ave
            Bolingbrook, IL 60440                                  396.00                 NA             NA            0.00


            Julia Johnson 14721 Dearborn
            Dolton, IL 60419                                       758.81                 NA             NA            0.00


            Julie Donelson 2115 W. 50th
            Place Chicago, IL 60609                                140.98                 NA             NA            0.00


            Justus Weathersby 6446 S.
            Richmond 1st Floor Chicago,
            IL 60629                                                 0.00                 NA             NA            0.00




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            Karshelle Watters 4752 N.
            Magnolia E Chicago, IL
            60640                                                    0.00                 NA             NA            0.00


            Karuna Menon 5600 North
            Sheridan Rd #18A Chicago,
            IL 60660                                                 0.00                 NA             NA            0.00


            Kathleen Barry 9253 S.
            Francisco Evergreen Park, IL
            60805                                                  228.96                 NA             NA            0.00


            Kathleen Jones 17939 Rose
            Lansing, IL 60438                                        0.00                 NA             NA            0.00


            Kathleen Robbins 7024 S.
            Indiana Chicago, IL 60637                              402.76                 NA             NA            0.00


            Kathy Davis 1801 S. Wabash
            Apt. 224 Chicago, IL 60616                               0.00                 NA             NA            0.00


            Katrice Harris 2950 W.
            Walton Apt 2b Chicago, IL
            60624                                                    0.00                 NA             NA            0.00


            Katrina Cunningham 9517
            South Ridgeland Avenue #3E
            Oaklawn, IL 60453                                        8.28                 NA             NA            0.00


            Katrina Embrey 1309 W.
            Washburne Chicago, IL 60608                              0.00                 NA             NA            0.00




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            Kenneth Tidwell 8802 South
            Carpenter Chicago, IL 60620                              0.00                 NA             NA            0.00


            Kenyatta Black-Ketchum
            9724 S. Maplewood Ave
            Evergreen Park, IL 60805                                 0.00                 NA             NA            0.00


            Kim Cobb 36 Sycamore Court
            Calumet City, IL 60409                                 233.54                 NA             NA            0.00


            Kimberly Taylor-Robertson
            3015 East 191 Place Lansing,
            IL 60438                                                 0.00                 NA             NA            0.00


            Kyla Sutton 3314 Hazel Lane
            Hazel Crest, IL 60429                                  505.92                 NA             NA            0.00


            KYMBERLY WILKINS 4510
            S. LAVERGNE #HSE
            CHICAGO, IL 60638                                        0.00                 NA             NA            0.00


            LaRhonda Brown 21840
            Merrill Avenue Sauk Village,
            IL 60411                                                 0.00                 NA             NA            0.00


            Latanya Obasuyi 7715 S.
            Colfax Chicago, IL 60649                                 0.00                 NA             NA            0.00


            Latasha Gamble 3056 W.
            Jackson Chicago, IL 60612                                0.00                 NA             NA            0.00




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            Latoya Cason 8332 S.
            Hamilton Av. Chicago, IL
            60620                                                    0.00                 NA             NA            0.00


            LATOYA THOMAS 8332 S.
            HAMILTON AVENUE
            CHICAGO, IL 60620                                      123.22                 NA             NA            0.00


            Lee Brumfield 3518 W.
            Franklin Blvd- 2nd Fl
            Chicago, IL 60624                                        0.00                 NA             NA            0.00


            Leisa Mosley 2851 S. King
            Drive #1217 Chicago, IL
            60616                                                    0.00                 NA             NA            0.00


            Leslie Cline 2244 N.
            Southport Av #2 Chicago, IL
            60614                                                    0.00                 NA             NA            0.00


            Lillian Kincaid 2721 W.
            Monroe St 1B Chicago, IL
            60612                                                    0.00                 NA             NA            0.00


            Lillie Duffie 8056 S. Justine
            St. Chicago, IL 60620                                    0.00                 NA             NA            0.00


            Lillie Harris 8207 South
            Clyde - Apt 1 Chicago, IL
            60617                                                    0.00                 NA             NA            0.00




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            Lillie Ward 828 School Ave
            Matteson, IL 60443                                       0.00                 NA             NA            0.00


            Limarcus Saffold 7842 South
            Stewart Apt 1R Chicago, IL
            60620                                                    0.00                 NA             NA            0.00


            Lisa Culley-Hubbard 7351 S.
            Fairfield Chicago, IL 60629                              0.00                 NA             NA            0.00


            Lisa DiLorenzo 1435 West
            Carmen #2 Chicago, IL 60640                             27.00                 NA             NA            0.00


            Lisa Heidorn 1119 Maple Ave
            Apt. 1e Evanston, IL 60202                               0.00                 NA             NA            0.00


            Lisa Justin 1428 Kenilworth
            Drive Calumet City, IL 60409                             0.00                 NA             NA            0.00


            Lisa Thompson 1184 East
            Cunningham Drive Palatine,
            IL 60074                                                 0.00                 NA             NA            0.00


            Lizzie Harrington 4739
            Hickory Creek Drive #5
            University Park, IL 60484                            2,500.00                 NA             NA            0.00


            Lori Littleton 8736 So.
            Marshfield Chicago, IL 60620                           646.96                 NA             NA            0.00




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            LOUIS POLLARD 310
            MANISTEE AVENUE
            CALUMET CITY, IL 60409                               1,896.09                 NA             NA            0.00


            Lourdes Mora 2224 W.
            Rosemont Bsmt G Chicago,
            IL 60659                                                 0.00                 NA             NA            0.00


            Lovie Edmondson-Jackson
            2125 W. 54th Place Chicago,
            IL 60609                                               982.66                 NA             NA            0.00


            Loyola Moore 8316 South
            Elizabeth #1 Chicago, IL
            60620                                                  819.58                 NA             NA            0.00


            Lucille Johnson 610 Yates
            Ave Calumet City, IL 60409                               0.00                 NA             NA            0.00


            Madelyn Lopez 1911 N.
            Sedgwick Chicago, IL 60614                               0.00                 NA             NA            0.00


            Malinda Francis 14346
            University Ave Dolton, IL
            60419                                                  572.97                 NA             NA            0.00


            Manju Singh 8825 Flamingo
            Drive Tinley Park, IL 60470                            643.36                 NA             NA            0.00


            Marcella McKinney 6555 N.
            Ashland Chicago, IL 60626                               39.40                 NA             NA            0.00




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            Margo Rudd 3045 W Fillmore
            Chicago, IL 60612                                        0.00                 NA             NA            0.00


            Maria Cardenas 5247 W.
            Byron Chicago, IL 60641                                  0.00                 NA             NA            0.00


            Maria Mejia-Ramirez 5102
            West 63rd Place Chicago, IL
            60638                                                    0.00                 NA             NA            0.00


            Maria Rojas 3651 W. 69th
            Street Chicago, IL 60629                                 0.00                 NA             NA            0.00


            MARIANN CHISUM
            McGILL 15251 STATE
            STREET SOUTH
            HOLLAND, IL 60473                                      732.69                 NA             NA            0.00


            Maribel Ramirez 4948 S.
            Keating Ave. Chicago, IL
            60632                                                    0.00                 NA             NA            0.00


            Mark Tisdahl 750 N Dearborn
            Apt 403 Chicago, IL 60610                                0.00                 NA             NA            0.00


            Marlowe Alexander 4732
            West Fulton - 1st Floor
            Chicago, IL 60644                                      342.92                 NA             NA            0.00


            Marquita Jackson-Seay 7948
            S. Bennett Chicago, IL 60617                             0.00                 NA             NA            0.00




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                                                                6E)             Claim)

            Marsha Ashley 4235 N.
            Mozart #1n Chicago, IL
            60618                                                    0.00                 NA             NA            0.00


            Martha Abarca 2642 W.
            Foster #302 Chicago, IL
            60625                                                   64.99                 NA             NA            0.00


            Martha Brown-Nunez 252
            Jennifer Lane Calumet City,
            IL 60409                                                 0.00                 NA             NA            0.00


            Martina Wilbourn 1442 S.
            Harding 2nd Floor Chicago,
            IL 60623                                                 0.00                 NA             NA            0.00


            Mary Arnold 3525 W. 79
            Street Chicago, IL 60652                                 0.00                 NA             NA            0.00


            Mary Floyd 6942 S. Bell
            Chicago, IL 60636                                        0.00                 NA             NA            0.00


            Mary Moussa 4385 Cherry
            Court Hoffman Estates, IL
            60192                                                    0.00                 NA             NA            0.00


            Maximiliano Silvestre 609
            Vine Street Joliet, IL 60435                           287.21                 NA             NA            0.00




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                                                                6E)             Claim)

            MAY B. ROBERISON 14505
            PARK AVE DOLTON, IL
            60419                                                  247.45                 NA             NA            0.00


            May Roberison 3-158th Pl.
            Unit 5 Calumet City, IL 60409                            0.00                 NA             NA            0.00


            Melanie Barnes 425 E. 41st.
            Chicago, IL 60653                                      416.29                 NA             NA            0.00


            Melissa Kehoe 725 West
            Aldine Avenue #2 Chicago, IL
            60657                                                    0.00                 NA             NA            0.00


            Melissa Taylor 1020 North
            Monitor #2 Chicago, IL 60651                             0.00                 NA             NA            0.00


            Mercedes Hernandez 140 W.
            Wood Apt 321 Palantine, IL
            60067                                                    0.00                 NA             NA            0.00


            Mercedes Osorio 1938 W.
            Addison Chicago, IL 60613                                0.00                 NA             NA            0.00


            Meredith Alger 1815 Seward
            Street Evanston, IL 60202                                0.00                 NA             NA            0.00


            Michele Thompson 7751
            South Hoyne Chicago, IL
            60620                                                    0.00                 NA             NA            0.00




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                                                                6E)             Claim)

            Michelle Martin 515 Hoxie
            Avenue Calumet City, IL
            60409                                                  102.12                 NA             NA            0.00


            MILAGROS ORTIZ 2625 N.
            ORCHARD CHICAGO, IL
            60651                                                   17.00                 NA             NA            0.00


            Milagros Ortiz 3217 W.
            Cortez Chicago, IL 60651                                 0.00                 NA             NA            0.00


            Molly Weener 1057 West
            Thorndale Apt G Chicago, IL
            60660                                                   77.76                 NA             NA            0.00


            Monica Zachar 3124 N.
            California Chicago, IL 60618                           152.29                 NA             NA            0.00


            Monique Jorman 16920 Old
            Elm Drive Country Club Hills,
            IL 60478                                               155.00                 NA             NA            0.00


            Monique Smith 8523 S.
            Marshfield Chicago, IL 60620                             0.00                 NA             NA            0.00


            Monique Walker P.O. Box
            278621 Riverdale, IL 60827                               0.00                 NA             NA            0.00


            Nancy Swank 9212 South
            Albany Evergreen Park, IL
            60805                                                    0.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            Naomi Samuels 2418 Hastings
            Evanston, IL 60201                                   1,098.29                 NA             NA            0.00


            Nidia Pacheco 3842 N.
            Lockwood Apt #2 Chicago, IL
            60641                                                    0.00                 NA             NA            0.00


            Olivia Terry 2610 West
            Montrose - Apt 1S Chicago,
            IL 60618                                                 0.00                 NA             NA            0.00


            Pamela Waltz 2639 W Morse
            Chicago, IL 60645                                      124.24                 NA             NA            0.00


            Patricia Showers 14915
            Oakdale Ave Harvey, IL
            60426                                                    0.00                 NA             NA            0.00


            Patrick Young 181 Providence
            Dr. Matteson, IL 60443                                 169.76                 NA             NA            0.00


            PHYLLIS A. OFFORD 7210
            S. FRANCISO CHICAGO, IL
            60629                                                   50.00                 NA             NA            0.00


            Priniece Brisco 6500 South
            Washtenaw Second Floor
            Chicago, IL 60629                                        0.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            Quianka Johnson 1512 E.
            62nd St. 1S Chicago, IL
            60637                                                    0.00                 NA             NA            0.00


            RACQUEL MILLINER-
            REYNARD 467 VICTORY
            DRIVE PARK FOREST, IL
            60466                                                1,203.27                 NA             NA            0.00


            Rafiqa Ibrahim 6320 North
            Talman Apt. #1 Chicago, IL
            60659                                                    0.00                 NA             NA            0.00


            Raina Sajous 5432
            Suffieldterrace Skokie, IL
            60077                                                   84.31                 NA             NA            0.00


            Ramona Shaeffer 1341 West
            Hood Avenue Chicago, IL
            60660                                                  448.45                 NA             NA            0.00


            Randall Ward 7149 S. Cirnell
            Ave #2 Chicago, IL 60649                                 0.00                 NA             NA            0.00


            Randi Thomas 12 158th Place
            - Apt 3 Calumet City, IL
            60409                                                    0.00                 NA             NA            0.00


            Rasheeda Quadri 6435 N
            Whipple St Chicago, IL 60645                             0.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            Regina Boyd 8059 S
            Marshfield Av 3s Chicago, IL
            60620                                                  141.00                 NA             NA            0.00


            Renee Boyd 14648 Memorial
            Drive Dolton, IL 60419                                   0.00                 NA             NA            0.00


            Richard Clark 300 Sioux
            Street Park Forest, IL 60466                             0.00                 NA             NA            0.00


            Roberta Angelone 2224 Joliet
            Street Dixmoor, IL 60426                                 0.00                 NA             NA            0.00


            Rochelle Michael 948 School
            Avenue Matteson, IL 60443                                0.00                 NA             NA            0.00


            Rodney Patterson 8042 S
            Kimbark Chicago, IL 60619                              352.44                 NA             NA            0.00


            Rollie Jones 2772 East 75th
            South Building Chicago, IL
            60649                                                  311.80                 NA             NA            0.00


            Rosalind Dority 1042 N.
            Keystone Chicago, IL 60651                               0.00                 NA             NA            0.00


            Rosalinda Ayala 4416 N.
            Marmora Chicago, IL 60630                                0.00                 NA             NA            0.00


            Rosemarie Dodd 367 East
            89th Pl. Chicago, IL 60619                               0.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            Rosemary Gayton 748 East
            84th Street Apt. 1e Chicago,
            IL 60619                                                 0.00                 NA             NA            0.00


            Rosie Fluker 1218 S.
            Springfield Chgo, IL 60623                               0.00                 NA             NA            0.00


            Roy McGary 22427 Jean
            Court 1A Richton Park, IL
            60471                                                    0.00                 NA             NA            0.00


            Ruth Thomas 4147 Lakeview
            Drive Country Club Hill, IL
            60478                                                    0.00                 NA             NA            0.00


            Ruthie Partee 12243 South
            May Street Chicago, IL 60643                             0.00                 NA             NA            0.00


            Ryan Fey 1244 West Diversey
            Chicago, IL 60614                                        0.00                 NA             NA            0.00


            Samantha Miller 1332 S.
            Washtenaw Av 1st Fl.
            Chicago, IL 60608                                       18.00                 NA             NA            0.00


            Samuel Dunlap 7143 S
            Ingleside Chicago, IL 60619                              0.00                 NA             NA            0.00


            Sandra Bronson-Griffin 8316
            S. Prairie Chicago, IL 60619                             0.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            Sandra Freeman 7415 S.
            Dante Ave Chicago, IL 60619                            375.60                 NA             NA            0.00


            Sandra Salvatierra 4949 W.
            Warwick Chicago, IL 60641                                0.00                 NA             NA            0.00


            Sandra Yarbrough 7739 S
            Yates 3rd Floor Chicago, IL
            60649                                                    0.00                 NA             NA            0.00


            Sarah Gonia 4649 West
            Patterson Chicago, IL 60641                              0.00                 NA             NA            0.00


            Sean Price 218 24th Ave.
            Bellwood, IL 60104                                      31.61                 NA             NA            0.00


            Shanta Foster-Williams 4218
            Oak Street Bellwood, IL
            60104                                                    0.00                 NA             NA            0.00


            Shante Chatman P.O. Box
            498331 Chicago, IL 60649                                 0.00                 NA             NA            0.00


            Sharon Barnes 419 Lakewood
            Blvd Park Forest, IL 60466                               0.00                 NA             NA            0.00


            Sharon Peggees 8852 S.
            Union Chicago, IL 60620                                  0.00                 NA             NA            0.00


            Sheila Sanders 475 Pebble
            Beach Cou University Park,
            IL 60466                                                 0.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            Sheila Williams 15321 Grant
            St. Dolton, IL 60419                                     0.00                 NA             NA            0.00


            Shelisa Jones 7324 S. Wabash
            Unit 124 Chicago, IL 60619                               0.00                 NA             NA            0.00


            Shemeka Hawkins 9812 South
            Union Ave Chicago, IL 60628                              0.00                 NA             NA            0.00


            Shimika Douglas 344 West
            127th Street Chicago, IL
            60628                                                1,033.07                 NA             NA            0.00


            Shirley Cooper 550 E. 50th St
            Apt 404 Chicago, IL 60615                            1,476.41                 NA             NA            0.00


            Shirley Tankersley 432 E. 91st
            Place Chicago, IL 60619                                  0.00                 NA             NA            0.00


            Shradha Tamrakar 2541 W.
            Jerome Unit A Chicago, IL
            60645                                                    0.00                 NA             NA            0.00


            Stephanie Brown 7246 South
            Fairfield Chicago, IL 60629                              0.00                 NA             NA            0.00


            Sue Moehn 2522 W.
            Winnemac Chicago, IL 60625                               0.00                 NA             NA            0.00


            Suewan Bell 9530 S.
            Constance Apt. 104 C
            Chicago, IL 60617                                        0.00                 NA             NA            0.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
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                                                  CODE
                                                                6E)             Claim)

            Susan Pieters 1310 W. Arthur
            Avenue #1 Chicago, IL 60626                              0.00                 NA             NA            0.00


            Susan Raines 10725 South
            Kenton Avenue Oak Lawn, IL
            60453                                                    0.00                 NA             NA            0.00


            Susan Thompson 925 Hannah
            Avenue 2nd Fl. Forest Park,
            IL 60130                                                 0.00                 NA             NA            0.00


            Sylvia Brice 6707 S. Cregier
            Apt #3A Chicago, IL 60649                                0.00                 NA             NA            0.00


            Syrena Thomas P.O. Box
            2095 Bolingbrook, IL 60440                             127.60                 NA             NA            0.00


            Tahiti Hamer 7711 S. Saginaw
            Chicago, IL 60649                                        0.00                 NA             NA            0.00


            Tamara Faulkner 434 1/2
            South Lombard Oak Park, IL
            60302                                                  418.68                 NA             NA            0.00


            Tamekia Holman 8836 South
            Laflin Chicago, IL 60620                                 0.00                 NA             NA            0.00


            Tanga Morris 3439 W. 83rd
            Place Chicago, IL 60652                                  0.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            Tara Offord 7210 South
            Francisco - 2 Chicago, IL
            60629                                                    0.00                 NA             NA            0.00


            Tasha McDuffie 751 South
            Kostner Chicago, IL 60624                                0.00                 NA             NA            0.00


            Tenetha Johnson 654 East
            80th Street Chicago, IL 60619                          419.30                 NA             NA            0.00


            Teresa Barrett 2020 W.
            Farwell Ave. #211 Chicago,
            IL 60645                                                 0.00                 NA             NA            0.00


            Therasa Zito 1634 Woods
            Drive #1416 Arlington
            Heights, IL 60004                                        0.00                 NA             NA            0.00


            Thomas Ullmann 325 Oxford
            Kenilworth, IL 60043                                     0.00                 NA             NA            0.00


            Tilaya Hollins P. O Box 1603
            Oak Park, IL 60304                                     193.96                 NA             NA            0.00


            Tina Carter-Dixon 110 W.
            68th St. Apt #b2 Chicago, IL
            60621                                                    0.00                 NA             NA            0.00


            Tina Jackson 3335 Bramanti
            Trail Steger, IL 60475                               1,351.07                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            Torina Gaines 7751 S.
            Saginaw Chicago, IL 60649                                0.00                 NA             NA            0.00


            Turner Goodwin 8038 S.
            Indiana Chicago, IL 60619                                0.00                 NA             NA            0.00


            Tyrice Terrell 7762 S. Troy
            Chicago, IL 60652                                    5,242.68                 NA             NA            0.00


            Vanessa Lankford 8557 So.
            St. Lawrence Chicago, IL
            60619                                                1,003.36                 NA             NA            0.00


            Vanessa Stevens 6945 Patricia
            Lane N-319 Hammond, IN
            46323                                                  482.37                 NA             NA            0.00


            Vanessa White 18009
            Ravisloe Country Club Hills,
            IL 60478                                             1,029.00                 NA             NA            0.00


            Venita Ringer 7948 S. Vernon
            Chicago, IL 60619                                        0.00                 NA             NA            0.00


            Vilma Morocho 4714 North
            Albany 2nd Chicago, IL
            60625                                                  574.12                 NA             NA            0.00


            Vincent Perry 435 West 101
            Place Chicago, IL 60628                                 56.98                 NA             NA            0.00




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                                                  CODE
                                                                 6E)             Claim)

            Vincent Smith 11230 S.
            Leclaire Alsip, IL 60803                                  0.00                 NA              NA            0.00


            Wanda Jackson 9238 S.
            Avalon Ave. Chicago, IL
            60619                                                    37.23                 NA              NA            0.00


            Yeonta Russell 7523 1/2
            South Coles Apt 3C Chicago,
            IL 60649                                                  0.00                 NA              NA            0.00


            Yolanda Vinson 4432 West
            Jackson 1st Chicago, IL 60624                             0.00                 NA              NA            0.00


            Yvonne Lacey 19921 Juniper
            Lynwood, IL 60411                                         0.00                 NA              NA            0.00


            Yvonne Trice 3634 S. Rhodes
            Chicago, IL 60653                                         0.00                 NA              NA            0.00


75          Addison Wright                       5300-000             NA              5,800.00       5,800.00        2,039.20


55          Agnes Bonano                         5300-000             NA            11,109.85        6,770.54        2,380.43


            Alicia Kimball                       5300-000             NA              8,642.51       8,642.51        3,038.57


            Alphia Miller                        5300-000             NA            10,692.17       10,692.17        3,759.20


            Amanda Frankel                       5300-000             NA              6,144.04       6,144.04        2,160.15


            Amy Douglass                         5300-000             NA            11,725.00       11,725.00        4,122.34




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                                                  CODE
                                                                 6E)           Claim)

            Andre Robinson                       5300-000             NA          11,725.00       11,725.00        4,122.34


            Andrea Johnson                       5300-000             NA          11,725.00       11,725.00        4,122.34


            Angela Smith                         5300-000             NA          11,725.00       11,725.00        1,552.07


            Angela Smith                         5300-000             NA            2,570.27       2,570.27        2,570.27


            Angelica Antunez                     5300-000             NA            8,532.72       8,532.72        2,999.98


76          Anna Louise Blocker                  5300-000             NA               82.02       8,509.91        2,991.96


51          Anne Gulley                          5300-000             NA            2,855.00       2,855.00        1,003.78


            Annie Scheffler                      5300-000             NA            6,038.26       6,038.26        2,122.95


            Anthony Warren                       5300-000             NA            6,280.10       6,280.10        2,207.99


            Apryl Young                          5300-000             NA          11,725.00       11,725.00        4,122.34


            Ashley Olds                          5300-000             NA            6,403.02       6,403.02          847.58


            Barbara Caruthers                    5300-000             NA            9,213.34       9,213.34        3,239.28


            Barbara Mapp-Hamb                    5300-000             NA          11,725.00       11,725.00        4,122.34


            Barry Reed                           5300-000             NA          10,405.53       10,405.53        3,658.43


            Betty Howard                         5300-000             NA            7,930.93       7,930.93        2,788.39


            Beverly Jackson                      5300-000             NA          11,725.00       11,725.00        4,122.34


            Booker Washington                    5300-000             NA          11,725.00       11,725.00        4,122.34




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                                                  CODE
                                                                 6E)           Claim)

            Brenda Alford                        5300-000             NA          11,725.00       11,725.00        4,122.34


            Brigitte Beal                        5300-000             NA          10,827.63       10,827.63        3,806.83


            Camelia Gonzalez                     5300-000             NA            4,424.05       4,424.05        1,555.42


54          Cathy Miller                         5300-000             NA            6,669.01       6,145.52        2,160.68


            Charlene Houston                     5300-000             NA          11,211.53       11,211.53        3,941.80


            Charlene Watson                      5300-000             NA            6,198.06       6,198.06        2,179.15


            Chyvonne Patty                       5300-000             NA            8,398.85       8,398.85        2,952.91


77          Clarence Hogan                       5300-000             NA            6,153.84       6,153.84        2,163.60


            Constance Mitchell                   5300-000             NA          11,722.24       11,722.24        4,121.37


50          Cora Halley                          5300-000             NA            7,753.50       7,753.50        2,726.02


            Cornelia Vacaru                      5300-000             NA          10,259.06       10,259.06        3,606.94


            Cortaiga Johnson                     5300-000             NA          11,725.00       11,725.00            0.00


            Cortaiga Johnson                     5300-000             NA            2,621.81       2,621.81        2,621.81


66          Crystal L Silvestre                  5300-000             NA            7,846.00       3,793.85        1,333.86


25          Curtis Roeschley                     5300-000             NA          11,725.00       11,725.00        4,122.34


            Cynthia Gentry-Celestine             5300-000             NA          11,725.00       11,725.00        4,122.34


56          Cynthia Gerena                       5300-000             NA            9,815.48       5,501.68        1,934.31




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                                                  CODE
                                                                 6E)           Claim)

11          Danielle Butts                       5300-000             NA          23,571.00       11,725.00        4,122.34


            Danielle McReynolds                  5300-000             NA            6,332.40       6,332.40        2,226.38


35          Darlene Humphey                      5300-000             NA            7,161.96       6,952.96        2,444.56


            David Hamilton                       5300-000             NA            3,195.22       3,195.22        1,123.39


            Deadria Pittman-Howard               5300-000             NA          11,725.00       11,725.00        4,122.34


            DeAnne Mann                          5300-000             NA          11,725.00       11,725.00        4,122.34


            Debbie Rogers                        5300-000             NA          10,101.00       10,101.00        3,551.35


            Deborah Dunmars                      5300-000             NA          11,725.00       11,725.00        4,122.34


            Deborah Whitted                      5300-000             NA          11,725.00       11,725.00        4,122.34


            Delfina Mena                         5300-000             NA            7,102.06       7,102.06        2,496.98


            Denise Pinkston                      5300-000             NA            8,868.23       8,868.23        3,117.94


            Diane Vargas                         5300-000             NA            5,764.32       5,764.32          763.03


22          Dianne Laing                         5300-000             NA            1,637.53       1,637.53          575.73


            Dianne Turner                        5300-000             NA          11,725.00       11,725.00        4,122.34


            Donna Ballentine                     5300-000             NA            6,667.03       6,667.03        2,344.03


            Doris Bedford                        5300-000             NA            9,647.37       9,647.37        3,391.87


13          Dorothy Hayes-Dunlap                 5300-000             NA            5,949.78       5,949.78        2,091.86




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                                                  CODE
                                                                 6E)           Claim)

            E. Louis Pollard                     5300-000             NA          11,725.00       11,725.00        4,122.35


            Elaine Austin                        5300-000             NA          10,143.02       10,143.02        3,566.15


            Ericka Smith                         5300-000             NA            8,358.56       8,358.56        2,938.75


            Erin Roberton                        5300-000             NA            5,869.58       5,869.58        2,063.66


            Ethel Strong                         5300-000             NA            9,954.74       9,954.74        3,499.96


            Felicia Poindexter                   5300-000             NA          11,725.00       11,725.00        4,122.35


            Gail Dixon                           5300-000             NA            8,701.28       8,701.28        3,059.24


            Gail Gamble                          5300-000             NA            7,019.18       7,019.18        2,467.84


            Gaspar Soto                          5300-000             NA            8,401.32       8,401.32        2,953.78


            Geneva Portis                        5300-000             NA          11,725.00       11,725.00        4,122.35


            Genny Villegas                       5300-000             NA          11,477.07       11,477.07        4,035.17


            Gloria Thomas                        5300-000             NA          11,725.00       11,725.00        1,552.07


            Gloria Thomas                        5300-000             NA            2,570.28       2,570.28        2,570.28


            Gloria Williams                      5300-000             NA            9,297.37       9,297.37        3,268.83


            Gwen McCurdy                         5300-000             NA          11,725.00       11,725.00        4,122.35


            James Alexander                      5300-000             NA          11,006.26       11,006.26        3,869.64


            Jan Dunning                          5300-000             NA            7,167.67       7,167.67        2,520.04




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                                                  CODE
                                                                 6E)           Claim)

            Janice Baska                         5300-000             NA          11,725.00       11,725.00          4,122.35


            Jeannette Hill                       5300-000             NA          11,725.00       11,725.00          4,122.35


            Jennifer Baker                       5300-000             NA            8,845.06       8,845.06          3,109.80


            Jennifer McNeela                     5300-000             NA          10,569.79       10,569.79          3,716.18


            Jimmy Chan                           5300-000             NA          11,725.00       11,725.00          4,122.35


            Jinnie Ross                          5300-000             NA            5,307.23       5,307.23          1,865.95


23          Joan Mccohnell                       5300-000             NA          11,505.32       10,196.43          3,584.92


            Joanne Jones                         5300-000             NA          11,725.00       11,725.00          4,122.35


            Johanna Torres                       5300-000             NA          10,700.60       10,700.60          3,762.18


7           John A. Muller, III                  5300-000             NA            2,367.09       2,367.09            832.24


8           John A. Muller, III                  5300-000             NA            5,768.70       5,768.70          2,028.19


78          Jossett Counter                      5300-000             NA            7,943.00       5,974.53          2,100.56


64          Joyce Anne Viglione                  5300-000             NA          13,454.58              0.00            0.00


31          Joyce Anne Viglione                  5300-000             NA          13,454.58       11,725.00          4,122.34


            Joyce Arrington                      5300-000             NA          11,725.00       11,725.00          4,122.35


            Joyce Irons                          5300-000             NA          10,600.98       10,600.98          3,727.15


            Julia Beard                          5300-000             NA          11,725.00       11,725.00          4,122.35




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                                                  CODE
                                                                 6E)           Claim)

            Julia Johnson                        5300-000             NA          11,556.88       11,556.88        4,063.24


            Julie Donelson                       5300-000             NA          11,725.00       11,725.00        4,122.35


            Justus Weathersby                    5300-000             NA          11,725.00       11,725.00        4,122.35


            Karshelle Watters                    5300-000             NA          10,884.39       10,884.39        3,826.80


            Karuna Menon                         5300-000             NA            4,971.78       4,971.78          658.13


6           Kathleen Barry                       5300-000             NA          12,922.06        7,410.05        2,605.27


            Kathy Davis                          5300-000             NA          10,390.30       10,390.30        3,653.08


            Katrice Harris                       5300-000             NA          11,725.00       11,725.00        4,122.35


            Katrina Embrey                       5300-000             NA            5,777.66       5,777.66        2,031.35


            Kenneth Tidwell                      5300-000             NA            8,491.86       8,491.86        1,124.09


            Kenyatta Black-Ketchum               5300-000             NA            8,528.45       8,528.45        2,998.48


26          Kim Cobb                             5300-000             NA          14,047.76       11,725.00        4,122.34


            Kimberly Taylor-Robertson            5300-000             NA            5,034.21       5,034.21        1,769.97


            Kimberly Wilkins                     5300-000             NA            5,138.25       5,138.25        1,806.53


            Latasha Gamble                       5300-000             NA            6,107.86       6,107.86        2,147.44


            Latoya Cason                         5300-000             NA          11,725.00       11,725.00        4,122.35


72          Latoya K. Culpepper                  5300-000             NA            6,000.00       6,000.00        2,109.52




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                                                  CODE
                                                                 6E)           Claim)

            Lee Brumfield                        5300-000             NA            5,770.26       5,770.26        2,028.75


42          Leisa Mosley                         5300-000             NA          11,363.43       11,363.43        3,995.22


            Leslie Cline                         5300-000             NA            2,570.28       2,570.28        2,570.28


            Leslie Cline                         5300-000             NA          11,725.00       11,725.00        1,552.07


            Lillie Harris                        5300-000             NA          10,330.26       10,330.26        1,367.44


            Lillie Harris                        5300-000             NA            2,264.53       2,264.53        2,264.53


            Lillie Ward                          5300-000             NA          11,725.00       11,725.00        4,122.35


            Limarcus Saffold                     5300-000             NA            8,773.91       8,773.91        3,084.79


            Lisa Culley-Hubbard                  5300-000             NA          10,917.73       10,917.73        3,838.53


            Lisa DiLorenzo                       5300-000             NA            8,206.98       8,206.98        2,885.46


            Lisa Heidorn                         5300-000             NA          11,725.00       11,725.00        4,122.35


17          Lisa Justin                          5300-000             NA              732.00        732.00           257.36


16          Lori Littleton                       5300-000             NA            2,705.30       2,705.30          951.15


            Lourdes Mora                         5300-000             NA            8,243.48       8,243.48        2,898.29


            Lovie Edmondson-Jackson              5300-000             NA          11,725.00       11,725.00        4,122.35


            Loyola Moore                         5300-000             NA            9,572.28       9,572.28        3,365.48


            Madelyn Lopez                        5300-000             NA            8,660.96       8,660.96        3,045.06




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                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            Malinda Francis                      5300-000             NA          11,725.00       11,725.00        4,122.35


            Marcella McKinney                    5300-000             NA            6,587.47       6,587.47        2,316.06


12          Maria Mejia-Ramirez                  5300-000             NA            1,721.74       1,516.75            0.00


            Maria Rojas                          5300-000             NA            9,037.80       9,037.80        3,177.57


73          Mariann Chisum Mcgill                5300-000             NA          24,966.00       11,526.06        4,052.40


            Maribel Ramirez                      5300-000             NA          10,041.13       10,041.13        3,530.32


            Marlowe Alexander                    5300-000             NA          11,725.00       11,725.00        4,122.35


            Marquita Jackson-Seay                5300-000             NA          11,725.00       11,725.00        4,122.35


            Marsha Ashley                        5300-000             NA          11,725.00       11,725.00        4,122.35


62          Martha Abarca                        5300-000             NA            2,013.94       2,013.94          708.07


            Martina Wilbourn                     5300-000             NA          11,725.00       11,725.00        4,122.35


            Mary Moussa                          5300-000             NA            3,755.01       3,755.01        1,320.20


65          Maximiliano Silvestre                5300-000             NA            4,608.00        593.00           208.49


            May Roberison                        5300-000             NA          11,725.00       11,725.00        4,122.35


            Mazenia Jaimes                       5300-000             NA          11,725.00       11,725.00        4,122.35


            Melanie Barnes                       5300-000             NA          11,725.00       11,725.00        4,122.35


            Mercedes Hernandez                   5300-000             NA          11,725.00       11,725.00        4,122.35




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                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                         CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            Michele Thompson                     5300-000             NA          11,725.00       11,725.00          4,122.35


            Michelle Martin                      5300-000             NA            7,421.68       7,421.68          2,609.36


58          Milagros Ortiz                       5300-000             NA            8,002.00       6,510.77          2,289.09


            Molly Weener                         5300-000             NA            5,777.42       5,777.42            764.77


            Monica Zachar                        5300-000             NA          11,725.00       11,725.00          4,122.35


            Monique Jorman                       5300-000             NA            8,491.65       8,491.65          2,985.55


            Monique Smith                        5300-000             NA            4,455.94       4,455.94            589.84


            Monique Smith                        5300-000             NA              976.80        976.80             976.80


28          Naomi Samuels                        5300-000             NA          12,341.40       11,725.00          4,122.34


            Nidia Pacheco                        5300-000             NA          11,725.00       11,725.00          4,122.35


52          Nolsw/Uaw Local 2320                 5300-000             NA                0.00             0.00            0.00


60          Olivia M Moreno                      5300-000             NA              600.00        600.00             210.95


            Olivia Terry                         5300-000             NA            9,496.94       9,496.94          3,339.00


            Pamela Waltz                         5300-000             NA          11,056.68       11,056.68          3,887.38


69          Phyllis A. Offord                    5300-000             NA          13,827.00       11,725.00          4,122.34


            Quianka Johnson                      5300-000             NA            6,863.92       6,863.92          2,413.24


            Rafiqa Ibrahim                       5300-000             NA          11,725.00       11,725.00          4,122.35




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            Ramona Shaeffer                      5300-000             NA            9,898.78       9,898.78        3,480.27


            Randi Thomas                         5300-000             NA          11,725.00       11,725.00        4,122.35


            Rasheeda Quadri                      5300-000             NA          11,219.48       11,219.48        3,944.62


            Regina Boyd                          5300-000             NA          11,725.00       11,725.00        4,122.35


18          Renee Boyd-Jennings                  5300-000             NA            9,795.78       1,931.20          678.98


            Rodney Patterson                     5300-000             NA          11,725.00       11,725.00        4,122.35


            Rosalind Dority                      5300-000             NA            6,283.46       6,283.46        2,209.18


            Rosalinda Ayala                      5300-000             NA            9,088.90       9,088.90        3,195.53


            Rosemary Gayton                      5300-000             NA          10,841.46       10,841.46        3,811.71


            Roy McGary                           5300-000             NA          10,002.20       10,002.20        3,516.63


            Ryan Fey                             5300-000             NA            8,586.98       8,586.98        3,019.06


63          Samantha Miller                      5300-000             NA            6,745.96       6,745.96        2,371.78


14          Samuel Dunlap                        5300-000             NA              373.84        373.84           131.44


            Sandra Freeman                       5300-000             NA            9,829.40       9,829.40        3,455.87


            Sandra Salvatierra                   5300-000             NA            9,925.52       9,925.52        3,489.68


            Sarah Gonia                          5300-000             NA            3,127.30       3,127.30        1,099.51


            Shante Chatman                       5300-000             NA          11,533.46       11,533.46        4,055.00




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                                                 UNIFORM
                                                            SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                             (from Form    (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)           Claim)

            Shemeka Sanders                      5300-000             NA          11,073.27       11,073.27        3,893.21


            Shimika Douglas                      5300-000             NA            9,247.87       9,247.87        3,251.42


            Shirley Cooper                       5300-000             NA          11,725.00       11,725.00        4,122.35


            Shirley Tankersley                   5300-000             NA            3,906.41       3,906.41        1,373.43


            Shirley Williams                     5300-000             NA            8,187.20       8,187.20        2,878.52


            Shradha Tamrakar                     5300-000             NA            7,516.15       7,516.15        2,642.57


            Sue Moehn                            5300-000             NA            9,353.32       9,353.32        3,288.49


            Susan Pieters                        5300-000             NA            8,087.03       8,087.03        2,843.29


            Susan Thompson                       5300-000             NA            5,363.26       5,363.26        1,885.64


            Sylvia Brice                         5300-000             NA          11,725.00       11,725.00        4,122.35


            Syrena Thomas                        5300-000             NA          11,426.37       11,426.37        4,017.35


            Tahiti Hamer                         5300-000             NA            9,024.27       9,024.27        3,172.81


            Tamara Faulkner                      5300-000             NA            9,957.65       9,957.65        3,500.98


            Tamekia Holman                       5300-000             NA            8,333.07       8,333.07        2,929.79


            Tanga Morris                         5300-000             NA            7,774.41       7,774.41        2,733.37


            Tasha McDuffie                       5300-000             NA          11,725.00       11,725.00        4,122.35


            Tenetha Johnson                      5300-000             NA          11,725.00       11,725.00        4,122.35




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                                                 UNIFORM
                                                            SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                             (from Form       (from Proofs of     ALLOWED
                                                  CODE
                                                                 6E)              Claim)

            Teresa Barrett                       5300-000               NA             7,541.06         7,541.06          998.23


57          Therasa Zito                         5300-000               NA           13,623.70          6,856.40         2,410.61


            Thomas Ullmann                       5300-000               NA             2,567.54         2,567.54         2,567.54


            Thomas Ullmann                       5300-000               NA           11,712.51         11,712.51         1,550.41


            Tina Jackson                         5300-000               NA           11,725.00         11,725.00         4,122.35


19          Vanessa Lynn Lankford                5300-000               NA             6,768.89         8,930.52         3,139.84


            Vanessa Stevens                      5300-000               NA           11,725.00         11,725.00         4,122.35


            Vilma Morocho                        5300-000               NA             8,372.78         8,372.78         2,943.76


            Vincent Perry                        5300-000               NA           11,725.00         11,725.00         4,122.35


            Wanda Jackson                        5300-000               NA           11,725.00         11,725.00         4,122.35


            Yeonta Russell                       5300-000               NA             8,311.06         8,311.06         1,100.15


67          Clarence N Wood                      5800-000               NA           20,231.44              0.00             0.00


            Illinois Dept. Of Employment
80          Security                             5800-000               NA          509,519.10       509,519.10              0.00


            National Organization Of
82          Legal                                5800-000               NA        1,512,064.15      1,512,064.15             0.00

TOTAL PRIORITY UNSECURED                                        $ 71,814.34     $ 3,885,802.39    $ 3,788,078.99     $ 603,005.85
CLAIMS




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            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

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                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            18th S. Wabash Corporation
            1801 S. Wabash Chicago, IL
            60616                                                  850.00                 NA             NA            0.00


            2226 S. Central, LLC 31
            Prairie Pointe Lane
            Streamwood, IL 60107                                 1,300.00                 NA             NA            0.00


            4720 South Drexel, LLC 3324
            W. North Avenue Chicago, IL
            60647                                                2,965.00                 NA             NA            0.00


            5325 S. Cottage Grove, LLC
            5325 S. Cottage Grove
            Chicago, IL 60615                                    1,887.00                 NA             NA            0.00


            AARON BROS MOVING
            SYSTEM, INC. 4034 S.
            MICHIGAN AVE
            CHICAGO, IL 60653                                    1,996.00                 NA             NA            0.00


            ABC Mortgage Group, Inc.
            d/b/a ABC Realtors, Inc. 1937
            W. Irving Park Road, 2nd
            Floor Chicago, IL 60613                              3,000.00                 NA             NA            0.00




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                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            ACCESS INFORMATION
            MANAGEMENT 2339
            ERNIE KRUEGER CIRCLE
            WAUKEGAN, IL 60087                                      73.75                 NA             NA            0.00


            ADV.
            TELECOMMUNICATIONS
            OF ILL 1272 BOND STREET
            SUITE 100 NAPERVILLE,
            IL 60563                                             3,080.65                 NA             NA            0.00


            ADVOCATE IL. MASONIC
            HOSPITAL 836 W.
            WELLINGTON CHICAGO,
            IL 60657                                                23.00                 NA             NA            0.00


            AGNES STREETER 8533
            SOUTH PRARIES AVENUE
            CHICAGO, IL 60619                                        5.00                 NA             NA            0.00


            AICCO, INC P.O BOX 73095
            CHICAGO, IL 60673-7095                               6,342.10                 NA             NA            0.00


            AIMEE SIMPSON 9036
            SOUTH MERRILL AVENUE
            CHICAGO, IL 60617                                        4.40                 NA             NA            0.00


            AJENDA INTERACTIVE
            MEDIA 746 FOREST
            AVENUE RIVER FOREST,
            IL 60622                                               956.25                 NA             NA            0.00




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                                                           SCHEDULED          ASSERTED          CLAIMS
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                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            ALAN MARGOLIN 6171 N.
            SHERIDAN APT. 705
            CHICAGO, IL 60660                                       24.75                 NA             NA            0.00


            ALBERTA E. BELL 501
            EAST 32ND ST. APT 2003
            CHICAGO, IL 60616                                        5.00                 NA             NA            0.00


            ALESTINE GARNER 306
            EAST 90TH STREET
            CHICAGO, IL 60619                                        6.60                 NA             NA            0.00


            ALEXIS LYBROOK
            TAUBERT, Ph.D., LTD. 1001
            NORTH MILWAUKEE
            AVENUE #304 CHICAGO,
            IL 60642                                             1,837.50                 NA             NA            0.00


            All Properties Real Estate,
            Inc. 8222 S. King Drive, Suite
            D Chicago, IL 60619                                  3,100.00                 NA             NA            0.00


            ALLIANCE FOR
            CHILDREN 11700 WEST
            LAKE PARK DR.
            MILWAUKEE, WI 53224                                 10,030.00                 NA             NA            0.00


            AL'NEIKA SYLVESTER
            4510 SOUTH LAVERGNE
            CHICAGO, IL 60638                                       30.00                 NA             NA            0.00




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                                                           SCHEDULED          ASSERTED          CLAIMS
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                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            ALONTI DELI 1210 W.
            CLAY STREET SUITE 17
            Houston, TX 77019                                      120.27                 NA             NA            0.00


            ALTHA WILLIAMS 6339 S.
            JUSTINE CHICAGO, IL
            60636                                                    5.00                 NA             NA            0.00


            AMANDA PIOUS 649 E.
            GROVELAND PARK APT.
            1W Chicago, IL 60616                                   119.48                 NA             NA            0.00


            ANDERSON PEST
            CONTROL P.O. BOX
            600670 JACKSONVILLE, FL
            32260-0670                                              50.00                 NA             NA            0.00


            ANDREA M. JOHNSON
            14218 S. DEARBORN
            RIVERDALE, IL 60827                                    179.26                 NA             NA            0.00


            ANDREA WERNER 7416
            SOUTH PERRY CHICAGO,
            IL 60621                                                 5.00                 NA             NA            0.00


            ANDREW MCNUTT 6744
            SOUTH MORGAN
            CHICAGO, IL 60621                                       12.00                 NA             NA            0.00




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                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            ANN M. BAIKIE 3451
            NORTH OLEANDER
            AVENUE CHICAGO, IL
            60634                                                1,680.00                 NA             NA            0.00


            ANN SMITH 20601
            PROMETHIAN WAY
            OLYMPIA FIELDS, IL
            60461                                                  179.26                 NA             NA            0.00


            ANNA YOUNG 5312
            NORTH LARAMIE
            CHICAGO, IL 60630                                       22.30                 NA             NA            0.00


            ANNAMARIE HENRY 8500
            S. KOSTNER CHICAGO, IL
            60652                                                   36.00                 NA             NA            0.00


            Anne Gully 1917 Steward
            Evanston, IL 60202                                   3,380.00                 NA             NA            0.00


            ANNE WOS 30
            FERNWOOD DRIVE
            GLENVIEW, IL 60025                                      10.00                 NA             NA            0.00


            ANNETTE PATTERSON
            5502 WEST RICE
            CHICAGO, IL 60651                                    1,575.00                 NA             NA            0.00




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                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            ANNIE L. MARTIN 400 E.
            41ST APT. 1907-S
            CHICAGO, IL 60653                                        6.40                 NA             NA            0.00


            ANNIE MADDOX 8337 S.
            MAY CHICAGO, IL 60620                                   10.00                 NA             NA            0.00


            ANNIE ROBINSON 12317
            SOUTH ABERDEEN
            CALUMET PARK, IL 60827                                   6.00                 NA             NA            0.00


            AQUILA ELECTRIC
            COMPANY 15433 WALNUT
            ROAD OAK FOREST, IL
            60452                                                  140.00                 NA             NA            0.00


            ARLENE LAWRENCE
            29861 TRIM CREEK LANE
            BEECHER, IL 60401                                       16.00                 NA             NA            0.00


            ARRIS TOLBERT 205 EAST
            83RD STREET CHICAGO,
            IL 60619                                             1,261.60                 NA             NA            0.00


            ARROW SUPPLY
            COMPANY 7830 S.
            OAKLEY AVE CHICAGO,
            IL 60620                                             1,453.00                 NA             NA            0.00




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                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            ARTHUR J. BOOZE 8634 S.
            NORMAL AVE CHICAGO,
            IL 60620                                                10.00                 NA             NA            0.00


            ASAKO NISHIMURA 8146
            N. CENTRAL AVENUE
            MORTON GROVE, IL 60053                                  19.20                 NA             NA            0.00


            ASPASIA SARRIS 5757
            NORTH SHERIDAN ROAD
            APT 8-H CHICAGO, IL
            60660                                                   14.40                 NA             NA            0.00


            ASSOCIATES IN HUMAN
            DEVELOPMENT 1500
            HICKS ROAD SUITE 300
            ROLLING MEADOWS, IL
            60008                                                1,400.00                 NA             NA            0.00


            ASSOCIATION FOR
            ENTERPRISE 1111 16TH
            STREET NW SUITE 400
            Washington, DC 20036                                   200.00                 NA             NA            0.00


            Astoria Properties, LLC P.O.
            Box 1631 Chicago, IL 60690                           5,067.00                 NA             NA            0.00


            AT&T Bankruptcy
            Department P.O. Box 769
            Arlington, TX 76004                                  1,798.48                 NA             NA            0.00




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                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            AUDREY SMITH 9517 S.
            PULASKI ROAD
            EVERGREEN PARK, IL
            60805                                                   18.00                 NA             NA            0.00


            AVANCE COUNSELING
            4765 NORTH LINCOLN
            AVENUE SUITE 203-204
            CHICAGO, IL 60625                                      555.00                 NA             NA            0.00


            B.T. ELECTRIC 9918
            KARLOV SKOKIE, IL 60076                                500.00                 NA             NA            0.00


            BARBARA MOTLEY 6670
            SOUTH HARTWELL APT 2
            CHICAGO, IL 60637                                        7.20                 NA             NA            0.00


            BARBARA SMITH 167
            EAST 162ND LANE SOUTH
            HOLLAND, IL 60473                                       38.00                 NA             NA            0.00


            BATTERED WOMEN'S
            NETWORK 203 N.
            WABASH SUITE 2323
            CHICAGO, IL 60601                                      300.00                 NA             NA            0.00


            BAUDVILLE 5380 52ND
            STREET SE GRAND
            RAPIDS, MI 49512                                        58.45                 NA             NA            0.00




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                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            BEATRICE MYERS 1111 S
            ASHLAND AVE 813
            CHICAGO, IL 60607                                       32.00                 NA             NA            0.00


            BERNICE RUCKER 1146
            EAST 90TH ST. CHICAGO,
            IL 60619                                                15.60                 NA             NA            0.00


            Berry Memorial United
            Methodist Church 4754 N.
            Leavitt Street Chicago, IL
            60625                                                4,075.00                 NA             NA            0.00


            BETTE WARD 1213
            PRIMROSE LN
            SCHERERVILLE, IN 46375                                  14.00                 NA             NA            0.00


            BETTY J. ALLEN 8359 S.
            MAY STREET CHICAGO,
            IL 60620                                                 8.00                 NA             NA            0.00


            BETTY RICHARDS 801 S.
            PLYMOUTH CT APT 314
            CHICAGO, IL 60605                                        5.00                 NA             NA            0.00


            BIANCA SMITH 4800 S.
            LAKE PARK APT. 1203-A
            CHICAGO, IL 60615                                       40.50                 NA             NA            0.00




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                                                           SCHEDULED          ASSERTED          CLAIMS
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            Bill E. Haines 304 W.
            Hoffman Street Paynesville,
            MN 56362                                               300.00                 NA             NA            0.00


            BINDHYA NEUPANE 5228
            NORTH SHERIDAN ROAD
            CHICAGO, IL 60640                                       54.00                 NA             NA            0.00


            BIRDIE GONSOULIN 7934
            SOUTH PRAIRIE AVENUE
            CHICAGO, IL 60619                                       15.00                 NA             NA            0.00


            BLACK ENTERPRISE P.O.
            BOX 11602 DES MOINES,
            IA 50350-1602                                           22.00                 NA             NA            0.00


            BLESSIE DE LA VEGA 920
            W. LAWRENCE AVE. APT.
            303 CHICAGO, IL 60640                                   10.20                 NA             NA            0.00


            BONZETTA GALBREATH
            7216 S.MICHIGAN #1
            CHICAGO, IL 60619                                        9.60                 NA             NA            0.00


            BOSTON MARKET 14103
            DENVER WEST PARKWAY
            GOLDEN, CO 80401                                       759.19                 NA             NA            0.00


            BOTTOMLESS CLOSET 435
            N. Lasalle St. LL1
            CHICAGO, IL 60654                                      120.00                 NA             NA            0.00




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            BRENETTE JELKS 7914 S.
            KIMBARK CHICAGO, IL
            60619                                                    7.60                 NA             NA            0.00


            BRITTANY HAMPTON
            6356 S. GREENWOOD
            CHICAGO, IL 60637                                    1,680.00                 NA             NA            0.00


            BROOKS PUBLISHING CO.
            P.O. BOX 10624
            BALTIMORE, MD 21285-
            0624                                                   308.00                 NA             NA            0.00


            BUSINESS PARTNERS 4753
            N. BROADWAY SUITE 822
            CHICAGO, IL 60640                                      100.00                 NA             NA            0.00


            Candice Williams                                     1,475.00                 NA             NA            0.00


            CARMEN SANTORO 8408
            S. LAMON BURBANK, IL
            60459                                                    6.00                 NA             NA            0.00


            CARRIE CALLOWAY 8050
            S. SAWYER CHICAGO, IL
            60652                                                    4.00                 NA             NA            0.00


            CATHOLIC CHARITIES 721
            N. LASALLE ST. 5TH
            FLOOR CHICAGO, IL 60610                                900.00                 NA             NA            0.00




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            CDW DIRECT, LLC P.O.
            BOX 75723 CHICAGO, IL
            60675                                               28,314.53                 NA             NA            0.00


            CECILIA GERMAINE 2020
            WEST LUNT CHICAGO, IL
            60645                                                    7.40                 NA             NA            0.00


            CENGAGE LEARNING P.O.
            BOX 95999 CHICAGO, IL
            60694-5999                                           2,528.57                 NA             NA            0.00


            CHAMBER OF
            COMMERCE 8334 S.
            STONY ISLAND CHICAGO,
            IL 60617                                               300.00                 NA             NA            0.00


            CHARLOTTE TAYLOR
            8338 LANGLEY AVE
            CHICAGO, IL 60619                                        7.20                 NA             NA            0.00


            CHAR'O SAFFORD 736 S.
            KEDZIE AVENUE #1
            CHICAGO, IL 60612                                      149.38                 NA             NA            0.00


            CHEMIA DAVIS 6368
            PATRICIA DRIVE
            MATTESON, IL 60443                                   4,322.50                 NA             NA            0.00




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            CHESTER WLODARSKI
            18516 DIXIE HIGHWAY
            HOMEWOOD, IL 60430                                      14.00                 NA             NA            0.00


            CHICAGO ACCESS
            NETWORK TV 322 S.
            GREEN ST. CHICAGO, IL
            60607                                                  230.00                 NA             NA            0.00


            CHICAGO METRO 203 N.
            WABASH SUITE 2323
            CHICAGO, IL 60601                                    1,000.00                 NA             NA            0.00


            CHICAGO METRO AEYC
            30 E. ADAMS SUITE 1000
            CHICAGO, IL 60603                                      250.00                 NA             NA            0.00


            CHICAGO OFFICE TECH.
            GROUP P.O. BOX 5940
            LOCK BOX # 20-COE 001
            CAROL STREAM, IL 60197                                 238.99                 NA             NA            0.00


            CHICAGO TITLE TRUST
            COMPANY 4240
            PAYSPHERE CIRCLE
            CHICAGO, IL 60674-0042                               1,960.00                 NA             NA            0.00




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            CHICAGOLAND
            CHAMBER OF
            COMMERCE 330 N.
            WABASH SUITE 2800
            CHICAGO, IL 60611                                      440.00                 NA             NA            0.00


            CHILD CARE ASSOC. OF
            ILLINOIS 413 W. MONROE
            ST. SPRINGFIELD, IL 62704                           14,397.44                 NA             NA            0.00


            CHL Properties, LLC 7852 S.
            Eberhart Avenue Chicago, IL
            60619                                                  625.00                 NA             NA            0.00


            CITRIX ONLINE, LLC FILE
            50264 LOS ANGELES, CA
            90074-0264                                             495.00                 NA             NA            0.00


            CITY CLUB OF CHICAGO
            360 N. MICHIGAN #1903
            CHICAGO, IL 60601                                      255.00                 NA             NA            0.00


            CITY OF CHICAGO DEPT
            OF REVENUE P.O. BOX
            88292 CHICAGO, IL 60680-
            1292                                                   200.00                 NA             NA            0.00


            CITY WIDE FIRE
            EQUIPMENT CO. 2919 W.
            IRVING PARK ROAD
            CHICAGO, IL 60618                                      636.50                 NA             NA            0.00




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            CITYSPAN
            TECHNOLOGIES, INC. 2054
            UNIVERSITY AVENUE, 5F
            BERKELEY, CA 94704                                     700.00                 NA             NA            0.00


            CJW CONSULTING &
            SERVICES, INC 8331
            CENTRAL AVENUE
            MORTON GROVE, IL 60053                                 650.00                 NA             NA            0.00


            Clarence N. Wood 3217 S.
            Calumet Chicago, IL 60616                           22,071.00                 NA             NA            0.00


            CLARK DEVON
            HARDWARE 6401 N. Clark
            Street CHICAGO, IL 60626                               703.38                 NA             NA            0.00


            CLASSIC PARTY
            RENTALS 9480 W. 55TH
            STREET MC COOK, IL
            60523-3636                                           1,116.43                 NA             NA            0.00


            CLEMENCIA REYES 2016
            WEST SUPERIOR STREET
            #1 CHICAGO, IL 60612                                     6.00                 NA             NA            0.00


            CLIFFORD ANDERSON
            5414 SOUTH CHRISTIANA
            CHICAGO, IL 60632                                        6.00                 NA             NA            0.00




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            CliftonLarsonAllen LLP 1301
            West 22nd Street Suite 1100
            Oak Brook, IL 60523                                 60,354.00                 NA             NA            0.00


            COMCAST P.O. BOX 3001
            SOUTHEASTERN, PA
            19398                                                   53.95                 NA             NA            0.00


            Commonwealth Edison
            Company Attn: Bankruptcy
            Section Three Lincoln Center
            Oakbrook Terrace, IL 60181                          32,593.92                 NA             NA            0.00


            COMMUNICATION
            BRIEFINGS 2807 NORTH
            PARHAM ROAD SUITE 200
            RICHMOND, VA 23294                                      79.00                 NA             NA            0.00


            COMMUNICATION
            CONCEPTS MIDWEST INC.
            1903 NORTH MILWAUKEE
            AVENUE CHICAGO, IL
            60647                                                2,619.00                 NA             NA            0.00


            COMMUNITY MEDIA
            WORKSHOP C/O
            COLUMBIA COLLEGE 600
            S. MICHIGAN AVE.
            CHICAGO, IL 60605                                      391.00                 NA             NA            0.00




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            CONNIE ANTONOWICZ
            5754 S. MOODY CHICAGO,
            IL 60638                                                 4.80                 NA             NA            0.00


            CONSOLIDATED PUBLIC
            SERVICES P.O. BOX 2564
            DECATUR, IL 62525-2564                                   5.18                 NA             NA            0.00


            CONSTANTINE N. BACIL
            2723 W. LELAND APT. 2
            CHICAGO, IL 60625                                        9.00                 NA             NA            0.00


            Coralia Davila 4211 West
            Bernard Chicago, IL 60618                              360.00                 NA             NA            0.00


            CORKY'S CATERING 1421
            W. FULLERTON AVE
            ADDISON, IL 60101                                      201.30                 NA             NA            0.00


            CORPORATE EXPRESS
            P.O. BOX 95708 CHICAGO,
            IL 60694-5708                                          713.15                 NA             NA            0.00


            CORPORATE LEARNING
            INSTITUTE c/o PAT
            JACOBSON, PBC, INC. 903
            COMMERCE DR, SUITE
            333 OAK BROOK, IL 60523                              5,000.00                 NA             NA            0.00




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            COUNCIL ON
            ACCREDITATION 120
            WALL STREET 11TH
            FLOOR NEW YORK, NY
            10005                                                4,812.00                 NA             NA            0.00


            COUPLES MENTORING
            YOUTH & FAMILY
            SERVICE P.O. BOX 1239
            MATTESON, IL 60443                                     480.00                 NA             NA            0.00


            COURT CHILTON 3618 N.
            LAKEWOOD APT. E
            CHICAGO, IL 60613                                       14.00                 NA             NA            0.00


            CRAIN
            COMMUNICATIONS, INC.
            16309 COLLECTION
            CENTER DRIVE CHICAGO,
            IL 60693                                             4,815.00                 NA             NA            0.00


            CRAINS CHICAGO
            BUSINESS 360 N.
            MICHIGAN CHICAGO, IL
            60601                                                   48.98                 NA             NA            0.00


            CRISTINA GRANCIANO
            7404 NORTH HOYNE
            AVENUE #1 CHICAGO, IL
            60645                                                  131.63                 NA             NA            0.00




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            CROSS COUNTRY
            EDUCATION P.O. BOX 200
            BRENTWOOD, TN 37024                                     20.00                 NA             NA            0.00


            CURLEE O. HUMPHREY
            715 EAST 104TH PLACE
            CHICAGO, IL 60628                                       14.00                 NA             NA            0.00


            CYNTHIA L. DICKEY, M.A.
            7042 WEST 74TH STREET
            CHICAGO, IL 60635-5925                                 825.00                 NA             NA            0.00


            DALE M. CAIN 8101
            SOUTH HONORE
            CHICAGO, IL 60620                                      600.00                 NA             NA            0.00


            DANEEN PERKINS 10413 S.
            EMERALD AVENUE
            CHICAGO, IL 60628                                      250.00                 NA             NA            0.00


            DATRICE WEATHERS
            12238 SOUTH STATE
            STREET CHICAGO, IL
            60628                                                2,025.00                 NA             NA            0.00


            DELORES PORTER 9616 S.
            CHAPPEL CHICAGO, IL
            60639                                                   19.20                 NA             NA            0.00




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            DENNIS LYLES 2800 W.
            86TH PLACE CHICAGO, IL
            60652                                                  225.00                 NA             NA            0.00


            DES PLAINES OFFICE
            EQUIP 1020
            BONAVENTURE DRIVE
            ELK GROVE VILLAGE, IL
            60007                                                1,256.00                 NA             NA            0.00


            DIANE RODGERS 3422
            WEST DOUGLAS APT 2-B
            CHICAGO, IL 60623                                       40.00                 NA             NA            0.00


            DIANIRA ULIN 1912 N.
            PULASKI CHICAGO, IL
            60639                                                5,709.07                 NA             NA            0.00


            DISCOVERY HEALTH
            RECORD SOLUTIONS 1150
            NORTH MEADOW
            PARKWAY SUITE 100
            ROSWELL, GA 30076                                        6.99                 NA             NA            0.00


            DIVERSIFIED
            BEHAVIORAL 11070 S.
            WESTERN AVE CHICAGO,
            IL 60643                                                75.00                 NA             NA            0.00




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            DO-ALL GLASS 8720 S.
            COMMERCIAL CHICAGO,
            IL 60617                                               226.12                 NA             NA            0.00


            DOCTOR'S URGENT CARE
            OFFICES 935 STATE
            ROUTE 28 MILFORD, OH
            45150                                                  399.00                 NA             NA            0.00


            DOLORES F. WEBER 8800
            S. HARLEM AVE LOT 1922
            BRIDGEVIEW, IL 60455                                    10.00                 NA             NA            0.00


            Don Scanlan                                            255.00                 NA             NA            0.00


            DORIS D. JOHNSON 5646 S.
            MEADE CHICAGO, IL
            60638                                                    5.60                 NA             NA            0.00


            DORIS DICKENS 4161 S.
            DREXEL, APT 203
            CHICAGO, IL 60653                                       24.00                 NA             NA            0.00


            DORIS SMITH 1400 E. 55TH
            PLACE APT. # 10015
            CHICAGO, IL 60637                                        5.00                 NA             NA            0.00


            DOROTHY ALYINOVICH
            2923 S. NORMAL
            CHICAGO, IL 60616                                        3.00                 NA             NA            0.00




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            DOROTHY BANKS 8252 S.
            ADA #2 CHICAGO, IL
            60620                                                   16.00                 NA             NA            0.00


            DOROTHY SIMON 335 W.
            100TH ST. CHICAGO, IL
            60628                                                   12.60                 NA             NA            0.00


            Dun & Bradstreet c/o
            Receivables Services P.O. Bo
            5126 Lutherville Timonium,
            MD 21094                                               449.00                 NA             NA            0.00


            DV Property Management
            7100 S. Shore Drive Chicago,
            IL 60649                                               635.00                 NA             NA            0.00


            E.F. GHOUGHAN &
            ASSOC. INC. 10 WEST
            35TH STREET SUITE 11C3-
            2 CHICAGO, IL 60616-3799                             4,490.00                 NA             NA            0.00


            EARLINE HAGGARD 3347
            W CARROLL CHICAGO, IL
            60624                                                3,385.65                 NA             NA            0.00


            Edgewater Presbyterian
            Church 1020 W. Bryn Mawr
            Chicago, IL 60660                                    4,056.43                 NA             NA            0.00




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            EDNA M. DRAKE 321
            WEST 102ND STREET
            CHICAGO, IL 60628                                        5.20                 NA             NA            0.00


            EDWARD COSSEY P.O.
            BOX 6135 CHICAGO, IL
            60690                                                    4.50                 NA             NA            0.00


            ELAINE L. HALL 18100 S.
            66TH COURT APT. 114
            TINLEY PARK, IL 60477                                    6.00                 NA             NA            0.00


            ELEANORE BURNS 316
            WAYNE ST. PARK
            FOREST, IL 60466                                        20.80                 NA             NA            0.00


            ELI WILSON, SR. 8615
            SOUTH LAFLIN CHICAGO,
            IL 60620                                                 5.00                 NA             NA            0.00


            ELIZABETH HAYWOOD
            6720 S. UNION CHICAGO,
            IL 60621                                                30.00                 NA             NA            0.00


            ELOISE TURNER 8015
            SOUTH HARVARD
            CHICAGO, IL 60620                                        5.90                 NA             NA            0.00




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            EM BRANCH &
            ASSOCIATES INC 3139 W
            111TH STREET CHICAGO,
            IL 60655                                               240.00                 NA             NA            0.00


            EMERENCE BARBER 5430
            W EDDY STREET
            CHICAGO, IL 60641                                        5.40                 NA             NA            0.00


            EMILY JENKINS 1743 N.
            LATROBE CHICAGO, IL
            60639                                                3,304.27                 NA             NA            0.00


            EMMA NESBARY 2133 E.
            90TH CHICAGO, IL 60617                                   5.00                 NA             NA            0.00


            ERNESTINE TROOPE 6204
            S. ARTESIAN AVE. APT. 2
            CHICAGO, IL 60629                                       10.00                 NA             NA            0.00


            ESTERIA H. WARE 7801 S.
            VERNON CHICAGO, IL
            60619                                                    5.00                 NA             NA            0.00


            ETHEL TUCKER 5135 S.
            MORGAN CHICAGO, IL
            60609                                                    5.00                 NA             NA            0.00


            ETTA SCHILLER 6605 N.
            KOSTNER
            LINCOLNWOOD, IL 60646                                   90.00                 NA             NA            0.00




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            EUGENE TKALITCH &
            ASSOC. LTD. Attn: Jill A.
            Peterson, Executive VP P.O.
            BOX 598056 CHICAGO, IL
            60659-9998                                          15,057.85                 NA             NA            0.00


            FARIS MERCHERSON 6931
            S. SOUTH CHICAGO AVE
            CHICAGO, IL 60637                                        5.00                 NA             NA            0.00


            FERBIE CLAUDON 16
            WESTWOOD COURT
            PARK FOREST, IL 60466                                   10.00                 NA             NA            0.00


            FILTERFRESH CHICAGO
            11824 NE AINSWORTH
            CIRCLE SUITE C
            PORTLAND, OR 97220                                     240.00                 NA             NA            0.00


            FIRST NONPROFIT
            INSURANCE ATTN: MARY
            McDANIEL VICE
            PRESIDENT OF
            ENTERPRISE & RISK 1
            SOUTH WACKER DRIVE,
            SUITE 2380 Chicago, IL
            60606                                              205,303.50                 NA             NA            0.00


            FIRST SLICE 4401 N.
            RAVENSWOOD CHICAGO,
            IL 60640                                               400.00                 NA             NA            0.00




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            FLORENCE MCCARTHY
            4841 S. TRIPP 1ST FLOOR
            CHICAGO, IL 60632                                        6.40                 NA             NA            0.00


            FRANK R. WEINER 5757 N.
            SHERIDAN ROAD APT. 2-F
            CHICAGO, IL 60660                                       25.00                 NA             NA            0.00


            FRANKIE SIMS-WHITE
            9150 S. DOBSON
            CHICAGO, IL 60619                                        5.00                 NA             NA            0.00


            GABRIELA MONTOYA
            4826 NORTH SHERIDAN
            ROAD #309 CHICAGO, IL
            60660                                                  108.00                 NA             NA            0.00


            GAIL GILCHRIST 6550
            SOUTH ROCKWELL
            CHICAGO, IL 60629                                    1,610.00                 NA             NA            0.00


            GARVEY'S OFFICE
            PRODUCTS P.O. BOX
            74044 Chicago, IL 60690                              5,401.81                 NA             NA            0.00


            GATEWAY BUSINESS
            SYSTEMS 510 PROGRESS
            STREET MUNSTER, IN
            46321                                                  894.66                 NA             NA            0.00




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            GAYLE WRIGHT 2921 S.
            MICHIGAN AVE APT. 407
            CHICAGO, IL 60616                                        9.00                 NA             NA            0.00


            GENEVA GIPSON 1503 W.
            73RD STREET CHICAGO,
            IL 60636                                                 4.80                 NA             NA            0.00


            GEORGE MOTTO 1623
            NORTH 78TH AVENUE
            APT H ELMWOOD PARK,
            IL 60707                                                20.00                 NA             NA            0.00


            GEORGIA LEFTRIDGE
            4747 S. KING DR. APT.#811
            CHICAGO, IL 60615-1351                                   5.00                 NA             NA            0.00


            GEORGIA POOLE 6529
            SOUTH JUSTINE
            CHICAGO, IL 60636                                       11.20                 NA             NA            0.00


            GERALDINE MOORE 602 E
            92nd STREET CHICAGO, IL
            60619                                                   24.00                 NA             NA            0.00


            GERRI JONES 9837 SOUTH
            FOREST CHICAGO, IL
            60628                                                    7.00                 NA             NA            0.00




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            GERRI TUCKER 400 EAST
            RANDOLPH STREET APT
            2806 CHICAGO, IL 60601                                   4.50                 NA             NA            0.00


            GLOBALCOM INC. USA
            P.O. BOX 182263
            COLUMBUS, OH 43218-
            2263                                                   935.26                 NA             NA            0.00


            GLORIA SCHLINGER 9551
            GOLFVIEW PLACE
            FRANKFORT, IL 60423                                     16.00                 NA             NA            0.00


            GORDON JOHNSON 220 S.
            Ridgewood Avenue Suite 260
            Daytona Beach, FL 32114                             18,366.90                 NA             NA            0.00


            GREATAMERICA
            LEASING CORP. P.O. BOX
            660831 DALLAS, TX 75266-
            0831                                                22,238.32                 NA             NA            0.00


            GREEN STAR MOVEMENT
            300 NORTH STATE
            STREET SUITE 4206
            CHICAGO, IL 60654                                    8,100.00                 NA             NA            0.00




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            Greenwood Associates, LLP
            c/o Arnold H. Landis Law
            Offices of Arnold H. Landis,
            P.C. 77 West Washington
            Street, Suite 702 Chicago, IL
            60602                                             4,157,095.00                 NA             NA            0.00


            Gregorio Bravo 3140 W.
            Filmore Unit 3 Chicago, IL
            60612                                                   273.22                 NA             NA            0.00


            GROOM LAW GROUP,
            CHARTERED 1701
            PENNSYLVANIA AVE.,
            NW SUITE 1200
            WASHINGTON, DC 20006                                 15,167.92                 NA             NA            0.00


            GUARDIAN ANGEL
            COMMUNITY SERVICES
            1550 PLAINFIELD ROAD
            JOLIET, IL 60435                                        100.00                 NA             NA            0.00


            GUSSIE M. STOKES 5722 S.
            MARSHFIELD CHICAGO,
            IL 60637                                                  6.00                 NA             NA            0.00


            HANNA GOLDSCHMIDT
            2115 W. WILSON AVENUE
            CHICAGO, IL 60625                                        13.20                 NA             NA            0.00




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            HARLEY SISCO 3333 S.
            ASHLAND AVENUE APT.
            305 CHICAGO, IL 60607                                   50.00                 NA             NA            0.00


            HAROLD ECKARDT 5234
            WEST FLETCHER
            CHICAGO, IL 60641                                        8.40                 NA             NA            0.00


            HARRIET KURZ 6430 W
            BELLE PLAINE #205
            CHICAGO, IL 60634                                       11.60                 NA             NA            0.00


            HARRISON AND
            COMPANY 2421 S. 25th
            AVENUE Broadview, IL
            60155                                                  652.44                 NA             NA            0.00


            HAWTHORN CROSBY 6611
            S. LAFLIN CHICAGO, IL
            60636                                                    7.20                 NA             NA            0.00


            HAYES BOILER &
            MECHANICAL 5959
            SOUTH HARLEM
            CHICAGO, IL 60638-3131                               3,173.94                 NA             NA            0.00


            HEALTH ED P.O. BOX 1075
            EAU CLAIRE, WI 54702-
            1075                                                   169.00                 NA             NA            0.00




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            HEART N SOUL FDN, INC.
            515 RAVINE DRIVE
            HIGHLAND PARK, IL
            60035                                                1,750.00                 NA             NA            0.00


            HELEN CHRISON 7171 W.
            GUNNISON APT 5-F
            HARWOOD HEIGHTS, IL
            60706                                                   18.00                 NA             NA            0.00


            HELP AT HOME, INC. 1
            NORTH STATE STREET
            SUITE 800 CHICAGO, IL
            60602                                                1,666.73                 NA             NA            0.00


            HENRY SOLOMAN 7417 S.
            PAXTON BASEMENT
            CHICAGO, IL 60649                                       12.00                 NA             NA            0.00


            HINCKLEY SPRINGS
            WATER CO. P.O. BOX
            660579 DALLAS, TX 75266-
            0579                                                   168.65                 NA             NA            0.00


            HOYNE ASSOCIATES 1311
            N. HOYNE AVE CHICAGO,
            IL 60622                                             1,260.00                 NA             NA            0.00


            HYDE PARK ACADEMY
            6220 S. STONY ISLAND
            CHICAGO, IL 60637                                      130.00                 NA             NA            0.00




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            HYDE PARK BANK 1525
            EASTSIDE PARK BLVD
            CHICAGO, IL 60615                                      716.28                 NA             NA            0.00


            HYDE PARK WEST
            APARTMENTS 5325 S.
            COTTAGE GROVE
            CHICAGO, IL 60615                                       40.00                 NA             NA            0.00


            IDA KELLY 824 SOUTH
            13TH AVENUE
            MAYWOOD, IL 60153                                       50.00                 NA             NA            0.00


            IL. DEPT. OF FINANCIAL
            & PROFESSIONAL
            RESPONSIBILITY P.O.
            BOX 7007 SPRINGFIELD,
            IL 62791                                                20.00                 NA             NA            0.00


            ILLINOIS READING
            COUNCIL 1210 FT. JESSE
            ROAD SUITE B2 NORMAL,
            IL 61761                                                40.00                 NA             NA            0.00


            ILLINOIS SECRETARY OF
            STATE LICENSE
            RENEWAL DEPARTMENT
            3701 WINCHESTER ROAD
            SPRINGFIELD, IL 62707-
            9700                                                    79.00                 NA             NA            0.00




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            ILLINOIS STUDENT
            TRANSPORTATION P.O.
            BOX 2675 CHICAGO, IL
            60690                                                2,605.00                 NA             NA            0.00


            IMOGENE B. KIMBROUGH
            460 E. 41ST ST. APT. 417
            CHICAGO, IL 60653                                        5.60                 NA             NA            0.00


            INCCRRA 1226 TOWANDA
            PLAZA BLOOMINGTON, IL
            61701                                                  200.00                 NA             NA            0.00


            Innovative Voice
            Technologies 5723 West
            Belmont Avenue Chicago, IL
            60634                                               14,800.00                 NA             NA            0.00


            INSTITUTE OF
            GOVERNMENT & PUBLIC
            AFFAIRS 815 WEST VAN
            BUREN STREET #525 - MC-
            191 CHICAGO, IL 60607                                3,000.00                 NA             NA            0.00


            INTERACT BUSINESS
            PRODUCTS, LLC 165
            HANSEN COURT SUITE
            106 WOOD DALE, IL 60191                              5,475.18                 NA             NA            0.00




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            INTERSTATE GRAPHICS,
            INC. 7817 BURDEN ROAD
            MACHESNEY PARK, IL
            61115                                                  285.00                 NA             NA            0.00


            IRIS R. SMITH 4936 WEST
            SHERWIN SKOKIE, IL
            60077                                                   22.00                 NA             NA            0.00


            IRV SIMON 2715 CRIPPLE
            CREEK COURT
            NAPERVILLE, IL 60564                                   100.00                 NA             NA            0.00


            JACK MOZENTER 2600 W.
            BERWYN AVE CHICAGO,
            IL 60625                                                13.20                 NA             NA            0.00


            JACKSON WABASH P.O.
            BOX 1023540 ATLANTA,
            GA 30368-3540                                        3,198.80                 NA             NA            0.00


            JAMES RICHARDSON 15
            EAST 90TH STREET
            CHICAGO, IL 60619                                      600.00                 NA             NA            0.00


            JAMES RINER 3117 WEST
            ARGYLE APT 1 CHICAGO,
            IL 60625                                                 9.60                 NA             NA            0.00




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            JAMILA DAVIS 8046
            SOUTH PRARIE APT 1
            CHICAGO, IL 60619                                      945.00                 NA             NA            0.00


            JAN MASON 9347 S.
            WABASH CHICAGO, IL
            60619                                                    8.00                 NA             NA            0.00


            JANET FOX 7030 NORTH
            ORIOLE AVENUE
            CHICAGO, IL 60631                                       20.00                 NA             NA            0.00


            JASON MOORE 747 WEST
            63RD STREET CHICAGO,
            IL 60621                                               250.00                 NA             NA            0.00


            JEAN HAYES 7242 SOUTH
            HARVARD CHICAGO, IL
            60621                                                    5.00                 NA             NA            0.00


            JEAN R. GRANT 6812
            SOUTH CHAPPEL 1ST
            FLOOR CHICAGO, IL 60649                                 36.00                 NA             NA            0.00


            JEAN SMITH 3725 WEST
            GIDDINGS APT 1
            CHICAGO, IL 60625                                        4.20                 NA             NA            0.00


            JEANNETTA JACKSON
            3700 EAGLE NEST DRIVE
            CRETE, IL 60417                                         32.00                 NA             NA            0.00




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            JEANNETTE COUSINS
            8144 S. CRANDON
            CHICAGO, IL 60617                                       10.20                 NA             NA            0.00


            JEWEL MACK 5607 S.
            ABERDEEN CHICAGO, IL
            60621                                                    2.40                 NA             NA            0.00


            JEWELS BUS COMPANY
            1035 WEST 111TH STREET
            CHICAGO, IL 60643                                    3,275.00                 NA             NA            0.00


            JIM FINN 163 WILLOW
            LANE ELK GROVE
            VILLAGE, IL 60007                                       20.00                 NA             NA            0.00


            JO ANNE BASTAS 14533
            MAYCLIFF DRIVE
            ORLAND PARK, IL 60462                                   12.00                 NA             NA            0.00


            JOALEENE MIRANDA 6114
            WEST FLETCHER STREET
            CHICAGO, IL 60634                                        6.00                 NA             NA            0.00


            JOAN SHANNON 7345
            SOUTH SHORE DRIVE
            1103 CHICAGO, IL 60649                                  48.00                 NA             NA            0.00


            JOANN BROWN 119 EAST
            122ND STREET CHICAGO,
            IL 60628                                                16.00                 NA             NA            0.00




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            JOHANSEN FARMS INC.
            710 W. BOUGHTON RD.
            BOLINGBROOK, IL 60440                                  340.00                 NA             NA            0.00


            JOHN R. KISH 303
            COLUMBIA CIRCLE Steger,
            IL 60475                                                19.60                 NA             NA            0.00


            JOHN ZAREMSKI 5840 N.
            KEATING CHICAGO, IL
            60646                                                   30.00                 NA             NA            0.00


            JOHNNIE JACKSON 10227
            S. CALUMET CHICAGO, IL
            60628                                                    6.00                 NA             NA            0.00


            JOHNNIE M. SMITH 5418 S.
            HERMITAGE AVE. APT 1
            CHICAGO, IL 60609                                        5.80                 NA             NA            0.00


            JOHNNY WILLIAMS 336 N.
            STRIEFF LANE
            GLENWOOD, IL 60425                                      42.00                 NA             NA            0.00


            JOHNYE BROWN 8215 S.
            PERRY AVE. CHICAGO, IL
            60620                                                    4.80                 NA             NA            0.00




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            JOSEPHINE GONCHER 218
            WEST 29TH STREET
            CHICAGO HEIGHTS, IL
            60411                                                    6.00                 NA             NA            0.00


            JOSE'S CLEANING INC.
            9926 W. ARMITAGE
            MELROSE PARK, IL 60164                              29,141.94                 NA             NA            0.00


            JOYCE A. COLEMAN 6411
            SOUTH MORGAN APT 1
            CHICAGO, IL 60621-1307                                  18.00                 NA             NA            0.00


            JOYCE FORD 2401 S.
            MICHIGAN CHICAGO, IL
            60616                                                  885.00                 NA             NA            0.00


            JUANITA OWENS 900
            SOUTH CLARK STREET
            APT 1414 CHICAGO, IL
            60605                                                    5.00                 NA             NA            0.00


            JUDITH BLAKE 8412 S.
            CARPENTER CHICAGO, IL
            60620                                                   10.00                 NA             NA            0.00


            JUDITH PEDRAZA P.O.
            BOX 08315 CHICAGO, IL
            60608                                                   20.00                 NA             NA            0.00




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            JULIA WHITFIELD 9210 S.
            CONSTANCE CHICAGO, IL
            60617                                                    9.60                 NA             NA            0.00


            KAPLAN COMPANIES,
            INC. P.O. BOX 890575
            CHARLOTTE, NC 28289-
            0575                                                 3,832.90                 NA             NA            0.00


            KARYNE ISLAM 6942 S.
            STEWART APT. 1
            CHICAGO, IL 60621                                        7.40                 NA             NA            0.00


            Kass Management Services
            2000 N. Racine Chicago, IL
            60614                                                1,150.00                 NA             NA            0.00


            KAY NUNNALLY 5225
            SOUTH DORCHESTER
            CHICAGO, IL 60015                                        5.00                 NA             NA            0.00


            KAY WARE 237 W. 105TH
            PLACE APT. H CHICAGO,
            IL 60628                                                12.00                 NA             NA            0.00


            KB DESIGN INC. 6565
            PENNAN COURT
            NOBLESVILLE, IN 46062                                2,000.00                 NA             NA            0.00




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            KENNEDY-KING
            COLLEGE 6301 SOUTH
            HALSTED BUILDING W,
            ROOM 101 CHICAGO, IL
            60621                                                6,211.80                 NA             NA            0.00


            KENNETH YOZA 5860 N.
            MAGNOLIA APT. 1
            CHICAGO, IL 60660                                       10.00                 NA             NA            0.00


            KIMBERLY ROTE 1161
            MINNS DRIVE, APT 6
            MACHESNEY PARK, IL
            61115                                                1,000.00                 NA             NA            0.00


            KING'S KIDDIE KINGDOM
            815 WEST 74TH STREET
            CHICAGO, IL 60621                                   11,359.57                 NA             NA            0.00


            KRISTIN FITZSIMMONS
            1823 WEST HURON
            CHICAGO, IL 60622                                      516.00                 NA             NA            0.00


            KWAME NKRUMAH
            CULTURAL CENTER 181
            PROVIDENCE DRIVE
            MATTESON, IL 60443                                   2,795.00                 NA             NA            0.00


            KYMBERLY WILKINS 4510
            S. LAVERGNE #HSE
            CHICAGO, IL 60638                                       19.97                 NA             NA            0.00




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            LA BOXING 3215 NORTH
            BROADWAY CHICAGO, IL
            60657                                                3,180.00                 NA             NA            0.00


            LAKESHORE LEARNING
            MATERIALS 2695 E.
            DOMINQUEZ ST. P.O.
            BOX 6261 CARSON, CA
            90895                                                   39.00                 NA             NA            0.00


            Laner Muchin Dombrow
            Becker Levin and Tominberg,
            Ltd. c/o Violet Clark/Amber
            L. Stefankiewicz 515 North
            State Street, Suite 2800
            Chicago, IL 60654                                   52,541.46                 NA             NA            0.00


            LATINO EXPRESS 3230 W.
            38TH CHICAGO, IL 60632                                 450.00                 NA             NA            0.00


            LATOYA K. CULPEPPER
            2532 W. Warren Blvd.
            CHICAGO, IL 60612                                    6,000.00                 NA             NA            0.00


            LAUTERER
            CORPORATION 619 S.
            LASALLE ST. CHICAGO, IL
            60605                                                  236.41                 NA             NA            0.00




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            LAVATOR BENSON 10832
            S. FOREST CHICAGO, IL
            60628                                                   18.00                 NA             NA            0.00


            LAVERNE BUTLER 651
            EAST 83RD STREET APT
            2N CHICAGO, IL 60619                                     6.00                 NA             NA            0.00


            LAWRENCE MERCADES
            4649 N. BEACON ST.
            CHICAGO, IL 60640                                       11.20                 NA             NA            0.00


            LEAVERNON COX 5506
            SOUTH HONORE STREET
            3RD FLOOR CHICAGO, IL
            60636                                                   48.00                 NA             NA            0.00


            LEONA SANLIN 6201
            SOUTH INDIANA AVENUE
            APT 2B CHICAGO, IL 60637                                 5.00                 NA             NA            0.00


            LIBERTY MOVERS 6226
            MADISON COURT
            MORTON GROVE, IL 60053                                 210.00                 NA             NA            0.00


            LILLIE RHODEN 500 EAST
            33RD STREET APT 304
            CHICAGO, IL 60616                                        4.00                 NA             NA            0.00




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            LINCOLN SQUARE
            CHAMBER 4732 NORTH
            LINCOLN AVENUE SUITE
            8 CHICAGO, IL 60625                                    200.00                 NA             NA            0.00


            LINDA HIFFMAN 5021 N.
            FORESTER SCHILLER
            PARK, IL 60176                                          26.19                 NA             NA            0.00


            LISC AMERICORPS 501
            7TH AVENUE, 7TH FLOOR
            NEW YORK, NY 10018                                  22,500.00                 NA             NA            0.00


            LITERACY RESEARCH
            ASSOCIATION 7044
            SOUTH 13TH STREET OAK
            CREEK, WI 53154                                        110.00                 NA             NA            0.00


            LITERACY WORKS 6216 N.
            CLARK ST. CHICAGO, IL
            60660                                                  250.00                 NA             NA            0.00


            LIZZIE M. BROWN 11517
            SOUTH CHURCH STREET
            CHICAGO, IL 60643                                        4.00                 NA             NA            0.00


            LONZO BRADLEY 5308
            WEST ADAMS 1ST FLOOR
            CHICAGO, IL 60644                                    1,439.42                 NA             NA            0.00




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            LORNA L. IMBERY 102
            FLAMINGO DR. BEECHER,
            IL 60401                                                18.00                 NA             NA            0.00


            LORRAINE DURKA 2705
            W. 39TH PLACE CHICAGO,
            IL 60632                                                43.20                 NA             NA            0.00


            Louevina Brown 17001 S.
            Paxton South Holland, IL
            60473                                                  680.00                 NA             NA            0.00


            LOUISE K. SMITH 70 E.
            CEDAR CHICAGO, IL
            60611                                                  945.15                 NA             NA            0.00


            LOUVENIA HILL P.O. BOX
            21399 CHICAGO, IL 60621                                  8.00                 NA             NA            0.00


            LUCILLE B. PAYNE 4721
            N. WASHTENAW AVE. 1ST
            FLOOR CHICAGO, IL 60625                                188.00                 NA             NA            0.00


            LUISA KOCH 2531 NORTH
            FAIRFIELD AVENUE
            CHICAGO, IL 60647                                       15.30                 NA             NA            0.00


            LUMITY 407 SOUTH
            DEARBORN SUITE 800
            CHICAGO, IL 60605                                      450.00                 NA             NA            0.00




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            MABEL M. WHITEN 7923
            S. ESSEX CHICAGO, IL
            60617                                                   18.00                 NA             NA            0.00


            MAE BURT 500 EAST 33RD
            STREET APT 2202
            CHICAGO, IL 60616                                        5.00                 NA             NA            0.00


            MAIL FINANCE P.O. BOX
            45840 SAN FRANCISCO,
            CA 94145-0840                                        2,837.28                 NA             NA            0.00


            MALCOLM X COLLEGE
            1900 W VAN BUREN
            STREET CHICAGO, IL
            60612                                                  477.00                 NA             NA            0.00


            MALDEN EXPRESS, LLC
            P.O. BOX 361341
            INDIANAPOLIS, IN 46236                                 759.00                 NA             NA            0.00


            MAMIE PERRY 300 PARK
            AVENUE APT 736
            CALUMET CITY, IL 60409                                   6.00                 NA             NA            0.00


            MARGARET L. SHANNON
            1921 EAST 86TH STREET
            CHICAGO, IL 60617                                        5.00                 NA             NA            0.00




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            Maria Mejia-Ramirez 5102
            West 63rd Place Chicago, IL
            60638                                                  181.54                 NA             NA            0.00


            MARIE MCDANIEL 8241 S.
            MERRIL CHICAGO, IL
            60617                                                    5.00                 NA             NA            0.00


            MARILYN I. SOHAN 3450
            STATION DR. MATTESON,
            IL 60443                                                25.60                 NA             NA            0.00


            MARKS CLEANING AND
            DECORATING 525 W.
            HAWTHORNE APT. #701
            CHICAGO, IL 60657                                   30,220.00                 NA             NA            0.00


            MARQUETTE
            ASSOCIATES, INC. 180 N.
            LASALLE STREET SUITE
            3500 CHICAGO, IL 60601                               5,500.00                 NA             NA            0.00


            MARTIN MACK FIRE&
            SAFETY EQUIP. CO. 4730
            W. ARMITAGE CHICAGO,
            IL 60639                                                54.75                 NA             NA            0.00


            MARY & TOM LEO &
            ASSOCIATES 2656 W.
            MONTROSE CHICAGO, IL
            60618                                               12,570.00                 NA             NA            0.00




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            MARY A. ASHTON 8351 S.
            PAXTON AVE CHICAGO,
            IL 60617                                                30.40                 NA             NA            0.00


            MARY E. SPIECKER 11141
            AUTUMN VALLEY LANE
            APT 2-W FRANKFORT, IL
            60423                                                    8.00                 NA             NA            0.00


            MARY LOU ROY 336 W.
            GLENGATE AVE.
            CHICAGO HEIGHTS, IL
            60417                                                   12.00                 NA             NA            0.00


            MARY LOUSE PERRY 3438
            SOMERSET LANE CRETE,
            IL 60417                                                24.00                 NA             NA            0.00


            MARY REEVES 7928 S.
            MARSHFIELD CHICAGO,
            IL 60620                                                 6.00                 NA             NA            0.00


            MARY SMITH 6700 S.
            CRANDON #3A CHICAGO,
            IL 60649                                                20.50                 NA             NA            0.00


            MARY THOMAS 8006
            SOUTH DANTE CHICAGO,
            IL 60619                                                16.00                 NA             NA            0.00




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            MARY TIVADAR 7530
            WEST FORREST
            PRESERVE CHICAGO, IL
            60634                                                   14.40                 NA             NA            0.00


            MARY TOWNSEND 952 E.
            101ST ST. CHICAGO, IL
            60628                                                    6.00                 NA             NA            0.00


            MASAYUKI TOMA 4628 N.
            WINCHESTER CHICAGO,
            IL 60640                                                10.00                 NA             NA            0.00


            MASTER BREW, INC. P.O.
            BOX 1508 NORTHBROOK,
            IL 60065                                                99.75                 NA             NA            0.00


            MATTIE B. MOORE 1524
            SOUTH CHRISTIANA APT
            1 CHICAGO, IL 60623                                      8.00                 NA             NA            0.00


            MAUREEN BOO 5401 S.
            HYDEPARK BLVD. APT.
            901 CHICAGO, IL 60615                                   36.00                 NA             NA            0.00


            MAUREEN C. FARLOW 18
            BLUE BIRD LANE
            BEECHER, IL 60401-9794                                  28.00                 NA             NA            0.00




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            MC2 Energy Services c/o
            Clinton Krisco, Esq. Caine &
            Weiner 1698 E. Woodfield
            Road, Suite 360 Schaumburg,
            IL 60173                                             20,064.05                 NA             NA            0.00


            McGladrey & Pullen c/o
            Wesford & James 2910
            Westown Parkway, Suite 102
            West Des Moines, IA 50266                             7,772.00                 NA             NA            0.00


            MCI P.O. BOX 371838
            PITTSBURGH, PA 15250-
            7838                                                     59.52                 NA             NA            0.00


            MCKINLEY REED 4418
            NORTH CLIFTON # 3E
            CHICAGO, IL 60640                                        50.00                 NA             NA            0.00


            MEDCO COMPANY P.O.
            BOX 21773 CHICAGO, IL
            60673                                                 4,063.25                 NA             NA            0.00


            MELVIN PAGE 1701
            NORTH MONITOR
            CHICAGO, IL 60639                                        50.00                 NA             NA            0.00


            MERRY MAIDS 8302 88TH
            AVENUE JUSTICE, IL
            60458                                                   444.00                 NA             NA            0.00




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            MERTON G. SILBAR
            PUBLIC RELATIONS 1580
            S. MILWAUKEE AVE.
            SUITE 530 LIBERTYVILLE,
            IL 60048                                              4,029.50                 NA             NA            0.00


            MFASCO HEALTH &
            SAFETY P.O. BOX 386
            ROSEVILLE, MI 48066                                     217.08                 NA             NA            0.00


            MICHAEL ELLINGTON
            5221 MULBERRY LANE
            MONEE, IL 60449                                          16.00                 NA             NA            0.00


            MICHAEL GODNICK P.O.
            BOX 556 BEVERLY
            SHORES, IN 46301                                     23,200.00                 NA             NA            0.00


            MIDWEST MOVING &
            STORAGE, INC. 1255
            TONNE ROAD ELK GROVE
            VILLAGE, IL 60007                                     1,872.50                 NA             NA            0.00


            MIKE BERILLA 23941
            KING ROAD CRETE, IL
            60417-9663                                               26.00                 NA             NA            0.00




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            MILLENNIUM
            MECHANICAL REPAIR
            SERVICE 732 FOX RIVER
            ROAD VALPARAISO, IN
            46385                                                    85.00                 NA             NA            0.00


            MILLER ADVERTISING
            AGENCY 71 FIFTH
            AVENUE NEW YORK, NY
            10003                                                    30.00                 NA             NA            0.00


            MIRIAM GALVAN 5601 S.
            MONITOR AVE. CHICAGO,
            IL 60638                                                  4.80                 NA             NA            0.00


            Mischelle Causey-Drake 125
            E 13th Street Unit 1306
            Chicago, IL 60606                                       647.70                 NA             NA            0.00


            MOLLOY GENERAL
            CONTRACTING INC. 4524
            NORTH MONTICELLO
            AVENUE CHICAGO, IL
            60625                                                   740.40                 NA             NA            0.00


            MONICA PIERCE 1644 S.
            AVERS CHICAGO, IL 60623                               1,325.00                 NA             NA            0.00


            MONIQUE FRISBY 3704
            WEST 77TH STREET
            CHICAGO, IL 60652                                       430.50                 NA             NA            0.00




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            MONROE HEATING &
            COOLING CO. 1715 N.
            33RD AVENUE MELROSE
            PARK, IL 60160-1707                                     450.00                 NA             NA            0.00


            MUNDO ELECTRIC CO.
            P.O. BOX 389114
            CHICAGO, IL 60638                                     4,510.00                 NA             NA            0.00


            MURIEL CLARKSTON 8454
            SOUTH VERNON
            CHICAGO, IL 60619                                         4.80                 NA             NA            0.00


            MURPHY'S SIGN STUDIO,
            INC. 29 E. CHICAGO
            AVENUE, #A Westmont, IL
            60559                                                   324.00                 NA             NA            0.00


            MVC Properties, LLC P.O.
            Box 39487 Chicago, IL 60639                             575.00                 NA             NA            0.00


            MYRTLE CHATMAN 4243
            N. SACRAMENTO 2ND
            FLOOR CHICAGO, IL 60618                                  20.00                 NA             NA            0.00


            NACCFI P.O. BOX 7146
            FREDERICKSBURG, VA
            22404                                                   200.00                 NA             NA            0.00




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            NAEYC 1313 L. STREET
            NW SUITE 500
            WASHINGTON, DC 20005-
            4101                                                    350.00                 NA             NA            0.00


            NATIONAL ASSOCIATION
            OF SOCIAL WORKERS P.O.
            BOX 96104 WASHINGTON,
            DC 20090                                                570.00                 NA             NA            0.00


            NATIONAL CENTER FOR
            VICTIMS OF CRIME 2000
            M STREET, N.W.
            WASHINGTON, DC 20036                                    890.00                 NA             NA            0.00


            NATIONAL CHILDREN'S
            ALLIANCE 516 C STREET
            NE WASHINGTON, DC
            20002                                                   500.00                 NA             NA            0.00


            NATIONAL
            ORGANIZATION OF
            FORENSIC SOCIAL WORK
            460 SMITH ST., SUITE K
            MIDDLETOWN, CT 06457                                    190.00                 NA             NA            0.00


            NATIONAL SEMINARS
            GROUP P.O. BOX 419107
            KANSAS CITY, MO 64141-
            6107                                                    299.00                 NA             NA            0.00




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            NEOPOST P.O. BOX 45800
            SAN FRANCISCO, CA
            94145-0800                                            2,180.26                 NA             NA            0.00


            NEW READERS PRESS
            1320 JAMESVILLE AVE.
            SYRACUSE, NY 13210                                        5.56                 NA             NA            0.00


            NIRVA BRUNTY 9226 S.
            AVALON CHICAGO, IL
            60619                                                     6.00                 NA             NA            0.00


            NORTHALSTED MARKET
            DAYS 2221 WEST 43RD
            STREET CHICAGO, IL
            60609                                                   799.00                 NA             NA            0.00


            NORTHBRIDGE STAFFING
            DEPT CH17311 PALATINE,
            IL 60055-7311                                         2,900.64                 NA             NA            0.00


            NORTHWESTERN
            SETTLEMENT 1400 WEST
            AUGUST BOULEVARD
            CHICAGO, IL 60642                                     2,500.00                 NA             NA            0.00


            NURRIDDIN MUHAMMAD
            P.O. BOX 490815
            CHICAGO, IL 60649                                       514.50                 NA             NA            0.00




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            OER ASSOCIATES LLC 615
            KNOX AVENUE
            WILMETTE, IL 60091                                    1,000.00                 NA             NA            0.00


            OFFICE DEPOT DEPT. 56-
            8200500544 P.O. BOX
            689020 DES MOINES, IA
            50368-9020                                              924.49                 NA             NA            0.00


            OLA LEDBETTER 7718
            SOUTH MAY STREET
            CHICAGO, IL 60620                                        15.00                 NA             NA            0.00


            OLGA DETRICK 5739 S.
            MOODY CHICAGO, IL
            60638                                                    10.20                 NA             NA            0.00


            OLIVIA MORENO 3217
            WEST CORTEZ CHICAGO,
            IL 60651                                                670.00                 NA             NA            0.00


            OPEN KITCHENS, INC.
            1161 W. 21ST STREET
            CHICAGO, IL 60608                                    34,098.46                 NA             NA            0.00


            ORANGE CHAIR
            PRODUCTIONS, LTD 511
            WEST DIVISION
            CHICAGO, IL 60610                                     2,000.00                 NA             NA            0.00




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            ORIENTAL TRADING
            COMPANY P.O. BOX 2049
            OMAHA, NE 68103                                         115.91                 NA             NA            0.00


            Orion Management 14234 S.
            Bell Road, Suite 118 Homer
            Glen, IL 60491                                          670.00                 NA             NA            0.00


            OSVELIA CASTILLO 1345
            WEST ROSEDALE, BSMT
            CHICAGO, IL 60660                                       193.50                 NA             NA            0.00


            Parkside 628, LLC 628 North
            Parkside Chicago, IL 60644                            8,815.00                 NA             NA            0.00


            PATRICE WINDSOR 8418
            S. CRANDON AVE
            CHICAGO, IL 60617                                       480.00                 NA             NA            0.00


            PATRICIA A. KNAZZE 6701
            SOUTH CRANDON APT 11-
            A CHICAGO, IL 60649                                      10.00                 NA             NA            0.00


            PATRICIA WILSON 9032 S.
            CONSTANCE AVENUE
            Chicago, IL 60617                                         5.00                 NA             NA            0.00


            PAUL O. WEBER 8800 S.
            HARLEM AVE LOT 1922
            BRIDGEVIEW, IL 60458                                      6.00                 NA             NA            0.00




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            PEARLIE CHISM 8317 S.
            LAWRENCE ST APT 3-C
            CHICAGO, IL 60619                                         5.60                 NA             NA            0.00


            PEGGY SPARKS 7614 S.
            SAGINAW AVENUE APT 1
            CHICAGO, IL 60649                                         5.00                 NA             NA            0.00


            PENNY PONINSKI 25810 S.
            SCIOTO DRIVE MONEE, IL
            60449-8926                                               16.00                 NA             NA            0.00


            PEOPLE P.O. BOX 60300
            TAMPA, FL 33660-0300                                     39.42                 NA             NA            0.00


            PEOPLES GAS LIGHT &
            COKE CO. 130 East
            Randolph Street Chicago, IL
            60601                                                 3,907.82                 NA             NA            0.00


            PEPPER CONSTRUCTION
            643 N. ORLEANS ST.
            CHICAGO, IL 60654-2833                               21,231.00                 NA             NA            0.00


            PETE WILLIS 6033 S.
            COTTAGE GROVE AVE.
            APT. 603 CHICAGO, IL
            60637                                                     5.00                 NA             NA            0.00




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            PETER MITROPOULOS
            4017 N OTTAWA
            CHICAGO, IL 60706                                        20.00                 NA             NA            0.00


            PHYLLIS ROBERTS P.O.
            BOX 490236 CHICAGO, IL
            60649                                                    10.00                 NA             NA            0.00


            PICKENS KANE MOVING
            & STORAGE 410 N.
            MILWAUKEE AVE
            CHICAGO, IL 60654                                    16,921.68                 NA             NA            0.00


            PLAY WITH A PURPOSE
            SDS 12-1069 P.O. BOX 86
            MINNEAPOLIS, MN 55486                                 2,323.19                 NA             NA            0.00


            POSITIVE PROMOTIONS
            15 GILPIN AVENUE
            HAUPPAUGE, NY 11788                                   1,364.55                 NA             NA            0.00


            PREMIER BANK 1210
            CENTRAL AVENUE
            WILMETTE, IL 60091                                    3,885.00                 NA             NA            0.00


            PRINCE MARTIN 4515 S.
            ST. LAWRENCE CHICAGO,
            IL 60653                                                 10.00                 NA             NA            0.00




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            PROFESSIONAL THEATRE
            AND DANCE YOUTH C/O
            YEN 1021 SOUTH GROVE
            AVENUE OAK PARK, IL
            60304                                                 9,000.00                 NA             NA            0.00


            PSAV PRESENTATION
            SERVICES 140 EAST
            WALTON PLACE
            CHICAGO, IL 60611                                       345.00                 NA             NA            0.00


            PUBLIC STORAGE 4220 W.
            47th St. CHICAGO, IL
            60632-4400                                              983.00                 NA             NA            0.00


            QUATRRO FPO
            SOLUTIONS, LLC 8401
            102ND STREET SUITE 500
            Pleasant Prairie, WI 53158                          507,984.00                 NA             NA            0.00


            QUILL CORPORATION
            P.O. BOX 37600
            PHILADELPHIA, PA 19101-
            0600                                                  4,344.67                 NA             NA            0.00


            R & D BUS COMPANY
            4654 WEST WASHINGTON
            CHICAGO, IL 60644                                     2,295.00                 NA             NA            0.00




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                                                   CODE
                                                                 6F)             Claim)

            RAMON LEWIS 4122
            SOUTH ELLIS CHICAGO,
            IL 60653                                                750.00                 NA             NA            0.00


            RASHEEDA CASH 5810 S.
            KING DRIVE CHICAGO, IL
            60637                                                    52.92                 NA             NA            0.00


            RELIABLE FIRE
            EQUIPMENT CO. 12845 S.
            CICERO AVE. ALSIP, IL
            60803                                                   468.50                 NA             NA            0.00


            RENAISSANCE
            COMMUNICATION
            SYSTEMS 3509 MARTENS
            STREET FRANKLIN PARK,
            IL 60131                                                250.00                 NA             NA            0.00


            RENEE SULLIVAN 2210 W.
            MORSE AVENUE APT. #1
            CHICAGO, IL 60645                                         5.60                 NA             NA            0.00


            REYNOLD KING 842 W.
            ARLINGTON CRETE, IL
            60417                                                    36.00                 NA             NA            0.00


            RHONDA MILBURN 2654
            WEST NORTH AVENUE
            CHICAGO, IL 60647                                     1,199.37                 NA             NA            0.00




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                                                                 6F)             Claim)

            RICHARD C. CARLSON
            6148 N. KEELER AVENUE
            CHICAGO, IL 60646-5224                                   42.00                 NA             NA            0.00


            RICHARD GROTT 1635
            WEST BELMONT AVENUE
            APT 602 CHICAGO, IL
            60657                                                    11.50                 NA             NA            0.00


            RICK OLSON 1313 EAST
            169TH STREET SOUTH
            HOLLAND, IL 60473                                        50.00                 NA             NA            0.00


            RIGHT PRICED
            FURNITURE 4259 S.
            WESTERN CHICAGO, IL
            60609                                                10,105.00                 NA             NA            0.00


            RIVER NORTH
            ASSOCIATION
            MERCHANDISE MART 222
            MERCANDISE MART
            PLAZA CHICAGO, IL 60654                                 125.00                 NA             NA            0.00


            RIVERSIDE GRAPHICS
            TWO N. RIVERSIDE
            PLAZA CHICAGO, IL 60606                                 205.00                 NA             NA            0.00


            ROBBIE L. HENDERSON
            727 E. 104TH PLACE
            CHICAGO, IL 60628                                        50.00                 NA             NA            0.00




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                                                                 6F)             Claim)

            ROBERT J. BORRE 2000
            GLENVIEW ROAD
            GLENVIEW, IL 60025-2850                                  26.60                 NA             NA            0.00


            ROBERT L. GILMORE 152
            PARK PARK FOREST, IL
            60466                                                     9.60                 NA             NA            0.00


            ROBOTCITY WORKSHOP
            3226 NORTH SHEFFIELD
            CHICAGO, IL 60657                                     4,305.00                 NA             NA            0.00


            ROCKFORD COLLEGE
            5050 EAST STATE STREET
            ROCKFORD, IL 61108                                      313.98                 NA             NA            0.00


            Roger Wood, LLC c/o Acorn
            Property Management, Ltd.
            1819 West Grand Avenue,
            Suite 200 Chicago, IL 60622                             550.00                 NA             NA            0.00


            ROOSEVELT MURRAY
            3432 WEST 12TH PLACE
            CHICAGO, IL 60623                                        10.80                 NA             NA            0.00


            ROSA DILLARD 8323 S
            MARYLAND CHICAGO, IL
            60619                                                    30.40                 NA             NA            0.00




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            ROSE FITZGERALD 19512
            FORESTDALE COURT
            MOKENA, IL 60448                                         30.00                 NA             NA            0.00


            ROSEANN JANSER 2706
            TURTLE CREEK HAZEL
            CREST, IL 60429                                          16.00                 NA             NA            0.00


            ROSEMARY KNOOP 356 S.
            WOODWARD BEECHER,
            IL 60401                                                  6.00                 NA             NA            0.00


            ROSETTA BUTTS 8055 S.
            LUELLA AV CHICAGO, IL
            60617                                                    24.00                 NA             NA            0.00


            ROSETTA STONE LTD.
            DEPT CH 17714 PALATINE,
            IL 60055-7714                                         1,015.00                 NA             NA            0.00


            ROSIE D. BARNES P. O.
            BOX 288642 CHICAGO, IL
            60628-8642                                                4.00                 NA             NA            0.00


            ROSIE GRIGGS OLIVIER
            7405 S. CALUMET
            AVENUE CHICAGO, IL
            60619                                                     6.40                 NA             NA            0.00




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            ROSIE L. JAMES 239 E.
            113TH ST. #1 CHICAGO, IL
            60628                                                    12.00                 NA             NA            0.00


            ROTARY CLUB OF
            CHICAGO ONE
            WESTBROOK CORP
            CENTER SUITE 120
            WESTCHESTER, IL 60154                                    75.00                 NA             NA            0.00


            RSM MCGLADREY, INC.
            5155 PAYSPHERE CIRCLE
            CHICAGO, IL 60674                                     7,952.00                 NA             NA            0.00


            RUBY INGRAM 14319
            STEWART RIVERDALE, IL
            60827                                                    16.00                 NA             NA            0.00


            RUBY TSUJI 1801 WEST
            SMMERDALE APT 2
            CHICAGO, IL 60640                                         8.50                 NA             NA            0.00


            RUFFLED FEATHERS
            GOLF CLUB 1 PETE DYE
            DRIVE LEMONT, IL 60439                                2,169.40                 NA             NA            0.00


            RUTH GARDNER 7945
            SOUTH PAXTON
            CHICAGO, IL 60617                                        14.40                 NA             NA            0.00




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            RUTH L. BARTLETT 1241
            S. 14TH AVENUE
            MAYWOOD, IL 60153                                        20.00                 NA             NA            0.00


            RUTH PERSON 9357 S.
            RACINE CHICAGO, IL
            60620                                                     5.00                 NA             NA            0.00


            S. STEIN AND COMPANY
            1030 W. NORTH AVE
            CHICAGO, IL 60642                                     5,461.00                 NA             NA            0.00


            SALLY KAHN 18835
            KINGS ROAD
            HOMEWOOD, IL 60430                                        8.00                 NA             NA            0.00


            SARAH E. LIGGINS 10542
            EAST EDBROOKE
            AVENUE CHICAGO, IL
            60628                                                     8.00                 NA             NA            0.00


            SAUL BOZEMAN 7154
            SOUTH ROCKWELL
            CHICAGO, IL 60629                                         5.00                 NA             NA            0.00


            SCHAIN, BURNEY, ROSS
            & CITRON 222 N.
            LASALLE ST. SUITE 1910
            CHICAGO, IL 60601                                       329.43                 NA             NA            0.00




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            SCHAUMBURG PARK
            DISTRICT 235 E BEECH
            SCHAUMBURG, IL 60193-
            2900                                                    153.85                 NA             NA            0.00


            SCHOOL SPECIALTY INC
            MB UNIT # 67-3106
            MILWAUKEE, WI 53268-
            3106                                                  1,164.62                 NA             NA            0.00


            SCOTT D. FELDMAN, M.D.
            6925 S. CONSTANCE
            AVENUE CHICAGO, IL
            60649                                                 2,100.00                 NA             NA            0.00


            SECURITY OPERATIONS
            SPECIALISTS 5050 PRARIE
            AVENUE CHICAGO, IL
            60615                                                 3,660.00                 NA             NA            0.00


            SELECT STAFFING DEPT.
            4371 CAROL STREAM, IL
            60122                                                13,685.16                 NA             NA            0.00


            SHANETTA HOWARD 5255
            WEST JACKSON
            CHICAGO, IL 60644                                     2,366.04                 NA             NA            0.00


            SHARON D. SAMUELS
            8606 SOUTH ESSEX
            CHICAGO, IL 60617                                        10.00                 NA             NA            0.00




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            SHARON TOWNSEND 69
            EAST 89TH PLACE
            CHICAGO, IL 60619                                         5.60                 NA             NA            0.00


            SHARON TRULL-YUSSEFF
            4222 W. WILCOX
            CHICAGO, IL 60624                                     6,589.34                 NA             NA            0.00


            SHARRON ROGERS 5131
            SOUTH MARSHFIELD
            AVENUE CHICAGO, IL
            60609                                                     5.00                 NA             NA            0.00


            SHEDRICK SANDERS 7711
            S. EGGLESTON CHICAGO,
            IL 60620                                              1,175.00                 NA             NA            0.00


            SHEILA A. GIBSON 2369
            EAST 70TH PLACE
            CHICAGO, IL 60649                                        16.00                 NA             NA            0.00


            SHELIA LANGHAM 11312
            S. NORMAL CHICAGO, IL
            60628                                                 4,427.31                 NA             NA            0.00


            SHERISSE HOLMES 4119
            W. 16TH ST. CHICAGO, IL
            60623                                                 2,679.60                 NA             NA            0.00




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            SHERRY HARRINGTON
            11000 SOUTH GREEN
            STREET Chicago, IL 60643                                532.80                 NA             NA            0.00


            Sherwin-Sheridan LLC c/o
            Acorn Partners 1820 W.
            Grand Avenue Chicago, IL
            60622                                                   650.00                 NA             NA            0.00


            SHIRLEY GREENE 2222 W.
            100TH ST CHICAGO, IL
            60643                                                    12.60                 NA             NA            0.00


            SHIRLEY WILLIAMS 300
            EAST 87TH STREET
            CHICAGO, IL 60619                                       141.82                 NA             NA            0.00


            SHIRLEY WRIGHT 4800
            CHICAGO BEACH DRIVE
            APT 1307-S CHICAGO, IL
            60615                                                     5.00                 NA             NA            0.00


            Shoreline Group, LLC 8222 S.
            King Drive Chicago, IL 60619                            625.00                 NA             NA            0.00


            SIMPLEXGRINNELL LP
            DEPT. CH 10320
            PALATINE, IL 60055                                      663.77                 NA             NA            0.00




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            SKILLPATH SEMINARS
            P.O. BOX 804441 KANSAS
            CITY, MO 64180-4441                                   1,684.31                 NA             NA            0.00


            SLOSSON P.O. BOX 280
            EAST AURORA, NY 14052-
            0280                                                    154.28                 NA             NA            0.00


            SMART RESOURCES, INC.
            20 SOUTH CLARK STREET
            SUITE 1450 CHICAGO, IL
            60603                                                 8,918.93                 NA             NA            0.00


            SONDRA CORNWELL 2628
            NORTH HOYNE UNIT 742
            CHICAGO, IL 60618                                        40.00                 NA             NA            0.00


            SONJI HILL 1427 NORTH
            LUNA CHICAGO, IL 60651                                1,440.00                 NA             NA            0.00


            SOUTH CENTRAL
            COMMUNITY SERVICES,
            INC. 8543 SOUTH
            COTTAGE GROVE
            CHICAGO, IL 60628                                        85.00                 NA             NA            0.00


            SOUTH SUBURBAN
            JUVENILE OFFICERS'
            ASSOCI P. O. BOX 2374
            ORLAND PARK, IL 60462                                    15.00                 NA             NA            0.00




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            SOUTHERN ILLINOIS
            UNIVERSITY OFFICE OF
            THE BURSAR BOX 1042
            EDWARDSVILLE, IL 62026                                  125.00                 NA             NA            0.00


            SPRINT P O BOX 4181
            CAROL STREAM, IL 60197                                  174.07                 NA             NA            0.00


            STEPHEN B. STARR
            DESIGNS, INC. 2120
            MADISON PLACE
            EVANSTON, IL 60202                                    2,416.50                 NA             NA            0.00


            STEPHEN JAY SACHS
            14632 GREEN STREET
            HARVEY, IL 60426                                         16.00                 NA             NA            0.00


            SULLIVAN'S LAW
            DIRECTORY 1360 Abbott
            Court Buffalo Grove, IL
            60089-2378                                               14.75                 NA             NA            0.00


            SUNNY E. RITTENHOUSE
            5445 N. SHERIDAN ROAD
            APT 2303 CHICAGO, IL
            60640                                                    10.00                 NA             NA            0.00


            SUNRISE
            TRANSPORTATION 8500
            SOUTH VINCENNES
            CHICAGO, IL 60620                                     3,867.00                 NA             NA            0.00




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            SUSAN J STEEVE 73
            WESTWOOD DRIVE PARK
            FOREST, IL 60466                                         48.00                 NA             NA            0.00


            SYLVIA D. MOORE 914
            WEST WINONA CHICAGO,
            IL 60640                                                375.00                 NA             NA            0.00


            SYMANTEC SMB
            RENEWALS P.O. BOX
            202475 DALLAS, TX 75320-
            2475                                                  2,571.00                 NA             NA            0.00


            TAKEYLA ELLINGTON
            3421 WEST 12TH PLACE
            CHICAGO, IL 60623                                     7,694.33                 NA             NA            0.00


            TAMARA COLLINS 294
            BENSLEY AVENUE, #2
            Calumet City, IL 60409                                   28.28                 NA             NA            0.00


            TAMPICO PRESS 1919
            SOUTH BLUE ISLAND
            AVENUE CHICAGO, IL
            60608                                                   925.00                 NA             NA            0.00


            TAWANNA SMITH 11524
            SOUTH WENTWORTH
            AVENUE CHICAGO, IL
            60628                                                   836.00                 NA             NA            0.00




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            TAYNA AYENA 10836 S.
            NORMAL CHICAGO, IL
            60628                                                 4,449.03                 NA             NA            0.00


            TEACH STONE, INC. 105
            MONTICELLO AVENUE
            SUITE 101
            CHARLOTTESVILLE, VA
            22902                                                   175.00                 NA             NA            0.00


            TEACHER'S DISCOUNT
            P.O. BOX 1579 APPLETON,
            WI 54912-1579                                           426.99                 NA             NA            0.00


            THE CHICAGO
            COMMUNITY TRUST 360
            N. MICHIGAN AVE SUITE
            800 CHICAGO, IL 60601                                 1,300.00                 NA             NA            0.00


            THE CHRONICLE OF
            PHILANTHROPY P.O. BOX
            1989 MARION, OH 43305-
            1955                                                     72.00                 NA             NA            0.00


            THE DRAKE HOTEL 140
            EAST WALTON PLACE
            CHICAGO, IL 60611                                     2,734.60                 NA             NA            0.00




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            THE EXECUTIVE CLUB OF
            CHICAGO 8 SOUTH
            MICHAGAN AVENUE
            SUITE 2500 CHICAGO, IL
            60603-3399                                              410.00                 NA             NA            0.00


            THE MAILBOX P.O. BOX
            8345 RED OAK, IA 51591                                   99.85                 NA             NA            0.00


            THE MCGRAW HILL
            COMPANIES P.O. BOX
            2258 CAROL STREAM, IL
            60132-2258                                              909.42                 NA             NA            0.00


            THE REVERE GROUP, LTD
            2166 PAYSPHERE CIRCLE
            CHICAGO, IL 60674                                       825.25                 NA             NA            0.00


            THE SPIRIT IS FREE, INC.
            P.O. BOX 438853
            CHICAGO, IL 60643                                       375.00                 NA             NA            0.00


            THE WBEZ ALLIANCE,
            INC. NAVY PIER 848 E.
            GRAND AVE CHICAGO, IL
            60611                                                 3,700.00                 NA             NA            0.00


            THERESA GORECKI 12041
            SOUTH KILDARE
            OAKLAWN, IL 60803                                        24.00                 NA             NA            0.00




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            THOMAS J. GREEN 7333 S.
            GREEN ST CHICAGO, IL
            60621                                                    12.00                 NA             NA            0.00


            TILAYA HOLLINS                                           23.00                 NA             NA            0.00


            TIONIA PERKINS 6111
            SOUTH LAFLIN, Apt. 109
            CHICAGO, IL 60636                                       367.50                 NA             NA            0.00


            TONONA ROBINSON 6619
            S. OAKLEY CHICAGO, IL
            60636                                                     5.00                 NA             NA            0.00


            TRAVEL BROKERS INC
            1956 RIDGE ROAD
            HOMEWOOD, IL 60430                                      829.80                 NA             NA            0.00


            TRETHER MILLER 18600
            VILLAGE WEST DRIVE
            APT 305 HAZEL CREST, IL
            60429                                                    51.40                 NA             NA            0.00


            TURNING POINT
            COUNSELING 19
            HERITAGE DRIVE SUITE
            208 BOURBONNAIS, IL
            60914                                                   440.00                 NA             NA            0.00




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            TWIN RIVERS YMCA 100
            YMCA LANE NEWBERN,
            NC 28560                                                280.00                 NA             NA            0.00


            TYREE DAVIS 6930 S.
            SHORE DRIVE APT. 309
            CHICAGO, IL 60649                                         8.00                 NA             NA            0.00


            Uhlich Children's Advantage
            Network Attn: Thomas
            Vandenberk, CEO 3737 N.
            Mozart Street Chicago, IL
            60618                                                 2,920.07                 NA             NA            0.00


            UNION LEAGUE CLUB OF
            CHICAGO 65 W. JACKSON
            BLVD CHICAGO, IL 60604                                1,000.00                 NA             NA            0.00


            UNITED GRAPHICS &
            MAILING GRP. 2200 ESTES
            AVENUE ELK GROVE
            VILLAGE, IL 60007                                     5,032.00                 NA             NA            0.00


            UNITED PARCEL SERVICE
            LOCKBOX 577 CAROL
            STREAM, IL 60132-0577                                    26.29                 NA             NA            0.00




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            UNIVERSITY OF
            ARKANSAS AT PINE
            BLUFF MAIL SLOT 4933
            1200 N. UNIVERSITY
            DRIVE PINE BLUFF, AR
            71601                                                   100.00                 NA             NA            0.00


            UNIVERSITY OF ILLINOIS
            750 SOUTH HALSTED
            CHCAGO, IL 60607                                      3,232.52                 NA             NA            0.00


            URBAN GATEWAYS 205
            WEST RANDOLPH SUITE
            1700 CHICAGO, IL 60606-
            1814                                                  6,000.00                 NA             NA            0.00


            VALERIE KING 7345 S.
            LUELLA APT 1 CHICAGO,
            IL 60649                                                 10.00                 NA             NA            0.00


            VALERIE PODREBARAC
            7313 W. 57TH PLACE
            SUMMIT, IL 60501                                         11.80                 NA             NA            0.00


            VARSITY TUTORS P.O.
            BOX 9198 ST. LOUIS, MO
            63117                                                   500.00                 NA             NA            0.00


            VERA L. HARRISON 7250
            S. LANGLEY CHICAGO, IL
            60619                                                    30.00                 NA             NA            0.00




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            Village of Justice Attn:
            Krzysztof Wasowicz,
            President 8748 W. 82nd Place
            Justice, IL 60458                                        62.30                 NA             NA            0.00


            VIVABIZ, INC. 6254
            NORTH ROCKWELL UNIT
            3C CHICAGO, IL 60659                                  1,012.50                 NA             NA            0.00


            VIVIAN ARNOLD 9320 S
            NORMAL CHICAGO, IL
            60620                                                     4.00                 NA             NA            0.00


            VIVIAN MARETICK 344
            LONGWOOD DR.
            GLENWOOD, IL 60425                                       18.00                 NA             NA            0.00


            WALTER J. SOHAN 3450
            STATION DR. MATTESON,
            IL 60443                                                 30.40                 NA             NA            0.00


            WALTER SIMPSON 1948
            CAMPBELL CHICAGO
            HEIGHTS, IL 60411                                         5.00                 NA             NA            0.00


            WAREHOUSE DIRECT
            1601 WEST ALGONQUIN
            RD MOUNT PROSPECT, IL
            60056                                                10,152.64                 NA             NA            0.00




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            WASHTOWN EQUIPMENT,
            INC. 4036 W. MONTROSE
            CHICAGO, IL 60641                                        196.00                 NA             NA            0.00


            WE'RE CLEANING, INC.
            P.O. BOX 11056 SUITE 200
            CHICAGO, IL 60611                                    142,259.31                 NA             NA            0.00


            WILLIE SMITH P.O. BOX
            19479 CHICAGO, IL 60619                                    8.00                 NA             NA            0.00


            WIRING INC. 8128 N.
            LARAMIE SKOKIE, IL
            60077                                                  1,352.51                 NA             NA            0.00


            YELLOW PAGES
            COMPANY 1245 CANON
            STREET P. O. BOX 280
            GUFFEY, CO 80820-0280                                    817.00                 NA             NA            0.00


            ZELONIA JORDAN 5837 S.
            SANGAMON APT H
            CHICAGO, IL 60621                                          6.40                 NA             NA            0.00


            ZHOU B ART CENTER 1029
            W. 35TH ST. CHICAGO, IL
            60609                                                  5,500.00                 NA             NA            0.00


            1028 Van Buren Associates L.
37          P.                                    7100-000              NA       14,859,634.47     859,634.47            0.00




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70          Adt Security Services, Inc            7100-000             NA            3,676.58       3,676.58              0.00


71          Adt Security Services, Inc            7100-000             NA            6,407.75             0.00            0.00


            Alicia Kimball                        7100-000             NA            2,585.73       2,585.73              0.00


            Alphia Miller                         7100-000             NA            3,581.81       3,581.81              0.00


            Amanda Frankel                        7100-000             NA            1,796.56       1,796.56              0.00


            Amy Douglass                          7100-000             NA            8,137.15       8,137.15              0.00


            Andre Robinson                        7100-000             NA            9,017.37       9,017.37              0.00


            Andrea Johnson                        7100-000             NA            7,613.55       7,613.55              0.00


            Angela Smith                          7100-000             NA            7,316.41       7,316.41              0.00


            Angelica Antunez                      7100-000             NA            2,809.63       2,809.63              0.00


            Annie Scheffler                       7100-000             NA              957.01        957.01               0.00


            Anthony Warren                        7100-000             NA            1,755.43       1,755.43              0.00


            Apryl Young                           7100-000             NA            6,250.68       6,250.68              0.00


            Ashley Olds                           7100-000             NA              224.44        224.44               0.00


            Barbara Caruthers                     7100-000             NA            2,465.03       2,465.03              0.00


            Barbara Mapp-Hamb                     7100-000             NA            7,489.95       7,489.95              0.00


            Barry Reed                            7100-000             NA            4,672.12       4,672.12              0.00




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            Betty Howard                          7100-000             NA            2,339.56       2,339.56              0.00


            Beverly Jackson                       7100-000             NA            7,971.84       7,971.84              0.00


            Booker Washington                     7100-000             NA            7,548.67       7,548.67              0.00


            Brenda Alford                         7100-000             NA            4,685.00       4,685.00              0.00


            Brigitte Beal                         7100-000             NA            3,171.03       3,171.03              0.00


            Camelia Gonzalez                      7100-000             NA            1,245.22       1,245.22              0.00


54          Cathy Miller                          7100-000             NA            6,669.01        523.49               0.00


            Charlene Houston                      7100-000             NA            3,128.66       3,128.66              0.00


            Charlene Watson                       7100-000             NA            1,841.40       1,841.40              0.00


68          Child Care Assoc. Of Illinois         7100-000             NA          23,193.66       23,193.66              0.00


            Chyvonne Patty                        7100-000             NA            2,516.84       2,516.84              0.00


            Clark-Devon Hardware
34          Company, Inc                          7100-000             NA            2,065.13       2,065.13              0.00


33          Cliftonlarsonallen Llp                7100-000             NA          60,354.00       60,354.00              0.00


            Commonwealth Edison
3           Company                               7100-000             NA          32,593.92       32,593.92              0.00


            Constance Mitchell                    7100-000             NA            3,686.61       3,686.61              0.00


46          Cook County Public Guardian 7100-000                       NA       1,000,000.00              0.00            0.00




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                                                                  6F)           Claim)

            Cornelia Vacaru                       7100-000             NA            2,736.76       2,736.76            0.00


            Cortaiga Johnson                      7100-000             NA            5,418.13       5,418.13            0.00


            Council On Accreditation For
38          Children &                            7100-000             NA          23,336.00       23,336.00            0.00


66          Crystal L Silvestre                   7100-000             NA            7,846.00        462.00             0.00


25          Curtis Roeschley                      7100-000             NA              307.03        307.03             0.00


            Cynthia Gentry-Celestine              7100-000             NA            6,644.68       6,644.68            0.00


11          Danielle Butts                        7100-000             NA          23,571.00        2,545.43            0.00


            Danielle McReynolds                   7100-000             NA            1,847.97       1,847.97            0.00


35          Darlene Humphey                       7100-000             NA            7,161.96        209.00             0.00


            David Hamilton                        7100-000             NA              453.01        453.01             0.00


            Deadria Pittman-Howard                7100-000             NA            4,031.53       4,031.53            0.00


            DeAnne Mann                           7100-000             NA            4,033.15       4,033.15            0.00


            Debbie Rogers                         7100-000             NA            3,474.74       3,474.74            0.00


            Deborah Dunmars                       7100-000             NA            4,999.81       4,999.81            0.00


            Deborah Whitted                       7100-000             NA            7,086.16       7,086.16            0.00


            Delfina Mena                          7100-000             NA            1,899.81       1,899.81            0.00




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            Denise Pinkston                       7100-000             NA            2,954.42       2,954.42            0.00


5           Dept Of The Treasury                  7100-000             NA          29,500.00       29,500.00            0.00


            Diane Vargas                          7100-000             NA            1,541.90       1,541.90            0.00


            Dianne Turner                         7100-000             NA            7,168.88       7,168.88            0.00


            Donna Ballentine                      7100-000             NA            2,516.12       2,516.12            0.00


            Doris Bedford                         7100-000             NA            2,580.30       2,580.30            0.00


2           Dun & Bradstreet                      7100-000             NA              449.00         449.00            0.00


            E. Louis Pollard                      7100-000             NA            9,822.12       9,822.12            0.00


            Elaine Austin                         7100-000             NA            2,882.01       2,882.01            0.00


74          Elizabeth Griffin                     7100-000             NA            4,367.92       4,367.92            0.00


            Ericka Smith                          7100-000             NA            2,612.77       2,612.77            0.00


            Erin Roberton                         7100-000             NA            2,775.19       2,775.19            0.00


            Ethel Strong                          7100-000             NA            2,647.54       2,647.54            0.00


            Felicia Poindexter                    7100-000             NA            6,634.20       6,634.20            0.00


            First Nonprofit Insurance
48          Company                               7100-000             NA         244,241.20      244,241.20            0.00


            Gail Dixon                            7100-000             NA            2,719.90       2,719.90            0.00




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            Gail Gamble                           7100-000             NA            2,066.94        2,066.94            0.00


            Gaspar Soto                           7100-000             NA            2,246.87        2,246.87            0.00


            Geneva Portis                         7100-000             NA            3,752.46        3,752.46            0.00


            Genny Villegas                        7100-000             NA            3,099.10        3,099.10            0.00


            Gloria Thomas                         7100-000             NA            5,726.26        5,726.26            0.00


            Gloria Williams                       7100-000             NA            1,131.06        1,131.06            0.00


27          Gordon Johnson                        7100-000             NA          73,467.40      562,224.82             0.00


4           Greenwood On 87Th, Llc                7100-000             NA          74,712.22        74,712.22            0.00


            Gwen McCurdy                          7100-000             NA            4,248.58        4,248.58            0.00


45          Hayes Mechanical Llc                  7100-000             NA            2,940.12        2,940.12            0.00


            Illinois Bell Telephone
41          Company                               7100-000             NA          12,708.22        12,708.22            0.00


            Illinois Dept. Of Employment
81          Security                              7100-000             NA       1,117,727.79     1,117,727.79            0.00


            James Alexander                       7100-000             NA            3,298.19        3,298.19            0.00


            Jan Dunning                           7100-000             NA            1,960.66        1,960.66            0.00


            Janice Baska                          7100-000             NA            4,238.14        4,238.14            0.00


            Jeannette Hill                        7100-000             NA            4,946.04        4,946.04            0.00




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            Jennifer Baker                        7100-000             NA            2,004.11       2,004.11            0.00


            Jennifer McNeela                      7100-000             NA            2,803.13       2,803.13            0.00


            Jimmy Chan                            7100-000             NA          11,476.34       11,476.34            0.00


            Jinnie Ross                           7100-000             NA              993.36        993.36             0.00


            Joanne Jones                          7100-000             NA          12,454.41       12,454.41            0.00


            Johanna Torres                        7100-000             NA            2,960.28       2,960.28            0.00


32          Jose's Cleaning Inc.                  7100-000             NA          19,200.00       19,200.00            0.00


31          Joyce Anne Viglione                   7100-000             NA          13,454.58        1,729.58            0.00


            Joyce Arrington                       7100-000             NA            7,854.28       7,854.28            0.00


            Joyce Irons                           7100-000             NA            3,149.35       3,149.35            0.00


            Julia Beard                           7100-000             NA            5,745.29       5,745.29            0.00


            Julia Johnson                         7100-000             NA            4,454.54       4,454.54            0.00


            Julie Donelson                        7100-000             NA            7,719.59       7,719.59            0.00


            Justus Weathersby                     7100-000             NA            7,779.77       7,779.77            0.00


            Karshelle Watters                     7100-000             NA            2,612.77       2,612.77            0.00


            Karuna Menon                          7100-000             NA            1,377.64       1,377.64            0.00


6           Kathleen Barry                        7100-000             NA            3,568.00        159.32             0.00




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                                                                  6F)           Claim)

            Kathy Davis                           7100-000             NA            2,725.62       2,725.62            0.00


            Katrice Harris                        7100-000             NA            8,149.53       8,149.53            0.00


            Katrina Embrey                        7100-000             NA            1,683.84       1,683.84            0.00


            Kenneth Tidwell                       7100-000             NA            2,258.72       2,258.72            0.00


            Kenyatta Black-Ketchum                7100-000             NA            2,185.23       2,185.23            0.00


26          Kim Cobb                              7100-000             NA          14,047.76         912.21             0.00


            Kimberly Taylor-Robertson             7100-000             NA              270.21        270.21             0.00


            Kimberly Wilkins                      7100-000             NA            1,357.66       1,357.66            0.00


            Latasha Gamble                        7100-000             NA            1,846.42       1,846.42            0.00


            Latoya Cason                          7100-000             NA            7,619.03       7,619.03            0.00


            Lee Brumfield                         7100-000             NA              212.39        212.39             0.00


            Leslie Cline                          7100-000             NA          11,872.21       11,872.21            0.00


            Lillie Harris                         7100-000             NA            3,022.95       3,022.95            0.00


            Lillie Ward                           7100-000             NA            3,448.32       3,448.32            0.00


            Limarcus Saffold                      7100-000             NA            1,276.42       1,276.42            0.00


            Lisa Culley-Hubbard                   7100-000             NA            3,371.44       3,371.44            0.00


            Lisa DiLorenzo                        7100-000             NA            2,039.84       2,039.84            0.00




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            Lisa Heidorn                          7100-000             NA            6,975.71       6,975.71              0.00


            Lourdes Mora                          7100-000             NA            2,205.05       2,205.05              0.00


            Lovie Edmondson-Jackson               7100-000             NA            5,344.06       5,344.06              0.00


            Loyola Moore                          7100-000             NA            1,976.35       1,976.35              0.00


44          M. D. Scott D. Feldman                7100-000             NA            4,200.00       4,200.00              0.00


            Madelyn Lopez                         7100-000             NA            2,640.81       2,640.81              0.00


            Malinda Francis                       7100-000             NA          13,423.12       13,423.12              0.00


            Marcella McKinney                     7100-000             NA            2,065.59       2,065.59              0.00


21          Maria Cardenas                        7100-000             NA                0.00             0.00            0.00


12          Maria Mejia-Ramirez                   7100-000             NA            1,721.74        181.54               0.00


            Maria Rojas                           7100-000             NA            2,418.07       2,418.07              0.00


            Maribel Ramirez                       7100-000             NA            2,744.40       2,744.40              0.00


            Marlowe Alexander                     7100-000             NA            4,206.36       4,206.36              0.00


            Marquita Jackson-Seay                 7100-000             NA            3,845.27       3,845.27              0.00


            Marsha Ashley                         7100-000             NA          10,906.27       10,906.27              0.00


53          Martin P. Hughes                      7100-000             NA                0.00             0.00            0.00


            Martina Wilbourn                      7100-000             NA            4,311.57       4,311.57              0.00




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            Mary Moussa                           7100-000             NA              210.07        210.07               0.00


            May Roberison                         7100-000             NA            5,871.22       5,871.22              0.00


            Mazenia Jaimes                        7100-000             NA            3,575.59       3,575.59              0.00


            Melanie Barnes                        7100-000             NA            8,077.93       8,077.93              0.00


            Mercedes Hernandez                    7100-000             NA            4,957.94       4,957.94              0.00


24          Michael Godnick                       7100-000             NA          24,009.10       24,009.10              0.00


            Michele Thompson                      7100-000             NA            5,312.86       5,312.86              0.00


            Michelle Martin                       7100-000             NA            1,389.12       1,389.12              0.00


59          Milagros Ortiz                        7100-000             NA                0.00             0.00            0.00


            Molly Weener                          7100-000             NA              358.16        358.16               0.00


            Monica Zachar                         7100-000             NA            4,714.20       4,714.20              0.00


            Monique Jorman                        7100-000             NA            2,753.29       2,753.29              0.00


            Monique Smith                         7100-000             NA            1,512.38       1,512.38              0.00


28          Naomi Samuels                         7100-000             NA          12,341.40         616.40               0.00


            Nidia Pacheco                         7100-000             NA            3,575.59       3,575.90              0.00


52          Nolsw/Uaw Local 2320                  7100-000             NA                0.00             0.00            0.00


61          Open Kitchens, Inc                    7100-000             NA          63,064.52       63,064.52              0.00




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                                                                  6F)           Claim)

            Pamela Waltz                          7100-000             NA            3,284.85        3,284.85             0.00


            Pension Benefit Guaranty
47          Corporation                           7100-000             NA       4,536,484.00     4,536,484.00             0.00


            Peoples Gas Light And Coke
1           Co                                    7100-000             NA            3,425.36        3,425.36             0.00


69          Phyllis A. Offord                     7100-000             NA          13,827.00         2,055.49             0.00


            Privatebank And Trust
39          Company                               7100-000             NA       2,246,551.60     2,246,551.60             0.00


            Professional Theatre And
40          Dance Youth                           7100-000             NA          12,000.00        12,000.00             0.00


10          Quatro Fpo Solutions, Llc             7100-000             NA         498,983.00              0.00            0.00


            Quianka Johnson                       7100-000             NA            2,145.57        2,145.57             0.00


            Rafiqa Ibrahim                        7100-000             NA          12,188.84        12,188.84             0.00


            Ramona Shaeffer                       7100-000             NA            1,301.58        1,301.58             0.00


            Randi Thomas                          7100-000             NA              499.65          499.65             0.00


            Rasheeda Quadri                       7100-000             NA            3,044.09        3,044.09             0.00


            Regina Boyd                           7100-000             NA            6,475.03        6,475.03             0.00


            Riverside Graphics
9           Corporation                           7100-000             NA              227.00          227.00             0.00




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                                                   CODE
                                                                  6F)           Claim)

            Rodney Patterson                      7100-000             NA            7,561.00       7,561.00            0.00


            Rosalind Dority                       7100-000             NA            1,765.14       1,765.14            0.00


            Rosalinda Ayala                       7100-000             NA            2,431.70       2,431.70            0.00


            Rosemary Gayton                       7100-000             NA            3,504.80       3,504.80            0.00


            Roy McGary                            7100-000             NA            3,341.49       3,341.49            0.00


            Ryan Fey                              7100-000             NA            2,587.62       2,587.62            0.00


            Sandra Freeman                        7100-000             NA            3,072.54       3,072.54            0.00


            Sandra Salvatierra                    7100-000             NA            3,122.23       3,122.23            0.00


            Sarah Gonia                           7100-000             NA              175.06        175.06             0.00


43          Select Staffing                       7100-000             NA          17,867.59       17,867.59            0.00


            Shante Chatman                        7100-000             NA            3,397.74       3,397.74            0.00


            Shemeka Sanders                       7100-000             NA            3,686.61       3,686.61            0.00


            Shimika Douglas                       7100-000             NA            1,334.47       1,334.47            0.00


            Shirley Cooper                        7100-000             NA            3,905.95       3,905.95            0.00


            Shirley Tankersley                    7100-000             NA            1,210.62       1,210.62            0.00


            Shirley Williams                      7100-000             NA            2,559.21       2,559.21            0.00


            Shradha Tamrakar                      7100-000             NA            2,021.38       2,021.38            0.00




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                                                               CLAIMS          CLAIMS
                                                  UNIFORM
                                                             SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
                                                              (from Form    (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)           Claim)

36          Staples, Inc                          7100-000             NA            2,106.12       2,106.12            0.00


            Sue Moehn                             7100-000             NA            3,261.43       3,261.43            0.00


            Susan Pieters                         7100-000             NA            2,881.65       2,881.65            0.00


            Susan Thompson                        7100-000             NA            1,466.48       1,466.48            0.00


            Sylvia Brice                          7100-000             NA          12,838.15       12,838.15            0.00


            Syrena Thomas                         7100-000             NA            2,853.05       2,853.05            0.00


            Tahiti Hamer                          7100-000             NA            2,954.42       2,954.42            0.00


            Tamara Faulkner                       7100-000             NA            1,652.89       1,652.89            0.00


            Tamekia Holman                        7100-000             NA            2,273.46       2,273.46            0.00


            Tanga Morris                          7100-000             NA            2,535.94       2,535.94            0.00


            Tasha McDuffie                        7100-000             NA            3,574.00       3,574.00            0.00


            Tenetha Johnson                       7100-000             NA            5,709.76       5,709.76            0.00


            Teresa Barrett                        7100-000             NA            1,614.68       1,614.68            0.00


20          The Mcgraw-Hill Companies             7100-000             NA              909.42        909.42             0.00


            Thomas Ullmann                        7100-000             NA            3,132.74       3,132.74            0.00


            Tina Jackson                          7100-000             NA            6,747.31       6,747.31            0.00


49          Trans Union Llc                       7100-000             NA              113.00        113.00             0.00




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                                                               CLAIMS             CLAIMS
                                                  UNIFORM
                                                             SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                             CLAIMS PAID
                                                              (from Form       (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)              Claim)

19          Vanessa Lynn Lankford                 7100-000               NA             6,768.89            350.00            0.00


            Vanessa Stevens                       7100-000               NA             5,202.10          5,202.10            0.00


29          Verizon Wireless                      7100-000               NA               282.67            282.67            0.00


            Vilma Morocho                         7100-000               NA             1,334.41          1,334.41            0.00


            Vincent Perry                         7100-000               NA             1,379.28          1,379.28            0.00


15          Vivabiz, Inc.                         7100-000               NA             1,012.50          1,012.50            0.00


79          Vivabiz, Inc.                         7100-000               NA                 0.00              0.00            0.00


            Wanda Jackson                         7100-000               NA             7,613.53          7,613.53            0.00


30          We're Cleaning, Inc                   7100-000               NA          177,340.34         132,702.38            0.00


            Yeonta Russell                        7100-000               NA               291.46            291.46            0.00

TOTAL GENERAL UNSECURED                                       $ 6,001,704.33   $ 25,897,468.65     $ 10,734,964.79           $ 0.00
CLAIMS




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                                                                      INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                       ASSET CASES
                                                                                                                                                                                                         Exhibit 8
Case No:              12-04800                         CAD           Judge:        Carol A. Doyle                              Trustee Name:                      DEBORAH M. GUTFELD
Case Name:            Hull House Association                                                                                   Date Filed (f) or Converted (c):   02/10/2012 (f)
                                                                                                                               341(a) Meeting Date:               04/05/2012
For Period Ending:    01/19/2016                                                                                               Claims Bar Date:                   07/10/2012


                                   1                                              2                           3                             4                          5                             6

                         Asset Description                                      Petition/               Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                         Unscheduled           (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                Values               Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                         Exemptions,                                                                               Assets
                                                                                                       and Other Costs)

  1. Parkway Community House, 500 E. 67th Street, Chicago, IL                               0.00                        0.00               OA                                      0.00                        FA
     606
  2. 1030 W. Van Buren, Chicago, IL 60607                                                   0.00                        0.00                                                       0.00                        FA
  3. The PrivateBank Account No. 2111425 - Business Checking                          157,800.02                  157,800.02                                                       0.00                        FA
  4. The PrivateBank Account No. 2635925 - 5001 - Revolver &                                0.00                        0.00                                                       0.00                        FA
     Line
  5. The PrivateBank Account No. 2111433 - Business Checking                                0.00                        0.00                                                       0.00                        FA
  6. The PrivateBank Account No. 3284565-9001 - Revolving Line                              0.00                        0.00                                                       0.00                        FA
     of
  7. Bank of America Account No. 355 876 520 1453                                           0.00                        0.00                                                       0.00                        FA
  8. Security Deposit - Buildings (as of 10/31/11)                                     13,987.62                   13,987.62                                                       0.00                        FA
  9. Other Deposits (as of 10/31/11)                                                   27,814.40                   27,814.40                                                 8,664.03                          FA
 10. Various pictures of Jane Addams and contemporary                                       0.00                        0.00                                                       0.00                        FA
     lithographs
 11. Collection of Hull House artifacts believed to be in the pos                           0.00                        0.00                                                       0.00                        FA
 12. Umbrella Insurance Policy No. PHSD617156                                               0.00                        0.00                                                       0.00                        FA
 13. D&O Tail Policy No. PHSD617156                                                         0.00                        0.00                                                       0.00                        FA
 14. Fiduciary Tail Policy No. PHSD617158                                                   0.00                        0.00                                                       0.00                        FA
 15. 401(k) and 403(b) Plans - Mutual of America                                            0.00                        0.00                                                       0.00                        FA
 16. Accounts Receivable                                                              729,594.00                  729,594.00                                               236,916.94                          FA
 17. Possible D&O and/or professional liability claims against Qu                           0.00                        0.00                                               850,000.00                          FA
 18. Jane Addams Hull House Association name                                                0.00                        0.00                                                15,000.00                          FA
 19. 2003 Ford Econoline E250 pickup                                                    3,500.00                    3,500.00                                                       0.00                        FA
 20. Van (may be located at 4520 N. Beacon Street, Chicago, IL)                             0.00                        0.00               OA                                      0.00                        FA
 21. Van (may be located at 500 E. 67th Street, Chicago, IL)                                0.00                        0.00               OA                                      0.00                        FA
 22. Office equipment, furnishings, supplies and miscellaneous pe                     115,766.14                  115,766.14               OA                                      0.00                        FA



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                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                           Exhibit 8
Case No:              12-04800                         CAD            Judge:        Carol A. Doyle                               Trustee Name:                      DEBORAH M. GUTFELD
Case Name:            Hull House Association                                                                                     Date Filed (f) or Converted (c):   02/10/2012 (f)
                                                                                                                                 341(a) Meeting Date:               04/05/2012
For Period Ending:    01/19/2016                                                                                                 Claims Bar Date:                   07/10/2012


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/               Est Net Value                Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled           (Value Determined by                Abandoned                  Received by                Administered (FA)/
                                                                                 Values               Trustee, Less Liens,               OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                          Exemptions,                                                                                Assets
                                                                                                        and Other Costs)

 23. Machinery, fixtures, equipment, and supplies used in busines                       515,417.13                  515,417.13               OA                                      0.00                        FA
 24. Counterclaim in the principal amount of $300,000 against 171                       300,000.00                  300,000.00                                                       0.00                        FA
INT. Post-Petition Interest Deposits (u)                                                 Unknown                          N/A                                                        5.88                    Unknown


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $1,863,879.31              $1,863,879.31                                             $1,110,586.85                         $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  The IRS has levied a $8,000.00 penalty against the estate. Trustee's counsel has asked the IRS to reconsider and withdraw the penalty. Trustee is awaiting a response from
  the IRS.



  Initial Projected Date of Final Report (TFR): 12/31/2014            Current Projected Date of Final Report (TFR): 12/31/2015




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


       1                2                              3                                                4                                                    5                    6                    7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction               Uniform Tran.        Deposits ($)       Disbursements ($)   Account/CD Balance
                    Reference                                                                                                          Code                                                            ($)
   08/31/12                       Transfer from Acct # xxxxxx6769            Transfer of Funds                                      9999-000               $145,157.15                               $145,157.15

   09/05/12            16         IBM Employee Services Center               IBM Employee Charitable                                1129-000                       $1.00                             $145,158.15
                                  1701 North Street                          Contribution Campaign
                                  Endicott, NY 13760
   09/05/12            16         Healthtrust Purchasing Group, L.P.         Invoice No.                                            1129-000                      $12.04                             $145,170.19
                                  One Park Plaza                             HPR1223300000979
                                  Bldg. 1 East, First Floor
                                  Nashville, TN 37203
   09/05/12            16         County of Cook                             Payment of 1/6/12 and 2/7/12                           1129-000                $21,864.68                               $167,034.87
                                  Chicago, Illinois                          invoices
   09/05/12            16         Local Initiatives Support Corp.            Invoice Nos. 45024-0006 &                              1129-000                $45,555.45                               $212,590.32
                                  501 7th Avenue, 7th FL                     45024-0008
                                  New York, NY 10018
   09/19/12           1001        Ceridian Corporation                       Payment per September 13,                              3991-000                                       $1,673.86         $210,916.46
                                  3311 East Old Shakopee Road                2012 court order
                                  Minneapolis, MN 55425
   10/04/12            16         PepsiCo Foundation                         PepsiCo Employee Giving                                1129-000                      $57.75                             $210,974.21
                                  PepsiCo Employee Giving Campaign           Campaign
                                  P.O. Box 7635
                                  PRinceton, NJ 08543-7635
   10/04/12            16         The Chicago Community Trust                Unspecified contribution                               1129-000                  $3,370.00                              $214,344.21
                                  225 North Michigan Avenue
                                  Suite 2200
                                  Chicago, Illinois 60601
   10/04/12            16         Allstate - The Giving Campaign             The Giving Campaign                                    1129-000                     $579.80                             $214,924.01
                                  P.O. Box 7899
                                  Princeton, NJ 08543-7899
   10/04/12            16         IBM Employee Services Center               Unspecified contribution                               1129-000                       $1.00                             $214,925.01
                                  1701 North Street
                                  Endicott, NY 13760
   10/04/12            16         IBM Employee Services Center               Unspecified contribution                               1129-000                       $1.00                             $214,926.01
                                  1701 North Street
                                  Endicott, NY 13760
   10/15/12            16         Truist                                     Truist Comprehensive                                   1129-000                     $114.43                             $215,040.44
                                  P.O. Box 39990                             Distribution
                                  Washington, DC 20016-6990


                                                                                    Page Subtotals:                                                        $216,714.30             $1,673.86
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                                Trustee Name: DEBORAH M. GUTFELD                                         Exhibit 9
      Case Name: Hull House Association                                                                                       Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                              Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                             Separate Bond (if applicable):


       1                2                               3                                            4                                                       5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                          ($)
   10/16/12                       Associated Bank                           Bank Service Fee under 11                                 2600-000                                       $124.12         $214,916.32
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/05/12                       Associated Bank                           Bank Service Fee under 11                                 2600-000                                       $136.57         $214,779.75
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/26/12            16         IBM Employee Services Center              IBM Employee Charitable                                   1129-000                    $1.00                              $214,780.75
                                  1701 North Street                         Contribution Campaign
                                  Endicott, NY 13760
   11/26/12            16         IBM Employee Services Center              IBM Employee Charitable                                   1129-000                    $1.00                              $214,781.75
                                  1701 North Street                         Contribution Campaign
                                  Endicott, NY 13760
   11/26/12            16         Truist                                    Truist Comprehensive                                      1129-000                   $74.93                              $214,856.68
                                  P.O. Box 39990                            Distribution
                                  Washington, DC 20016-6990
   11/26/12            16         Truist                                    Truist Comprehensive                                      1129-000                   $91.93                              $214,948.61
                                  P.O. Box 39990                            Distribution
                                  Washington, DC 20016-6990
   11/26/12            16         International Business Machines           Number 190Q3650                                           1129-000                    $1.00                              $214,949.61
                                  1701 North Street
                                  Endicott, NY 13760
   11/29/12           1002        Arnstein & Lehr LLP                       Interim compensation &                                                                               $80,984.01          $133,965.60
                                  120 South Riverside Plaza                 reimbursement for expenses
                                  Suite 1200                                Per court order entered
                                  Chicago, Illinois 60606-3910              11/28/12
                                  Arnstein & Lehr LLP                       Interim compensation per                  ($70,000.00)    3210-000
                                                                            11/28/12 court order
                                  Arnstein & Lehr LLP                       Interim reimbursement of                  ($10,984.01)    3220-000
                                                                            expenses per 11/28/12 court
                                                                            order
   12/03/12             9         ComEd                                     Refund (Reason:                                           1129-000                $6,071.01                              $140,036.61
                                  Commonwealth Edison Company               Miscellaneous)
                                  P.O. Box 805379
                                  Chicago, IL 60680-5379
   12/03/12             9         ComEd                                     Refund (Reason:                                           1129-000                $2,071.06                              $142,107.67
                                  Commonwealth Edison Company               Miscellaneous)
                                  P.O. Box 805379
                                  Chicago, IL 60680-5379

                                                                                   Page Subtotals:                                                            $8,311.93          $81,244.70
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                            Trustee Name: DEBORAH M. GUTFELD                                            Exhibit 9
      Case Name: Hull House Association                                                                                    Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX6268
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX0135                                                                              Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   12/07/12                       Associated Bank                           Bank Service Fee under 11                             2600-000                                          $130.76         $141,976.91
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/02/13            16         Byron Union Oil Co.                       Dividend                                              1129-000                     $200.00                              $142,176.91
                                  P.O. Box 2135
                                  Idaho Falls, Idaho 83403
   01/08/13                       Associated Bank                           Bank Service Fee under 11                             2600-000                                           $89.95         $142,086.96
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/07/13                       Associated Bank                           Bank Service Fee under 11                             2600-000                                          $211.20         $141,875.76
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/07/13                       Associated Bank                           Bank Service Fee under 11                             2600-000                                          $190.52         $141,685.24
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/05/13                       Associated Bank                           Bank Service Fee under 11                             2600-000                                          $210.64         $141,474.60
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/25/13            16         North Side Community Federal Credit       Ch. 7 Trustee Attorney Request                        1129-000                  $4,037.96                               $145,512.56
                                  Union                                     Rec'd
                                  1011 W. Lawrence Avenue
                                  Chicago, Illinois 60640-5017
   05/07/13                       Associated Bank                           Bank Service Fee under 11                             2600-000                                          $204.50         $145,308.06
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/07/13                       Associated Bank                           Bank Service Fee under 11                             2600-000                                          $216.03         $145,092.03
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/28/13            16         Byron Union Oil Co.                       Dividend                                              1129-000                     $200.00                              $145,292.03
                                  P.O 2135
                                  Idaho Falls, Idaho 83403
   07/08/13                       Associated Bank                           Bank Service Fee under 11                             2600-000                                          $208.76         $145,083.27
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/07/13                       Associated Bank                           Bank Service Fee under 11                             2600-000                                          $215.71         $144,867.56
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)


                                                                                   Page Subtotals:                                                          $4,437.96            $1,678.07
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                                Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                       Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                              Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                             Separate Bond (if applicable):


       1                2                               3                                            4                                                       5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.      Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                           ($)
   09/09/13                       Associated Bank                           Bank Service Fee under 11                                 2600-000                                        $215.38         $144,652.18
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/07/13                       Associated Bank                           Bank Service Fee under 11                                 2600-000                                        $208.14         $144,444.04
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/07/13                       Associated Bank                           Bank Service Fee under 11                                 2600-000                                        $214.75         $144,229.29
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/05/13           1003        Arnstein & Lehr LLP                       Interim compensation &                                                                                $54,237.03           $89,992.26
                                  120 South Riverside Plaza                 reimbursement of all expenses
                                  Suite 1200                                per 12/04/13 court order
                                  Chicago, IL 60606-3910
                                  Arnstein & Lehr LLP                       Interim compensation per                  ($54,051.30)    3210-000
                                                                            12/04/13 court order
                                  Arnstein & Lehr LLP                       Interim reimbursement of                    ($185.73)     3220-000
                                                                            expenses per 12/04/13 court
                                                                            order
   12/06/13                       Associated Bank                           Bank Service Fee under 11                                 2600-000                                        $207.51          $89,784.75
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/10/13            17         Quatrro FPO Solutions                     Payment received per                                      1129-000             $325,000.00                                $414,784.75
                                  8401 102nd Street, Suite 500              December 2013 settlement
                                  Pleasant Prairie, WI 53158-5802           agreement
   12/10/13            17         Philadelphia Indemnity Insurance          Payment received per                                      1129-000             $525,000.00                                $939,784.75
                                  Company                                   December 2013 settlement
                                  Claims Account                            agreement
                                  One Bala Plaza
                                  Suite 100
                                  Bala Cynwyd, PA 19004
   12/12/13           1004        Nisen & Elliott, LLC                      Special counsel fees                                      3210-600                                   $170,000.00          $769,784.75
                                  200 W. Adams St., Suite 2500
                                  Chicago, IL 60606

   12/20/13            16         Byron Union Oil Co.                       Dividend                                                  1129-000                   $200.00                              $769,984.75
                                  P.O. Box 2135
                                  Idaho Falls, Idaho 83403



                                                                                   Page Subtotals:                                                         $850,200.00           $225,082.81
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                                 Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                        Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                              Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction                  Uniform Tran.      Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                             Code                                                           ($)
   01/08/14                       Associated Bank                           Bank Service Fee under 11                                  2600-000                                        $879.80         $769,104.95
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/14/14            18         The Northern Trust Company                Remitter: Ted Thelen                                       1129-000              $15,000.00                                $784,104.95
                                  LaSalle Office
                                  50 South LaSalle Street
                                  Chicago, IL 60675
   02/07/14                       Associated Bank                           Bank Service Fee under 11                                  2600-000                                     $1,155.64          $782,949.31
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/07/14                       Associated Bank                           Bank Service Fee under 11                                  2600-000                                     $1,051.42          $781,897.89
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/07/14                       Associated Bank                           Bank Service Fee under 11                                  2600-000                                     $1,162.44          $780,735.45
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   05/07/14                       Associated Bank                           Bank Service Fee under 11                                  2600-000                                     $1,123.31          $779,612.14
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/12/14            16         Byron Union Oil Co.                       Dividend                                                   1129-000                   $200.00                              $779,812.14
                                  P.O. Box 2135
                                  Idaho Falls, Idaho 83403
   10/06/14           1005        Arnstein & Lehr LLP                       Payment per 10.01.14 court                                                                             $98,800.26          $681,011.88
                                  120 South Riverside Plaza                 order
                                  Suite 1200
                                  Chicago, IL 60606-3910
                                   Arnstein & Lehr LLP                      Payment per 10.01.14 court                  ($2,800.19)    3220-000
                                                                            order
                                  Arnstein & Lehr LLP                       Payment per 10.01.14 court                 ($96,000.07)    3210-000
                                                                            order
   02/09/15           1006        DEBORAH M. GUTFELD                        Final distribution representing a                          2100-000                                    $56,567.61          $624,444.27
                                  131 S. DEARBORN STREET, SUITE             payment of 100.00 % per court
                                  1700                                      order.
                                  CHICAGO, IL 60603-5559
   02/09/15           1007        Ltd. Popowcer Katten                      Final distribution representing a                          3410-000                                     $9,044.50          $615,399.77
                                  35 E. Wacker Dr., Suite 1550              payment of 100.00 % per court
                                  Chicago, IL 60601                         order.


                                                                                   Page Subtotals:                                                           $15,200.00           $169,784.98
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           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   02/09/15           1008        Alicia Kimball                            Final distribution representing a                      5300-000                                      $1,894.54         $613,505.23
                                  2708 West Corland Street                  payment of 35.16 % per court
                                  Apt. #1                                   order.
                                  Chicago, IL 60647
   02/09/15           1009        Alphia Miller                             Final distribution representing a                      5300-000                                      $2,343.86         $611,161.37
                                  739 North Austin #1                       payment of 35.16 % per court
                                  Chicago, IL 60644                         order.
   02/09/15           1010        Amanda Frankel                            Final distribution representing a                      5300-000                                      $1,346.85         $609,814.52
                                  2451 W. Taylor St.                        payment of 35.16 % per court
                                  Apt. 3                                    order.
                                  Chicago, IL 60612
   02/09/15           1011        Amy Douglass                              Final distribution representing a                      5300-000                                      $2,570.27         $607,244.25
                                  2234 Willow Rd.                           payment of 35.16 % per court
                                  Homewood, IL 60430                        order.
   02/09/15           1012        Andre Robinson                            Final distribution representing a                      5300-000                                      $2,570.27         $604,673.98
                                  4829 S. Prairie Ave.                      payment of 35.16 % per court
                                  Unit 3                                    order.
                                  Chicago, IL 60615
   02/09/15           1013        Andrea Johnson                            Final distribution representing a                      5300-000                                      $2,570.27         $602,103.71
                                  14218 S. Dearborn                         payment of 35.16 % per court
                                  Riverdale, IL 60827                       order.
   02/09/15           1014        Angela Smith                              Final distribution representing a                      5300-000                                      $2,570.27         $599,533.44
                                  1712 North Lexington                      payment of 35.16 % per court
                                  Fort Smith, AR 72901                      order.
   02/09/15           1015        Angelica Antunez                          Final distribution representing a                      5300-000                                      $1,870.48         $597,662.96
                                  2504 N. Spaulding                         payment of 35.16 % per court
                                  Chicago, IL 60647                         order.
   02/09/15           1016        Annie Scheffler                           Final distribution representing a                      5300-000                                      $1,323.66         $596,339.30
                                  805 W. Oakdale Ave.                       payment of 35.16 % per court
                                  #1A                                       order.
                                  Chicago, IL 60657
   02/09/15           1017        Anthony Warren                            Final distribution representing a                      5300-000                                      $1,376.67         $594,962.63
                                  6642 S. Vernon                            payment of 35.16 % per court
                                  Chicago, IL 60637                         order.
   02/09/15           1018        Apryl Young                               Final distribution representing a                      5300-000                                      $2,570.27         $592,392.36
                                  P.O. Box 2192                             payment of 35.16 % per court
                                  Hammond, IN 46323                         order.



                                                                                   Page Subtotals:                                                               $0.00          $23,007.41
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           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   02/09/15           1019        Ashley Olds                               Final distribution representing a                      5300-000                                      $1,403.62          $590,988.74
                                  2101 W. Roosevelt Road                    payment of 35.16 % per court
                                  #2C                                       order.
                                  Broadview, IL 60155
   02/09/15           1020        Barbara Caruthers                         Final distribution representing a                      5300-000                                      $2,019.68          $588,969.06
                                  44 John Elliott Square                    payment of 35.16 % per court
                                  Apartment 517                             order.
                                  Boston, MA 02119
   02/09/15           1021        Barbara Mapp-Hamb                         Final distribution representing a                      5300-000                                      $2,570.27          $586,398.79
                                  9760 S. Ingleside Ave.                    payment of 35.16 % per court
                                  Chicago, IL 60628                         order.
   02/09/15           1022        Barry Reed                                Final distribution representing a                      5300-000                                      $2,281.03          $584,117.76
                                  9821 S. Aberdeen                          payment of 35.16 % per court
                                  Chicago, IL 60643                         order.
   02/09/15           1023        Betty Howard                              Final distribution representing a                      5300-000                                      $1,738.56          $582,379.20
                                  2207 W. Morse Ave.                        payment of 35.16 % per court
                                  #2W                                       order.
                                  Chicago, IL 60645
   02/09/15           1024        Beverly Jackson                           Final distribution representing a                      5300-000                                      $2,570.27          $579,808.93
                                  16111 S. Ellis                            payment of 35.16 % per court
                                  South Holland, IL 60473                   order.
   02/09/15           1025        Booker Washington                         Final distribution representing a                      5300-000                                      $2,570.27          $577,238.66
                                  4832 West Hirsch                          payment of 35.16 % per court
                                  Chicago, IL 60651                         order.
   02/09/15           1026        Brenda Alford                             Final distribution representing a                      5300-000                                      $2,570.27          $574,668.39
                                  4501 S. Leclaire                          payment of 35.16 % per court
                                  Chicago, IL 60638                         order.
   02/09/15           1027        Brigitte Beal                             Final distribution representing a                      5300-000                                      $2,373.56          $572,294.83
                                  8512 S. Manistee Ave.                     payment of 35.16 % per court
                                  Chicago, IL 60617                         order.
   02/09/15           1028        Camelia Gonzalez                          Final distribution representing a                      5300-000                                         $969.80         $571,325.03
                                  4152 W. Wellington                        payment of 35.16 % per court
                                  Apt. 2                                    order.
                                  Chicago, IL 60641
   02/09/15           1029        Charlene Houston                          Final distribution representing a                      5300-000                                      $2,457.71          $568,867.32
                                  7617 Peoria                               payment of 35.16 % per court
                                  Chicago, IL 60620                         order.



                                                                                   Page Subtotals:                                                               $0.00          $23,525.04
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           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   02/09/15           1030        Charlene Watson                           Final distribution representing a                      5300-000                                      $1,358.69          $567,508.63
                                  8147 S. Evans                             payment of 35.16 % per court
                                  Chicago, IL 60619                         order.
   02/09/15           1031        Chyvonne Patty                            Final distribution representing a                      5300-000                                      $1,841.14          $565,667.49
                                  2131 N. Mason                             payment of 35.16 % per court
                                  Chicago, IL 60639                         order.
   02/09/15           1032        Constance Mitchell                        Final distribution representing a                      5300-000                                      $2,569.67          $563,097.82
                                  13153 S. Brandon                          payment of 35.16 % per court
                                  Chicago, IL 60633                         order.
   02/09/15           1033        Cornelia Vacaru                           Final distribution representing a                      5300-000                                      $2,248.92          $560,848.90
                                  7913 N. Oconto Avenue                     payment of 35.16 % per court
                                  Niles, IL 60714                           order.
   02/09/15           1034        Cortaiga Johnson                          Final distribution representing a                      5300-000                                      $4,122.33          $556,726.57
                                  2009 Norcross Circle, Apt. A              payment of 35.16 % per court
                                  Indianapolis, IN 46260                    order.
   02/09/15           1035        Cynthia Gentry-Celestine                  Final distribution representing a                      5300-000                                      $2,570.27          $554,156.30
                                  1341 North Mason Ave.                     payment of 35.16 % per court
                                  Chicago, IL 60651                         order.
   02/09/15           1036        Danielle McReynolds                       Final distribution representing a                      5300-000                                      $1,388.14          $552,768.16
                                  1302 West 14th Street                     payment of 35.16 % per court
                                  Chicago, IL 60608                         order.
   02/09/15           1037        David Hamilton                            Final distribution representing a                      5300-000                                         $700.43         $552,067.73
                                  8629 S. Kingston                          payment of 35.16 % per court
                                  Chicago, IL 60617                         order.
   02/09/15           1038        Deadria Pittman-Howard                    Final distribution representing a                      5300-000                                      $2,570.27          $549,497.46
                                  4137 W. Grenshaw                          payment of 35.16 % per court
                                  2nd Floor                                 order.
                                  Chicago, IL 60624
   02/09/15           1039        DeAnne Mann                               Final distribution representing a                      5300-000                                      $2,570.27          $546,927.19
                                  9619 Racine Ave.                          payment of 35.16 % per court
                                  Chicago, IL 60643                         order.
   02/09/15           1040        Debbie Rogers                             Final distribution representing a                      5300-000                                      $2,214.27          $544,712.92
                                  91 Ash Street                             payment of 35.16 % per court
                                  Park Forest, IL 60466                     order.
   02/09/15           1041        Deborah Dunmars                           Final distribution representing a                      5300-000                                      $2,570.27          $542,142.65
                                  6509 S. Maryland Ave.                     payment of 35.16 % per court
                                  2nd Floor                                 order.
                                  Chicago, IL 60637

                                                                                   Page Subtotals:                                                               $0.00          $26,724.67
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           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


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                    Reference                                                                                                         Code                                                           ($)
   02/09/15           1042        Deborah Whitted                           Final distribution representing a                      5300-000                                      $2,570.27         $539,572.38
                                  10 158th Place                            payment of 35.16 % per court
                                  Apt. #1N                                  order.
                                  Calumet City, IL 60409
   02/09/15           1043        Delfina Mena                              Final distribution representing a                      5300-000                                      $1,556.86         $538,015.52
                                  5010 N. Albany                            payment of 35.16 % per court
                                  Chicago, IL 60625                         order.
   02/09/15           1044        Denise Pinkston                           Final distribution representing a                      5300-000                                      $1,944.03         $536,071.49
                                  1846 S. Central Park                      payment of 35.16 % per court
                                  Apt. #2                                   order.
                                  Chicago, IL 60623
   02/09/15           1045        Diane Vargas                              Final distribution representing a                      5300-000                                      $1,263.61         $534,807.88
                                  4875 N. Magnolia                          payment of 35.16 % per court
                                  Apt. #112                                 order.
                                  Chicago, IL 60640
   02/09/15           1046        Dianne Turner                             Final distribution representing a                      5300-000                                      $2,570.27         $532,237.61
                                  534 Harrison Ave.                         payment of 35.16 % per court
                                  1st Floor                                 order.
                                  Calumet City, IL 60409
   02/09/15           1047        Donna Ballentine                          Final distribution representing a                      5300-000                                      $1,461.50         $530,776.11
                                  4206 W. Roosevelt                         payment of 35.16 % per court
                                  Apt. 3C                                   order.
                                  Chicago, IL 60624
   02/09/15           1048        Doris Bedford                             Final distribution representing a                      5300-000                                      $2,114.83         $528,661.28
                                  10242 South Emerald                       payment of 35.16 % per court
                                  Chicago, IL 60628                         order.
   02/09/15           1049        E. Louis Pollard                          Final distribution representing a                      5300-000                                      $2,570.28         $526,091.00
                                  310 Manistee Ave.                         payment of 35.16 % per court
                                  Calumet City, IL 60409                    order.
   02/09/15           1050        Elaine Austin                             Final distribution representing a                      5300-000                                      $2,223.49         $523,867.51
                                  726 E. 42nd Street                        payment of 35.16 % per court
                                  Basement                                  order.
                                  Chicago, IL 60653
   02/09/15           1051        Ericka Smith                              Final distribution representing a                      5300-000                                      $1,832.31         $522,035.20
                                  5644 Crestwood Rd.                        payment of 35.16 % per court
                                  Matteson, IL 60443                        order.




                                                                                   Page Subtotals:                                                               $0.00          $20,107.45
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           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


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                    Reference                                                                                                         Code                                                           ($)
   02/09/15           1052        Erin Roberton                             Final distribution representing a                      5300-000                                      $1,286.69         $520,748.51
                                  2514 W. 111th St.                         payment of 35.16 % per court
                                  Chicago, IL 60655                         order.
   02/09/15           1053        Ethel Strong                              Final distribution representing a                      5300-000                                      $2,182.22         $518,566.29
                                  8802 S. Parnell Ave.                      payment of 35.16 % per court
                                  Apt. #1                                   order.
                                  Chicago, IL 60620
   02/09/15           1054        Felicia Poindexter                        Final distribution representing a                      5300-000                                      $2,570.28         $515,996.01
                                  1012 W. 174th                             payment of 35.16 % per court
                                  East Hazel Crest, IL 60429                order.
   02/09/15           1055        Gail Dixon                                Final distribution representing a                      5300-000                                      $1,907.44         $514,088.57
                                  Gail Dixon                                payment of 35.16 % per court
                                  8228 S. Houston Ave.                      order.
                                  Chicago, IL 60617
   02/09/15           1056        Gail Gamble                               Final distribution representing a                      5300-000                                      $1,538.70         $512,549.87
                                  352 W. 117th St.                          payment of 35.16 % per court
                                  Chicago, IL 60628                         order.
   02/09/15           1057        Gaspar Soto                               Final distribution representing a                      5300-000                                      $1,841.68         $510,708.19
                                  3654 S. Hermitage                         payment of 35.16 % per court
                                  Chicago, IL 60609                         order.
   02/09/15           1058        Geneva Portis                             Final distribution representing a                      5300-000                                      $2,570.28         $508,137.91
                                  8147 S. Evans                             payment of 35.16 % per court
                                  Basement                                  order.
                                  Chicago, IL 60619
   02/09/15           1059        Genny Villegas                            Final distribution representing a                      5300-000                                      $2,515.93         $505,621.98
                                  4768 N. Keystone                          payment of 35.16 % per court
                                  Chicago, IL 60630                         order.
   02/09/15           1060        Gloria Thomas                             Final distribution representing a                      5300-000                                      $2,570.28         $503,051.70
                                  8828 S. Justine                           payment of 35.16 % per court
                                  Chicago, IL 60620                         order.
   02/09/15           1061        Gloria Williams                           Final distribution representing a                      5300-000                                      $2,038.11         $501,013.59
                                  7757 South Winchester                     payment of 35.16 % per court
                                  Chicago, IL 60620                         order.
   02/09/15           1062        Gwen McCurdy                              Final distribution representing a                      5300-000                                      $2,570.28         $498,443.31
                                  10338 S. Prairie                          payment of 35.16 % per court
                                  Chicago, IL 60628                         order.




                                                                                   Page Subtotals:                                                               $0.00          $23,591.89
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


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                    Reference                                                                                                         Code                                                           ($)
   02/09/15           1063        James Alexander                           Final distribution representing a                      5300-000                                      $2,412.72         $496,030.59
                                  9542 S. Clyde                             payment of 35.16 % per court
                                  Chicago, IL 60617                         order.
   02/09/15           1064        Jan Dunning                               Final distribution representing a                      5300-000                                      $1,571.25         $494,459.34
                                  7115 W. North Ave.                        payment of 35.16 % per court
                                  #328                                      order.
                                  Oak Park, IL 60302
   02/09/15           1065        Janice Baska                              Final distribution representing a                      5300-000                                      $2,570.28         $491,889.06
                                  401 East 32nd St.                         payment of 35.16 % per court
                                  Apt. #602                                 order.
                                  Chicago, IL 60616
   02/09/15           1066        Jeannette Hill                            Final distribution representing a                      5300-000                                      $2,570.28         $489,318.78
                                  2971 S. Federal                           payment of 35.16 % per court
                                  Chicago, IL 60616                         order.
   02/09/15           1067        Jennifer Baker                            Final distribution representing a                      5300-000                                      $1,938.96         $487,379.82
                                  5479 S. Hyde Park Blvd.                   payment of 35.16 % per court
                                  Apt. #1                                   order.
                                  Chicago, IL 60615
   02/09/15           1068        Jennifer McNeela                          Final distribution representing a                      5300-000                                      $2,317.04         $485,062.78
                                  1801 Washington Street                    payment of 35.16 % per court
                                  Evanston, IL 60202                        order.
   02/09/15           1069        Jimmy Chan                                Final distribution representing a                      5300-000                                      $2,570.28         $482,492.50
                                  2823 S. Quinn Street                      payment of 35.16 % per court
                                  Chicago, IL 60608                         order.
   02/09/15           1070        Jinnie Ross                               Final distribution representing a                      5300-000                                      $1,163.42         $481,329.08
                                  1932 Hickory Rd.                          payment of 35.16 % per court
                                  Homewood, IL 60430                        order.
   02/09/15           1071        Joanne Jones                              Final distribution representing a                      5300-000                                      $2,570.28         $478,758.80
                                  16646 Maryland Ave.                       payment of 35.16 % per court
                                  South Holland, IL 60473                   order.
   02/09/15           1072        Johanna Torres                            Final distribution representing a                      5300-000                                      $2,345.72         $476,413.08
                                  11609 NW 26th Ct.                         payment of 35.16 % per court
                                  Coral Springs, FL 33065                   order.
   02/09/15           1073        Joyce Arrington                           Final distribution representing a                      5300-000                                      $2,570.28         $473,842.80
                                  1218 S. Central Park                      payment of 35.16 % per court
                                  Chicago, IL 60623                         order.




                                                                                   Page Subtotals:                                                               $0.00          $24,600.51
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           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
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                    Reference                                                                                                         Code                                                           ($)
   02/09/15           1074        Joyce Irons                               Final distribution representing a                      5300-000                                      $2,323.88         $471,518.92
                                  1137 W. Vermont Ave.                      payment of 35.16 % per court
                                  Calumet Park, IL 60643                    order.
   02/09/15           1075        Julia Beard                               Final distribution representing a                      5300-000                                      $2,570.28         $468,948.64
                                  780 Bethel Ave.                           payment of 35.16 % per court
                                  Bolingbrook, IL 60490                     order.
   02/09/15           1076        Julia Johnson                             Final distribution representing a                      5300-000                                      $2,533.43         $466,415.21
                                  14721 Dearborn                            payment of 35.16 % per court
                                  Dolton, IL 60419                          order.
   02/09/15           1077        Julie Donelson                            Final distribution representing a                      5300-000                                      $2,570.28         $463,844.93
                                  2115 W. 50th Place                        payment of 35.16 % per court
                                  Chicago, IL 60609                         order.
   02/09/15           1078        Justus Weathersby                         Final distribution representing a                      5300-000                                      $2,570.28         $461,274.65
                                  6446 S. Richmond                          payment of 35.16 % per court
                                  1st Floor                                 order.
                                  Chicago, IL 60629
   02/09/15           1079        Karshelle Watters                         Final distribution representing a                      5300-000                                      $2,386.01         $458,888.64
                                  4752 N. Magnolia                          payment of 35.16 % per court
                                  Apt. E                                    order.
                                  Chicago, IL 60640
   02/09/15           1080        Karuna Menon                              Final distribution representing a                      5300-000                                      $1,089.88         $457,798.76
                                  5600 North Sheridan Rd.                   payment of 35.16 % per court
                                  #18A                                      order.
                                  Chicago, IL 60660
   02/09/15           1081        Kathy Davis                               Final distribution representing a                      5300-000                                      $2,277.69         $455,521.07
                                  1801 S. Wabash                            payment of 35.16 % per court
                                  Apt. 224                                  order.
                                  Chicago, IL 60616
   02/09/15           1082        Katrice Harris                            Final distribution representing a                      5300-000                                      $2,570.28         $452,950.79
                                  819 N. Springfield                        payment of 35.16 % per court
                                  2nd Floor                                 order.
                                  Chicago, IL 60651
   02/09/15           1083        Katrina Embrey                            Final distribution representing a                      5300-000                                      $1,266.54         $451,684.25
                                  1309 W. Washburne                         payment of 35.16 % per court
                                  Chicago, IL 60608                         order.
   02/09/15           1084        Kenneth Tidwell                           Final distribution representing a                      5300-000                                      $1,861.53         $449,822.72
                                  8802 South Carpenter                      payment of 35.16 % per court
                                  Chicago, IL 60620                         order.


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      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
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                    Reference                                                                                                         Code                                                           ($)
   02/09/15           1085        Kenyatta Black-Ketchum                    Final distribution representing a                      5300-000                                      $1,869.56         $447,953.16
                                  9724 S. Maplewood Ave.                    payment of 35.16 % per court
                                  Evergreen Park, IL 60805                  order.
   02/09/15           1086        Kimberly Taylor-Robertson                 Final distribution representing a                      5300-000                                      $1,103.57         $446,849.59
                                  3015 191st Place                          payment of 35.16 % per court
                                  Lansing, IL 60438                         order.
   02/09/15           1087        Kimberly Wilkins                          Final distribution representing a                      5300-000                                      $1,126.38         $445,723.21
                                  4510 S. Lavergne                          payment of 35.16 % per court
                                  Chicago, IL 60638                         order.
   02/09/15           1088        Latasha Gamble                            Final distribution representing a                      5300-000                                      $1,338.93         $444,384.28
                                  3056 W. Jackson                           payment of 35.16 % per court
                                  Chicago, IL 60612                         order.
   02/09/15           1089        Latoya Cason                              Final distribution representing a                      5300-000                                      $2,570.28         $441,814.00
                                  8622 High Cotton Cove                     payment of 35.16 % per court
                                  Memphis, TN 38018                         order.
   02/09/15           1090        Lee Brumfield                             Final distribution representing a                      5300-000                                      $1,264.92         $440,549.08
                                  3518 W. Franklin Blvd.                    payment of 35.16 % per court
                                  2nd Floor                                 order.
                                  Chicago, IL 60624
   02/09/15           1091        Leslie Cline                              Final distribution representing a                      5300-000                                      $2,570.28         $437,978.80
                                  3122 5th Street                           payment of 35.16 % per court
                                  Boulder, CO 80304                         order.
   02/09/15           1092        Lillie Harris                             Final distribution representing a                      5300-000                                      $2,264.53         $435,714.27
                                  8207 South Clyde                          payment of 35.16 % per court
                                  Apt. #1                                   order.
                                  Chicago, IL 60617
   02/09/15           1093        Lillie Ward                               Final distribution representing a                      5300-000                                      $2,570.28         $433,143.99
                                  828 School Ave.                           payment of 35.16 % per court
                                  Matteson, IL 60443                        order.
   02/09/15           1094        Limarcus Saffold                          Final distribution representing a                      5300-000                                      $1,923.36         $431,220.63
                                  1126 W. 112th Street                      payment of 35.16 % per court
                                  Chicago, IL 60643                         order.
   02/09/15           1095        Lisa Culley-Hubbard                       Final distribution representing a                      5300-000                                      $2,393.32         $428,827.31
                                  7351 S. Fairfield                         payment of 35.16 % per court
                                  Chicago, IL 60629                         order.
   02/09/15           1096        Lisa DiLorenzo                            Final distribution representing a                      5300-000                                      $1,799.08         $427,028.23
                                  3043 Mary Kay Lane                        payment of 35.16 % per court
                                  Glenview, IL 60026                        order.

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                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
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                    Reference                                                                                                         Code                                                           ($)
   02/09/15           1097        Lisa Heidorn                              Final distribution representing a                      5300-000                                      $2,570.28         $424,457.95
                                  1119 Maple Ave.                           payment of 35.16 % per court
                                  Apt. #1E                                  order.
                                  Evanston, IL 60202
   02/09/15           1098        Lourdes Mora                              Final distribution representing a                      5300-000                                      $1,807.08         $422,650.87
                                  2224 W. Rosemont                          payment of 35.16 % per court
                                  Basement G                                order.
                                  Chicago, IL 60659
   02/09/15           1099        Lovie Edmondson-Jackson                   Final distribution representing a                      5300-000                                      $2,570.28         $420,080.59
                                  2125 W. 54th Place                        payment of 35.16 % per court
                                  Chicago, IL 60609                         order.
   02/09/15           1100        Loyola Moore                              Final distribution representing a                      5300-000                                      $2,098.38         $417,982.21
                                  8316 South Elizabeth                      payment of 35.16 % per court
                                  Apt. #1                                   order.
                                  Chicago, IL 60620
   02/09/15           1101        Madelyn Lopez                             Final distribution representing a                      5300-000                                      $1,898.60         $416,083.61
                                  1911 N. Sedgwick                          payment of 35.16 % per court
                                  Chicago, IL 60614                         order.
   02/09/15           1102        Malinda Francis                           Final distribution representing a                      5300-000                                      $2,570.28         $413,513.33
                                  14346 University Ave.                     payment of 35.16 % per court
                                  Dolton, IL 60419                          order.
   02/09/15           1103        Marcella McKinney                         Final distribution representing a                      5300-000                                      $1,444.07         $412,069.26
                                  11537 S. Parnell                          payment of 35.16 % per court
                                  Chicago, IL 60628                         order.
   02/09/15           1104        Maria Rojas                               Final distribution representing a                      5300-000                                      $1,981.21         $410,088.05
                                  3651 W. 69th Street                       payment of 35.16 % per court
                                  Chicago, IL 60629                         order.
   02/09/15           1105        Maribel Ramirez                           Final distribution representing a                      5300-000                                      $2,201.15         $407,886.90
                                  4948 S. Keating Ave.                      payment of 35.16 % per court
                                  Chicago, IL 60632                         order.
   02/09/15           1106        Marlowe Alexander                         Final distribution representing a                      5300-000                                      $2,570.28         $405,316.62
                                  300 N. Des Plaines Ave.                   payment of 35.16 % per court
                                  Apt. 104                                  order.
                                  Forest Park, IL 60130
   02/09/15           1107        Marquita Jackson-Seay                     Final distribution representing a                      5300-000                                      $2,570.28         $402,746.34
                                  7948 S. Bennett                           payment of 35.16 % per court
                                  Chicago, IL 60617                         order.



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                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
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                    Reference                                                                                                         Code                                                            ($)
   02/09/15           1108        Marsha Ashley                             Final distribution representing a                      5300-000                                      $2,570.28          $400,176.06
                                  4235 N. Mozart #1n                        payment of 35.16 % per court
                                  Chicago, IL 60618                         order.
   02/09/15           1109        Martina Wilbourn                          Final distribution representing a                      5300-000                                      $2,570.28          $397,605.78
                                  1442 S. Harding                           payment of 35.16 % per court
                                  2nd Floor                                 order.
                                  Chicago, IL 60623
   02/09/15           1110        Mary Moussa                               Final distribution representing a                      5300-000                                         $823.15         $396,782.63
                                  4385 Cherry Court                         payment of 35.16 % per court
                                  Hoffman Estates, IL 60192                 order.
   02/09/15           1111        May Roberison                             Final distribution representing a                      5300-000                                      $2,570.28          $394,212.35
                                  2284 182nd Place                          payment of 35.16 % per court
                                  Apt. #1B                                  order.
                                  Lansing, IL 60438
   02/09/15           1112        Mazenia Jaimes                            Final distribution representing a                      5300-000                                      $2,570.28          $391,642.07
                                  5515 N. Oketo                             payment of 35.16 % per court
                                  Apt. C                                    order.
                                  Chicago, IL 60656
   02/09/15           1113        Melanie Barnes                            Final distribution representing a                      5300-000                                      $2,570.28          $389,071.79
                                  425 E. 41st                               payment of 35.16 % per court
                                  2nd Floor                                 order.
                                  Chicago, IL 60653
   02/09/15           1114        Mercedes Hernandez                        Final distribution representing a                      5300-000                                      $2,570.28          $386,501.51
                                  140 W. Wood                               payment of 35.16 % per court
                                  Apt. #321                                 order.
                                  Palatine, IL 60067
   02/09/15           1115        Michele Thompson                          Final distribution representing a                      5300-000                                      $2,570.28          $383,931.23
                                  7751 South Hoyne                          payment of 35.16 % per court
                                  Chicago, IL 60620                         order.
   02/09/15           1116        Michelle Martin                           Final distribution representing a                      5300-000                                      $1,626.94          $382,304.29
                                  515 Hoxie Avenue                          payment of 35.16 % per court
                                  Calumet City, IL 60409                    order.
   02/09/15           1117        Molly Weener                              Final distribution representing a                      5300-000                                      $1,266.49          $381,037.80
                                  1057 West Thorndale                       payment of 35.16 % per court
                                  Apt. G                                    order.
                                  Chicago, IL 60660




                                                                                   Page Subtotals:                                                               $0.00          $21,708.54
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      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


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                    Reference                                                                                                         Code                                                            ($)
   02/09/15           1118        Monica Zachar                             Final distribution representing a                      5300-000                                      $2,570.28          $378,467.52
                                  3124 N. California                        payment of 35.16 % per court
                                  Chicago, IL 60618                         order.
   02/09/15           1119        Monique Jorman                            Final distribution representing a                      5300-000                                      $1,861.49          $376,606.03
                                  16920 Old Elm Dr.                         payment of 35.16 % per court
                                  Country Club Hills, IL 60478              order.
   02/09/15           1120        Monique Smith                             Final distribution representing a                      5300-000                                         $976.80         $375,629.23
                                  8523 S. Marshfield                        payment of 35.16 % per court
                                  Chicago, IL 60620                         order.
   02/09/15           1121        Nidia Pacheco                             Final distribution representing a                      5300-000                                      $2,570.28          $373,058.95
                                  3842 N. Lockwood                          payment of 35.16 % per court
                                  Apt. #2                                   order.
                                  Chicago, IL 60641
   02/09/15           1122        Olivia Terry                              Final distribution representing a                      5300-000                                      $2,081.86          $370,977.09
                                  2610 W. Montrose Ave.                     payment of 35.16 % per court
                                  Apt. #1S                                  order.
                                  Chicago, IL 60618
   02/09/15           1123        Pamela Waltz                              Final distribution representing a                      5300-000                                      $2,423.78          $368,553.31
                                  2639 W. Morse                             payment of 35.16 % per court
                                  Chicago, IL 60645                         order.
   02/09/15           1124        Quianka Johnson                           Final distribution representing a                      5300-000                                      $1,504.66          $367,048.65
                                  1512 E. 62nd Street                       payment of 35.16 % per court
                                  Chicago, IL 60637                         order.
   02/09/15           1125        Rafiqa Ibrahim                            Final distribution representing a                      5300-000                                      $2,570.28          $364,478.37
                                  6320 North Talman                         payment of 35.16 % per court
                                  Apt. #1                                   order.
                                  Chicago, IL 60659
   02/09/15           1126        Ramona Shaeffer                           Final distribution representing a                      5300-000                                      $2,169.95          $362,308.42
                                  1343 Hood Ave.                            payment of 35.16 % per court
                                  Chicago, IL 60660                         order.
   02/09/15           1127        Randi Thomas                              Final distribution representing a                      5300-000                                      $2,570.28          $359,738.14
                                  12 158th Place                            payment of 35.16 % per court
                                  Apt. #3                                   order.
                                  Calument City, IL 60409
   02/09/15           1128        Rasheeda Quadri                           Final distribution representing a                      5300-000                                      $2,459.47          $357,278.67
                                  6435 N. Whipple St.                       payment of 35.16 % per court
                                  Chicago, IL 60645                         order.



                                                                                   Page Subtotals:                                                               $0.00          $23,759.13
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                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
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                    Reference                                                                                                         Code                                                            ($)
   02/09/15           1129        Regina Boyd                               Final distribution representing a                      5300-000                                      $2,570.28          $354,708.39
                                  8059 S. Marshfield Ave.                   payment of 35.16 % per court
                                  Apt. #3                                   order.
                                  Chicago, IL 60620
   02/09/15           1130        Rodney Patterson                          Final distribution representing a                      5300-000                                      $2,570.28          $352,138.11
                                  8042 S. Kimbark                           payment of 35.16 % per court
                                  Chicago, IL 60619                         order.
   02/09/15           1131        Rosalind Dority                           Final distribution representing a                      5300-000                                      $1,377.42          $350,760.69
                                  1042 N. Keystone                          payment of 35.16 % per court
                                  Chicago, IL 60651                         order.
   02/09/15           1132        Rosalinda Ayala                           Final distribution representing a                      5300-000                                      $1,992.41          $348,768.28
                                  4416 N. Marmora                           payment of 35.16 % per court
                                  Chicago, IL 60630                         order.
   02/09/15           1133        Rosemary Gayton                           Final distribution representing a                      5300-000                                      $2,376.60          $346,391.68
                                  503 W. Bellarmine Drive                   payment of 35.16 % per court
                                  Apt. C                                    order.
                                  Joliet, IL 60436
   02/09/15           1134        Roy McGary                                Final distribution representing a                      5300-000                                      $2,192.62          $344,199.06
                                  6951 S. Oglesby, Apt. G                   payment of 35.16 % per court
                                  Chicago, IL 60649                         order.
   02/09/15           1135        Ryan Fey                                  Final distribution representing a                      5300-000                                      $1,882.38          $342,316.68
                                  1244 West Diversey                        payment of 35.16 % per court
                                  Chicago, IL 60614                         order.
   02/09/15           1136        Sandra Freeman                            Final distribution representing a                      5300-000                                      $2,154.74          $340,161.94
                                  7415 S. Dante Ave.                        payment of 35.16 % per court
                                  Chicago, IL 60619                         order.
   02/09/15           1137        Sandra Salvatierra                        Final distribution representing a                      5300-000                                      $2,175.81          $337,986.13
                                  4949 W. Warwick                           payment of 35.16 % per court
                                  Chicago, IL 60641                         order.
   02/09/15           1138        Sarah Gonia                               Final distribution representing a                      5300-000                                         $685.54         $337,300.59
                                  4649 W. Patterson                         payment of 35.16 % per court
                                  Chicago, IL 60641                         order.
   02/09/15           1139        Shante Chatman                            Final distribution representing a                      5300-000                                      $2,528.29          $334,772.30
                                  12724 S. May Street                       payment of 35.16 % per court
                                  Calumet Park, IL 60827                    order.
   02/09/15           1140        Shemeka Sanders                           Final distribution representing a                      5300-000                                      $2,427.42          $332,344.88
                                  21146 Vivienne Drive                      payment of 35.16 % per court
                                  Matteson, IL 60443                        order.

                                                                                   Page Subtotals:                                                               $0.00          $24,933.79
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      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
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                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
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                    Reference                                                                                                         Code                                                            ($)
   02/09/15           1141        Shimika Douglas                           Final distribution representing a                      5300-000                                      $2,027.26          $330,317.62
                                  39 W. 109th Street                        payment of 35.16 % per court
                                  Chicago, IL 60628                         order.
   02/09/15           1142        Shirley Cooper                            Final distribution representing a                      5300-000                                      $2,570.28          $327,747.34
                                  9376 S. Stewart Avenue                    payment of 35.16 % per court
                                  Chicago, IL 60620                         order.
   02/09/15           1143        Shirley Tankersley                        Final distribution representing a                      5300-000                                         $856.34         $326,891.00
                                  1640 N. Talman, Apt. 2R                   payment of 35.16 % per court
                                  Chicago, IL 60647                         order.
   02/09/15           1144        Shirley Williams                          Final distribution representing a                      5300-000                                      $1,794.75          $325,096.25
                                  1132 Troost                               payment of 35.16 % per court
                                  Apt. #303                                 order.
                                  Forest Park, IL 60130
   02/09/15           1145        Shradha Tamrakar                          Final distribution representing a                      5300-000                                      $1,647.64          $323,448.61
                                  2541 W. Jerome                            payment of 35.16 % per court
                                  Unit A                                    order.
                                  Chicago, IL 60645
   02/09/15           1146        Sue Moehn                                 Final distribution representing a                      5300-000                                      $2,050.37          $321,398.24
                                  1031 W. North Shore Ave., Unit 3S         payment of 35.16 % per court
                                  Chicago, IL 60626                         order.
   02/09/15           1147        Susan Pieters                             Final distribution representing a                      5300-000                                      $1,772.79          $319,625.45
                                  1310 W. Arthur Avenue                     payment of 35.16 % per court
                                  Apt. #1                                   order.
                                  Chicago, IL 60626
   02/09/15           1148        Susan Thompson                            Final distribution representing a                      5300-000                                      $1,175.70          $318,449.75
                                  3544 Clarence Ave.                        payment of 35.16 % per court
                                  Berwyn, IL 60402                          order.
   02/09/15           1149        Sylvia Brice                              Final distribution representing a                      5300-000                                      $2,570.28          $315,879.47
                                  6707 S. Cregier                           payment of 35.16 % per court
                                  Apt. #3A                                  order.
                                  Chicago, IL 60649
   02/09/15           1150        Syrena Thomas                             Final distribution representing a                      5300-000                                      $2,504.82          $313,374.65
                                  P.O. Box 2095                             payment of 35.16 % per court
                                  Bolingbrook, IL 60440                     order.
   02/09/15           1151        Tahiti Hamer                              Final distribution representing a                      5300-000                                      $1,978.25          $311,396.40
                                  7948 S. Colfax                            payment of 35.16 % per court
                                  Chicago, IL 60617                         order.



                                                                                   Page Subtotals:                                                               $0.00          $20,948.48
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           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


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                    Reference                                                                                                         Code                                                           ($)
   02/09/15           1152        Tamara Faulkner                           Final distribution representing a                      5300-000                                      $2,182.86         $309,213.54
                                  1350 W. Hood Ave. #2                      payment of 35.16 % per court
                                  Chicago, IL 60660                         order.
   02/09/15           1153        Tamekia Holman                            Final distribution representing a                      5300-000                                      $1,826.72         $307,386.82
                                  8836 South Laflin                         payment of 35.16 % per court
                                  Chicago, IL 60620                         order.
   02/09/15           1154        Tanga Morris                              Final distribution representing a                      5300-000                                      $1,704.26         $305,682.56
                                  7255 S. Rockwell St.                      payment of 35.16 % per court
                                  Apt. #2                                   order.
                                  Chicago, IL 60629
   02/09/15           1155        Tasha McDuffie                            Final distribution representing a                      5300-000                                      $2,570.28         $303,112.28
                                  4255 West 5th Avenue                      payment of 35.16 % per court
                                  Chicago, IL 60624                         order.
   02/09/15           1156        Tenetha Johnson                           Final distribution representing a                      5300-000                                      $2,570.28         $300,542.00
                                  654 East 80th Street                      payment of 35.16 % per court
                                  Chicago, IL 60619                         order.
   02/09/15           1157        Teresa Barrett                            Final distribution representing a                      5300-000                                      $1,653.10         $298,888.90
                                  2020 W. Farwell Ave.                      payment of 35.16 % per court
                                  Apt. 211                                  order.
                                  Chicago, IL 60645
   02/09/15           1158        Thomas Ullmann                            Final distribution representing a                      5300-000                                      $2,567.54         $296,321.36
                                  325 Oxford                                payment of 35.16 % per court
                                  Kenilworth, IL 60043                      order.
   02/09/15           1159        Tina Jackson                              Final distribution representing a                      5300-000                                      $2,570.28         $293,751.08
                                  3335 Bramanti Trail                       payment of 35.16 % per court
                                  Steger, IL 60475                          order.
   02/09/15           1160        Vanessa Stevens                           Final distribution representing a                      5300-000                                      $2,570.28         $291,180.80
                                  6945 Patricia Lane                        payment of 35.16 % per court
                                  N-319                                     order.
                                  Hammond, IN 46323
   02/09/15           1161        Vilma Morocho                             Final distribution representing a                      5300-000                                      $1,835.43         $289,345.37
                                  4714 N. Albany Ave.                       payment of 35.16 % per court
                                  Chicago, IL 60625                         order.
   02/09/15           1162        Vincent Perry                             Final distribution representing a                      5300-000                                      $2,570.28         $286,775.09
                                  435 W. 101 Place                          payment of 35.16 % per court
                                  Chicago, IL 60628                         order.




                                                                                   Page Subtotals:                                                               $0.00          $24,621.31
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           Case No: 12-04800                                                                                               Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                       Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                              Checking
  Taxpayer ID No: XX-XXX0135                                                                                 Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                                Separate Bond (if applicable):


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                    Reference                                                                                                           Code                                                            ($)
   02/09/15           1163        Wanda Jackson                             Final distribution representing a                        5300-000                                      $2,570.28          $284,204.81
                                  9238 S. Avalon Ave.                       payment of 35.16 % per court
                                  Chicago, IL 60619                         order.
   02/09/15           1164        Yeonta Russell                            Final distribution representing a                        5300-000                                      $1,821.90          $282,382.91
                                  7523 1/2 South Coles Ave.                 payment of 35.16 % per court
                                  Apt. #3C                                  order.
                                  Chicago, IL 60649
   02/09/15           1165        Kathleen Barry                            Final distribution to claim 6                            5300-000                                      $2,605.27          $279,777.64
                                  9253 S. Francisco Ave                     representing a payment of
                                  Evergreen Park, Il 60805                  35.16 % per court order.
   02/09/15           1166        John A. Muller, III                       Final distribution to claim 7                            5300-000                                         $832.24         $278,945.40
                                  John A. Muller Iii                        representing a payment of
                                  648 N. Ashbury Avenue                     35.16 % per court order.
                                  Bolingbrook, Il 60440
   02/09/15           1167        John A. Muller, III                       Final distribution to claim 8                            5300-000                                      $2,028.19          $276,917.21
                                  John A. Muller Iii                        representing a payment of
                                  648 N. Ashbury Avenue                     35.16 % per court order.
                                  Bolingbrook, Il 60440
   02/09/15           1168        Danielle Butts                            Final distribution to claim 11                           5300-000                                      $4,122.34          $272,794.87
                                  4053 Wolf Road                            representing a payment of
                                  Western Springs, Il 60558                 35.16 % per court order.
   02/09/15           1169        Maria Mejia-Ramirez                       Final distribution to claim 12                           5300-000                                         $533.27         $272,261.60
                                  5102 West 63Rd Place                      representing a payment of
                                  Chicago, Il 60638                         35.16 % per court order.
   02/09/15           1170        Dorothy Hayes-Dunlap                      Final distribution to claim 13                           5300-000                                      $2,091.86          $270,169.74
                                  7143 S Ingleside Avenue                   representing a payment of
                                  Chicago, Il 60619                         35.16 % per court order.
   02/09/15           1171        Samuel Dunlap                             Final distribution to claim 14                           5300-000                                         $131.44         $270,038.30
                                  7143 S Ingleside                          representing a payment of
                                  Chicago, Il 60619                         35.16 % per court order.
   02/09/15           1172        Lori Littleton                            Final distribution to claim 16                           5300-000                                         $951.15         $269,087.15
                                  8736 So. Marshfield                       representing a payment of
                                  Chicago, Il 60620                         35.16 % per court order.
   02/09/15           1173        Lisa Justin                               Final distribution to claim 17                           5300-000                                         $257.36         $268,829.79
                                  1428 Kenilworth Drive                     representing a payment of
                                  Calumet City, Il 60409                    35.16 % per court order.




                                                                                    Page Subtotals:                                                                $0.00          $17,945.30
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           Case No: 12-04800                                                                                               Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                       Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                              Checking
  Taxpayer ID No: XX-XXX0135                                                                                 Blanket Bond (per case limit): $100,000.00
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                    Reference                                                                                                           Code                                                            ($)
   02/09/15           1174        Renee Boyd-Jennings                       Final distribution to claim 18                           5300-000                                         $678.98         $268,150.81
                                  14648 Memorial Drive                      representing a payment of
                                  Dolton, Il 60419                          35.16 % per court order.
   02/09/15           1175        Vanessa Lynn Lankford                     Final distribution to claim 19                           5300-000                                      $3,139.84          $265,010.97
                                  8557 S St. Lawrence Ave                   representing a payment of
                                  Chicago, Il 60619                         35.16 % per court order.
   02/09/15           1176        Dianne Laing                              Final distribution to claim 22                           5300-000                                         $575.73         $264,435.24
                                  5320 N Sheridan                           representing a payment of
                                  #505                                      35.16 % per court order.
                                  Chicago, Il 60640
   02/09/15           1177        Joan Mccohnell                            Final distribution to claim 23                           5300-000                                      $3,584.92          $260,850.32
                                  7131 S Constance Avenue                   representing a payment of
                                  Chicago, Il 60649                         35.16 % per court order.
   02/09/15           1178        Curtis Roeschley                          Final distribution to claim 25                           5300-000                                      $4,122.34          $256,727.98
                                  5253 W. Eddy St                           representing a payment of
                                  Chicago, Il 60641                         35.16 % per court order.
   02/09/15           1179        Kim Cobb                                  Final distribution to claim 26                           5300-000                                      $4,122.34          $252,605.64
                                  36 Sycamore Court                         representing a payment of
                                  Calumet City, Il 60409                    35.16 % per court order.
   02/09/15           1180        Naomi Samuels                             Final distribution to claim 28                           5300-000                                      $4,122.34          $248,483.30
                                  1500 Oak Avenue 3E                        representing a payment of
                                  Evanston, IL 60201                        35.16 % per court order.
   02/09/15           1181        Joyce Anne Viglione                       Final distribution to claim 31                           5300-000                                      $4,122.34          $244,360.96
                                  5501 West Ardmore                         representing a payment of
                                  Chicago, Il 60646                         35.16 % per court order.
   02/09/15           1182        Darlene Humphey                           Final distribution to claim 35                           5300-000                                      $2,444.56          $241,916.40
                                  7640 S. Ridgeland Street                  representing a payment of
                                  Chicago, Il 60649                         35.16 % per court order.
   02/09/15           1183        Leisa Mosley                              Final distribution to claim 42                           5300-000                                      $3,995.22          $237,921.18
                                  3217 S. Calumet Ave.                      representing a payment of
                                  Chicago, IL 60616                         35.16 % per court order.
   02/09/15           1184        Cora Halley                               Final distribution to claim 50                           5300-000                                      $2,726.02          $235,195.16
                                  3930 N Pine Grove                         representing a payment of
                                  Chicago, Il 60613                         35.16 % per court order.
   02/09/15           1185        Anne Gulley                               Final distribution to claim 51                           5300-000                                      $1,003.78          $234,191.38
                                  1917 Seward                               representing a payment of
                                  Evanston, Il 60202                        35.16 % per court order.


                                                                                    Page Subtotals:                                                                $0.00          $34,638.41
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           Case No: 12-04800                                                                                               Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                       Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                              Checking
  Taxpayer ID No: XX-XXX0135                                                                                 Blanket Bond (per case limit): $100,000.00
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Transaction Date    Check or                Paid To / Received From                       Description of Transaction                Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                            ($)
   02/09/15           1186        Cathy Miller                              Final distribution to claim 54                           5300-000                                      $2,160.68          $232,030.70
                                  1906 W Pratt Blvd                         representing a payment of
                                  Apt 3B                                    35.16 % per court order.
                                  Chicago, Il 60626
   02/09/15           1187        Agnes Bonano                              Final distribution to claim 55                           5300-000                                      $2,380.43          $229,650.27
                                  3537 W Beach Ave                          representing a payment of
                                  Chicago, Il 60651                         35.16 % per court order.
   02/09/15           1188        Cynthia Gerena                            Final distribution to claim 56                           5300-000                                      $1,934.31          $227,715.96
                                  1915 N. Tripp Ave.                        representing a payment of
                                  Chicago, Il 60639                         35.16 % per court order.
   02/09/15           1189        Therasa Zito                              Final distribution to claim 57                           5300-000                                      $2,410.61          $225,305.35
                                  923 Brookfield Rd.                        representing a payment of
                                  Rockford, IL 61107                        35.16 % per court order.
   02/09/15           1190        Milagros Ortiz                            Final distribution to claim 58                           5300-000                                      $2,289.09          $223,016.26
                                  3217 W. Cortez                            representing a payment of
                                  Chicago, Il 60651                         35.16 % per court order.
   02/09/15           1191        Olivia M Moreno                           Final distribution to claim 60                           5300-000                                         $210.95         $222,805.31
                                  3217 W Cortez St                          representing a payment of
                                  Chicago, Il 60651                         35.16 % per court order.
   02/09/15           1192        Martha Abarca                             Final distribution to claim 62                           5300-000                                         $708.07         $222,097.24
                                  2923 W. Berwyn Ave. #2                    representing a payment of
                                  Chicago, IL 60625                         35.16 % per court order.
   02/09/15           1193        Samantha Miller                           Final distribution to claim 63                           5300-000                                      $2,371.78          $219,725.46
                                  1332 S. Washtenaw Av                      representing a payment of
                                  1St Fl.                                   35.16 % per court order.
                                  Chicago, Il 60608
   02/09/15           1194        Maximiliano Silvestre                     Final distribution to claim 65                           5300-000                                         $208.49         $219,516.97
                                  609 Vine Street                           representing a payment of
                                  Joliet, Il 60435                          35.16 % per court order.
   02/09/15           1195        Crystal L Silvestre                       Final distribution to claim 66                           5300-000                                      $1,333.86          $218,183.11
                                  609 Vine St                               representing a payment of
                                  Joliet, Il 60435                          35.16 % per court order.
   02/09/15           1196        Phyllis A. Offord                         Final distribution to claim 69                           5300-000                                      $4,122.34          $214,060.77
                                  7210 S. Franciso                          representing a payment of
                                  Chicago, Il 60629                         35.16 % per court order.
   02/09/15           1197        Latoya K. Culpepper                       Final distribution to claim 72                           5300-000                                      $2,109.52          $211,951.25
                                  728 N Central Avenue                      representing a payment of
                                  Chicago, Il 60644                         35.16 % per court order.

                                                                                    Page Subtotals:                                                                $0.00          $22,240.13
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                                 Trustee Name: DEBORAH M. GUTFELD                                        Exhibit 9
      Case Name: Hull House Association                                                                                        Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                              Checking
  Taxpayer ID No: XX-XXX0135                                                                                 Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                                Separate Bond (if applicable):


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                    Reference                                                                                                             Code                                                         ($)
   02/09/15           1198        Mariann Chisum Mcgill                     Final distribution to claim 73                             5300-000                                    $4,052.40         $207,898.85
                                  15251 State Street                        representing a payment of
                                  South Holland, Il 60473                   35.16 % per court order.
   02/09/15           1199        Addison Wright                            Final distribution to claim 75                             5300-000                                    $2,039.20         $205,859.65
                                  7809 S. Calumet                           representing a payment of
                                  Chicago, Il 60619                         35.16 % per court order.
   02/09/15           1200        Anna Louise Blocker                       Final distribution to claim 76                             5300-000                                    $2,991.96         $202,867.69
                                  4711 N. Sawyer Ave                        representing a payment of
                                  Chicago, Il 60625                         35.16 % per court order.
   02/09/15           1201        Clarence Hogan                            Final distribution to claim 77                             5300-000                                    $2,163.60         $200,704.09
                                  6951 S. Peoria St.                        representing a payment of
                                  Unit 3W                                   35.16 % per court order.
                                  Chicago, IL 60621
   02/09/15           1202        Jossett Counter                           Final distribution to claim 78                             5300-000                                    $2,100.56         $198,603.53
                                  Po Box 496308                             representing a payment of
                                  Chicago, Il 60649                         35.16 % per court order.
   02/09/15           1203        Internal Revenue Service                  Distribution                                                                                         $131,874.81          $66,728.72
                                  P.O. Box 7346
                                  Philadelphia, PA 19010-7346
                                  Internal Revenue Service                  Federal income tax                           ($759.65)     5300-002

                                  Internal Revenue Service                  Federal income tax                           ($939.80)     5300-000

                                  Internal Revenue Service                  Federal income tax                           ($540.04)     5300-000

                                  Internal Revenue Service                  Federal income tax                          ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                          ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                          ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                          ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                           ($750.00)     5300-000

                                  Internal Revenue Service                  Federal income tax                           ($530.74)     5300-000

                                  Internal Revenue Service                  Federal income tax                           ($552.00)     5300-000



                                                                                    Page Subtotals:                                                                $0.00         $145,222.53
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           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                         Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                 Account Number/CD#: XXXXXX6268
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX0135                                                                             Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($562.80)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($809.82)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($914.61)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($697.10)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($951.71)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($388.86)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($985.45)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($544.79)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($738.23)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.34)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($901.74)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($556.60)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($280.85)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000


                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                         Exhibit 9
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                                                                                                                                           Checking
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                    Reference                                                                                                          Code                                                          ($)
                                  Internal Revenue Service                  Federal income tax                        ($887.84)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($624.25)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($779.49)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($506.66)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($586.01)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($847.97)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($891.54)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($734.69)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($515.92)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($874.99)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($764.81)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($616.96)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($738.45)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,008.79)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000


                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                         Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                 Account Number/CD#: XXXXXX6268
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX0135                                                                             Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
                                  Internal Revenue Service                  Federal income tax                        ($817.21)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($967.41)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($630.01)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($777.45)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($929.05)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($466.49)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($940.54)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($931.79)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,015.81)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($956.70)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($437.00)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($913.27)     5300-000


                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                         Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                 Account Number/CD#: XXXXXX6268
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX0135                                                                             Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($507.84)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($746.41)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($749.62)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($442.49)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($451.63)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($536.86)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($507.19)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($908.00)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($771.20)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($959.63)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($721.37)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($724.57)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($841.37)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($761.27)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000


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           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                         Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                 Account Number/CD#: XXXXXX6268
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX0135                                                                             Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
                                  Internal Revenue Service                  Federal income tax                        ($579.02)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($794.39)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($882.58)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($330.05)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($652.34)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($507.82)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($746.39)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($391.66)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($834.75)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($971.84)     5300-000


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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                         Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                 Account Number/CD#: XXXXXX6268
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX0135                                                                             Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
                                  Internal Revenue Service                  Federal income tax                        ($603.31)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($870.07)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($986.15)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($552.30)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($798.88)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($952.93)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($879.16)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($754.77)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($863.97)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($872.42)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($274.88)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,013.75)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($973.30)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($812.86)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($343.36)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($719.63)     5300-000


                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                         Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                 Account Number/CD#: XXXXXX6268
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX0135                                                                             Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                          ($)
                                  Internal Revenue Service                  Federal income tax                        ($660.64)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($822.12)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($710.82)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($471.41)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,004.34)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($793.20)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($875.24)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($732.45)     5300-000

                                  Internal Revenue Service                  Federal income tax                        ($683.34)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($662.83)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,029.49)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($735.94)     5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                       ($1,030.59)    5300-000

                                  Internal Revenue Service                  Federal income tax                        ($730.51)     5300-000




                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                               Trustee Name: DEBORAH M. GUTFELD                                         Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                           Code                                                          ($)
   02/09/15           1204        Illinois Department of Revenue            Distribution                                                                                         $26,375.08          $40,353.64
                                  101 W. Jefferson St.
                                  Springfield, IL 62702
                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-002

                                  Illinois Department of Revenue            Illinois state tax                          ($146.10)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($147.19)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($132.57)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($205.90)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($146.49)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($136.67)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($158.64)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($175.05)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($200.87)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($142.16)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                           ($94.28)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($132.13)    5300-000


                                                                                    Page Subtotals:                                                               $0.00          $26,375.08
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                               Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
                                  Illinois Department of Revenue            Illinois state tax                          ($164.43)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                           ($68.67)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($143.93)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($162.57)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($202.75)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($194.66)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($174.49)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                           ($54.98)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($150.95)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($172.79)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($190.58)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($175.83)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($110.46)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($159.78)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($197.23)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($174.01)    5300-000


                                                                                    Page Subtotals:                                                               $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                               Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
                                  Illinois Department of Revenue            Illinois state tax                          ($194.37)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($120.66)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($166.95)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($149.28)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                           ($78.33)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($101.56)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($130.47)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                           ($66.01)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($176.52)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($115.80)    5300-000


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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                               Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
                                  Illinois Department of Revenue            Illinois state tax                          ($158.88)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($152.25)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($168.27)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($144.91)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($191.93)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($144.27)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($154.24)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($181.60)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($101.44)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                           ($90.33)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($107.37)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($149.92)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                           ($88.50)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($101.57)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($149.28)    5300-000


                                                                                    Page Subtotals:                                                               $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                               Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
                                  Illinois Department of Revenue            Illinois state tax                          ($182.66)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($191.34)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                           ($87.40)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($203.16)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($186.36)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($188.11)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                           ($93.30)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($155.49)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($185.81)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($193.48)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($126.00)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($163.44)    5300-000


                                                                                    Page Subtotals:                                                               $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                               Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($201.76)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($147.69)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($152.96)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($123.39)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($175.00)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($146.94)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($103.18)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($178.31)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($117.20)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($169.59)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($101.33)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($124.85)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($155.90)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000


                                                                                    Page Subtotals:                                                               $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                               Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($177.57)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                           ($56.17)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($111.32)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.07)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($180.35)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($108.96)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($147.64)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                           ($77.77)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($197.09)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($190.34)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($182.92)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($139.42)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($161.97)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000


                                                                                    Page Subtotals:                                                               $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                               Trustee Name: DEBORAH M. GUTFELD                                         Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                    7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                           Code                                                          ($)
                                  Illinois Department of Revenue            Illinois state tax                          ($112.56)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($106.15)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($110.40)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($150.00)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($108.01)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($206.12)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($151.93)    5300-000

                                  Illinois Department of Revenue            Illinois state tax                          ($187.96)    5300-000

   02/09/15           1205        Internal Revenue Service                  Distribution                                                                                          $7,648.50          $32,705.14
                                  P.O. Box 7346
                                  Philadelphia, PA 19010-7346
                                  Internal Revenue Service                  Medicare tax                                 ($44.06)    5300-002

                                  Internal Revenue Service                  Medicare tax                                 ($31.32)    5300-000

                                  Internal Revenue Service                  Medicare tax                                 ($54.51)    5300-000

                                  Internal Revenue Service                  Medicare tax                                 ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                 ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                 ($43.50)    5300-000

                                  Internal Revenue Service                  Medicare tax                                 ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                 ($59.77)    5300-000


                                                                                    Page Subtotals:                                                               $0.00           $7,648.50
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                            ($)
                                  Internal Revenue Service                  Medicare tax                                ($30.78)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($32.02)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($32.64)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($46.97)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($40.43)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($53.05)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($55.20)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($22.55)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($42.82)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($31.60)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($57.16)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.76)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($52.30)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($32.28)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($16.29)    5300-000


                                                                                   Page Subtotals:                                                                $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                            ($)
                                  Internal Revenue Service                  Medicare tax                                ($51.49)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($36.21)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($45.21)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($29.39)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($49.18)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($33.99)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($42.61)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($51.71)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($29.92)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($50.75)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($35.78)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($44.36)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($42.83)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($58.51)    5300-000


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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                            ($)
                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($47.40)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($36.54)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($56.11)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($45.09)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($53.88)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($54.55)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($27.05)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($54.04)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($58.92)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($25.35)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($55.49)    5300-000


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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                            ($)
                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($52.97)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($29.46)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($43.29)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($43.48)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($31.14)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($26.19)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($25.67)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($29.42)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($52.66)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($41.84)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($55.66)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($44.73)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($42.03)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($48.80)    5300-000


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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                        Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                            ($)
                                  Internal Revenue Service                  Medicare tax                                ($44.15)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($46.08)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($33.58)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($51.19)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($19.14)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($37.83)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($29.45)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($22.72)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($43.29)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000


                                                                                   Page Subtotals:                                                                $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                            ($)
                                  Internal Revenue Service                  Medicare tax                                ($56.37)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($48.42)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($34.99)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($57.20)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($50.46)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($32.03)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($46.34)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($55.27)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($50.11)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($43.78)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($50.99)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($50.60)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($58.80)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($15.94)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($56.45)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($47.14)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($41.74)    5300-000


                                                                                   Page Subtotals:                                                                $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                            ($)
                                  Internal Revenue Service                  Medicare tax                                ($19.91)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($38.32)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($41.23)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($47.68)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($27.34)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($50.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($46.01)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($58.25)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($42.48)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($39.63)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($38.45)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.71)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($42.69)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000

                                  Internal Revenue Service                  Medicare tax                                ($59.77)    5300-000


                                                                                   Page Subtotals:                                                                $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                               Trustee Name: DEBORAH M. GUTFELD                                         Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                     5                   6                    7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                           Code                                                          ($)
                                  Internal Revenue Service                  Medicare tax                                 ($42.37)    5300-000

   02/09/15           1206        Internal Revenue Service                  Distribution                                                                                         $32,705.14                $0.00
                                  P.O. Box 7346
                                  Philadelphia, PA 19010-7346
                                  Internal Revenue Service                  Social Security tax                         ($181.17)    5300-002

                                  Internal Revenue Service                  Social Security tax                         ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($182.51)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($255.31)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($164.38)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($169.47)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($181.65)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($249.07)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($196.71)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($217.06)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($116.91)    5300-000

                                  Internal Revenue Service                  Social Security tax                         ($203.89)    5300-000


                                                                                    Page Subtotals:                                                               $0.00          $32,705.14
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                    Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX6268
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX0135                                                                              Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
                                  Internal Revenue Service                  Social Security tax                       ($176.29)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($163.84)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($85.15)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($178.47)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($201.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($241.38)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($68.17)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($251.41)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($216.36)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($218.03)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($187.18)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($214.26)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($236.33)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($198.12)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($136.97)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($215.78)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($244.57)    5300-000


                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                    Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX6268
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX0135                                                                              Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($149.62)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($207.02)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($241.02)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($185.10)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($97.13)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($125.94)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($161.78)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($81.85)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($218.88)    5300-000


                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                    Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX6268
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX0135                                                                              Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($143.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($197.01)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($188.79)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($208.66)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($179.70)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($191.26)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($237.99)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($178.90)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($225.18)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($125.78)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($109.74)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($112.00)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($133.14)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($185.90)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($185.11)    5300-000


                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                    Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX6268
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX0135                                                                              Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($125.94)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($226.49)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($237.26)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($108.38)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($251.92)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($231.08)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($115.69)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($233.26)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($230.40)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($192.81)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($239.92)    5300-000


                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                    Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX6268
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX0135                                                                              Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
                                  Internal Revenue Service                  Social Security tax                       ($156.24)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($202.67)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($250.18)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($183.13)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($189.67)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($153.01)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($217.00)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($127.95)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($221.10)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($182.20)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($145.33)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($210.30)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($125.65)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($193.31)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($154.81)    5300-000


                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                    Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX6268
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX0135                                                                              Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($220.18)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($69.65)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($138.04)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($223.63)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.53)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($244.39)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($135.11)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($183.08)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($96.44)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($236.02)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($226.82)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($172.88)    5300-000

                                  Internal Revenue Service                  Social Security tax                       ($200.84)    5300-000


                                                                                   Page Subtotals:                                                              $0.00                $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                          Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                           ($)
                                  Internal Revenue Service                  Social Security tax                        ($139.58)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($136.90)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($131.62)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($186.00)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($255.59)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($233.07)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($133.93)    5300-000

                                  Internal Revenue Service                  Social Security tax                        ($188.39)    5300-000

   02/12/15           1034        Cortaiga Johnson                          Final distribution representing a                       5300-000                                    ($4,122.33)            $4,122.33
                                  2009 Norcross Circle, Apt. A              payment of 35.16 % per court
                                  Indianapolis, IN 46260                    order. Reversal
                                                                            Check issued in error as gross
                                                                            amount. Voided and reissued
                                                                            in correct net amount to C.
                                                                            Johnson. Tax payments made
                                                                            through EFTPS.
   02/12/15           1207        Cortaiga Johnson                                                                                  5300-000                                     $2,621.81             $1,500.52
                                  2009 Norcross Circle, Apt. A
                                  Indianapolis, IN 46260
   02/12/15           1208        Illinois Department of Revenue                                                                    4800-000                                        $154.59            $1,345.93
                                  101 W. Jefferson St.
                                  Springfield, IL 62702




                                                                                   Page Subtotals:                                                               $0.00          ($1,345.93)
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                             Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX6268
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                              ($)
   02/12/15           1209        Internal Revenue Service                  Federal, Medicare and Social                           4300-000                                      $1,345.93                    $0.00
                                  P.O. Box 7346                             Security taxes
                                  Philadelphia, PA 19010-7346               Re: Cortaiga Johnson
                                                                            $1,030.58 federal
                                                                            $255.58 Social Security
                                                                            $59.77 Medicare
   03/10/15           1014        Angela Smith                              Final distribution representing a                      5300-000                                     ($2,570.27)              $2,570.27
                                  1712 North Lexington                      payment of 35.16 % per court
                                  Fort Smith, AR 72901                      order. Reversal
   03/13/15           1158        Thomas Ullmann                            Final distribution representing a                      5300-000                                     ($2,567.54)              $5,137.81
                                  325 Oxford                                payment of 35.16 % per court
                                  Kenilworth, IL 60043                      order. Reversal
   03/13/15           1091        Leslie Cline                              Final distribution representing a                      5300-000                                     ($2,570.28)              $7,708.09
                                  3122 5th Street                           payment of 35.16 % per court
                                  Boulder, CO 80304                         order. Reversal
   03/13/15           1060        Gloria Thomas                             Final distribution representing a                      5300-000                                     ($2,570.28)            $10,278.37
                                  8828 S. Justine                           payment of 35.16 % per court
                                  Chicago, IL 60620                         order. Reversal
   03/13/15           1210        Angela Smith                              Final distribution                                     5300-000                                      $2,570.27               $7,708.10
                                  P.O. Box 944
                                  Fort Smith, AR 72902
   03/16/15           1211        Thomas Ullmann                            Final distribution                                     5300-000                                      $2,567.54               $5,140.56
                                  325 Oxford
                                  Kenilworth, IL 60043
   03/16/15           1212        Gloria Thomas                             Final distribution                                     5300-000                                      $2,570.28               $2,570.28
                                  8828 S. Justine
                                  Chicago, IL 60620
   03/16/15           1213        Leslie Cline                              Final distribution                                     5300-000                                      $2,570.28                    $0.00
                                  3745 Cloverleaf Dr.
                                  Boulder, CO 80304
   04/24/15           1120        Monique Smith                             Final distribution representing a                      5300-000                                         ($976.80)               $976.80
                                  8523 S. Marshfield                        payment of 35.16 % per court
                                  Chicago, IL 60620                         order. Reversal
   04/27/15           1214        Monique Smith                             Re-issuance of distribution                            5300-000                                          $976.80                  $0.00
                                  7938 S. Eberhart
                                  Chicago, IL 60619




                                                                                    Page Subtotals:                                                              $0.00           $1,345.93
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                               Trustee Name: DEBORAH M. GUTFELD                                             Exhibit 9
      Case Name: Hull House Association                                                                                       Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX6268
                                                                                                                                              Checking
  Taxpayer ID No: XX-XXX0135                                                                                 Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                                Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction                Uniform Tran.        Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                           Code                                                              ($)
   11/05/15           1092        Lillie Harris                             Final distribution representing a                        5300-000                                     ($2,264.53)              $2,264.53
                                  8207 South Clyde                          payment of 35.16 % per court
                                  Apt. #1                                   order. Reversal
                                  Chicago, IL 60617
   11/06/15           1215        Lillie Harris                             Re-issuance of original                                  5300-000                                      $2,264.53                   $0.00
                                  300 Piccadilly Square                     distribution check
                                  Apartment 2F
                                  Athens, GA 30605
   12/28/15           1019        Ashley Olds                               Final distribution representing a                        5300-000                                     ($1,403.62)              $1,403.62
                                  2101 W. Roosevelt Road                    payment of 35.16 % per court
                                  #2C                                       order. Reversal
                                  Broadview, IL 60155
   12/28/15           1045        Diane Vargas                              Final distribution representing a                        5300-000                                     ($1,263.61)              $2,667.23
                                  4875 N. Magnolia                          payment of 35.16 % per court
                                  Apt. #112                                 order. Reversal
                                  Chicago, IL 60640
   12/28/15           1080        Karuna Menon                              Final distribution representing a                        5300-000                                     ($1,089.88)              $3,757.11
                                  5600 North Sheridan Rd.                   payment of 35.16 % per court
                                  #18A                                      order. Reversal
                                  Chicago, IL 60660
   12/28/15           1084        Kenneth Tidwell                           Final distribution representing a                        5300-000                                     ($1,861.53)              $5,618.64
                                  8802 South Carpenter                      payment of 35.16 % per court
                                  Chicago, IL 60620                         order. Reversal
   12/28/15           1117        Molly Weener                              Final distribution representing a                        5300-000                                     ($1,266.49)              $6,885.13
                                  1057 West Thorndale                       payment of 35.16 % per court
                                  Apt. G                                    order. Reversal
                                  Chicago, IL 60660
   12/28/15           1157        Teresa Barrett                            Final distribution representing a                        5300-000                                     ($1,653.10)              $8,538.23
                                  2020 W. Farwell Ave.                      payment of 35.16 % per court
                                  Apt. 211                                  order. Reversal
                                  Chicago, IL 60645
   12/28/15           1164        Yeonta Russell                            Final distribution representing a                        5300-000                                     ($1,821.90)            $10,360.13
                                  7523 1/2 South Coles Ave.                 payment of 35.16 % per court
                                  Apt. #3C                                  order. Reversal
                                  Chicago, IL 60649
   12/28/15           1169        Maria Mejia-Ramirez                       Final distribution to claim 12                           5300-000                                         ($533.27)          $10,893.40
                                  5102 West 63Rd Place                      representing a payment of
                                  Chicago, Il 60638                         35.16 % per court order.
                                                                            Reversal

                                                                                    Page Subtotals:                                                                $0.00        ($10,893.40)
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                            Trustee Name: DEBORAH M. GUTFELD                                         Exhibit 9
      Case Name: Hull House Association                                                                                   Bank Name: Associated Bank
                                                                                                                 Account Number/CD#: XXXXXX6268
                                                                                                                                         Checking
  Taxpayer ID No: XX-XXX0135                                                                            Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                           Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                    Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                            ($)
   12/28/15           1216        Clerk of the U.S. Bankruptcy Court,       Unclaimed funds                                      2990-000                                    $10,893.40                 $0.00
                                  Northern District of Ill
                                  219 S. Dearborn
                                  Chicago, IL 60604


                                                                                                           COLUMN TOTALS                             $1,094,864.19        $1,094,864.19
                                                                                                                 Less: Bank Transfers/CD's             $145,157.15                 $0.00
                                                                                                           Subtotal                                    $949,707.04        $1,094,864.19
                                                                                                                 Less: Payments to Debtors                    $0.00                $0.00
                                                                                                           Net                                         $949,707.04        $1,094,864.19




                                                                                  Page Subtotals:                                                             $0.00          $10,893.40
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                            Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                    Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX6769
                                                                                                                                           Money Market Account
  Taxpayer ID No: XX-XXX0135                                                                              Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   02/29/12            16         Northern Trust                            Contribution from the Paul                            1129-000                 $5,000.00                                  $5,000.00
                                  LaSalle Office                            Galvin Memorial Foundation
                                  50 South LaSalle Street                   Trust
                                  Chicago, IL 60675                         See 2/24/12 correspondence
                                                                            from Adelman & Gettleman,
                                                                            Ltd.
   02/29/12            16         PWC                                       PwC Giving Campaign 2011 -                            1129-000               $12,234.00                                 $17,234.00
                                  120 Wall Street, 4th Floor                Various contributions
                                  New York, NY 10005-3904                   See 2/24/12 correspondence
                                                                            from Adelman & Gettleman,
                                                                            Ltd.
   02/29/12                       Hedge Funds Care, Inc.                    2011 Grant                                            1221-000               $17,500.00                                 $34,734.00
                                  70 West 36th Street                       See 2/24/12 correspondence
                                  Suite 1404                                from Adelman & Gettleman,
                                  New York, NY 10018                        Ltd.
   03/30/12            INT        Bank of America                           Interest Rate 0.010                                   1270-000                      $0.12                               $34,734.12

   03/30/12                       Bank of America                           Bank Service Fee under 11                             2600-000                                          $17.65          $34,716.47
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/02/12            16         Chicago Housing Authority                 Payment for services rendered                         1129-000               $89,433.77                                $124,150.24
                                  60 E. Van Buren                           to the FamilyWorks program
                                  Chicago, IL 60605
   04/05/12            16         United HealthCare Svs Inc                 Refund issued for outstanding                         1129-000                 $2,416.37                               $126,566.61
                                  Oldsmar Billing - CCU                     credits on customer #537041
                                  601 Brooker Creek Blvd
                                  Oldsmar, FL 34677
   04/13/12            16         AT&T                                      AT&T Accounts Payable                                 1129-000                    $688.07                              $127,254.68
                                  JPMorgan Chase Bank, N.A.
                                  Syracuse, NY
   04/13/12            16         AT&T                                      AT&T Accounts Payable                                 1129-000                 $1,060.48                               $128,315.16
                                  JPMorgan Chase Bank, N.A.
                                  Syracuse, NY
   04/13/12            16         Local Initiatives Support Corp.           Payment for Donor ID/PA#                              1129-000               $18,304.08                                $146,619.24
                                  501 7th Avenue, 7th FL                    45024-0005
                                  New York, NY 10018




                                                                                   Page Subtotals:                                                      $146,636.89                 $17.65
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           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Bank of America
                                                                                                                   Account Number/CD#: XXXXXX6769
                                                                                                                                            Money Market Account
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   04/13/12                       CHANGE Chicago Housing Authority          Payment for Invoice No.                                1290-000               $89,433.77                                $236,053.01
                                  60 E. Van Buren                           JAHHA FW 12 EXP/PO
                                  Chicago, IL 60605                         Number 65832
   04/13/12            16         International Business Machines           Number 060Q3650                                        1129-000                     $10.32                              $236,063.33
                                  1701 North Street
                                  Endicott, NY 13760
   04/13/12            16         Truist                                    Fall 2011-12 Campaign -                                1129-000                     $50.07                              $236,113.40
                                  120 Wall Street, 4th Floor                Various contributions
                                  New York, NY 10005-3904 USA
   04/13/12            16         Truist                                    Fall 2011-12 Campaign -                                1129-000                    $279.90                              $236,393.30
                                  120 Wall Street, 4th Floor                Various contributions
                                  New York, NY 10005-3904 USA
   04/13/12             9         Commonwealth Edison Company               Refund issued for final                                1129-000                    $521.96                              $236,915.26
                                  P.O. Box 805379                           bill/Deposit Certificate No.
                                  Chicago, IL 60680-5379                    2192368003
   04/13/12            16         Truist                                    Fall 2011-12 Campaign -                                1129-000                    $170.59                              $237,085.85
                                  120 Wall Street, 4th Floor                Various contributions
                                  New York, NY 10005-3904
   04/13/12            16         Hospira Employee Giving Campaign          Hospira Employee Giving                                1129-000                    $300.00                              $237,385.85
                                  P.O. Box 3540                             Campaign
                                  Princeton, NJ 08543-3540
   04/13/12            16         Truist                                    Fall 2010-11 Campaign -                                1129-000                    $123.00                              $237,508.85
                                  120 Wall Street, 4th Floor                Various contributions
                                  New York, NY 10005-3904 USA
   04/13/12            16         IBM Retiree Charitable Campaign           Charity Contribution                                   1129-000                     $15.00                              $237,523.85
                                  Fidelity Workplace Services, LLC
   04/13/12            16         AT&T United Way Employee Giving           AT&T Employee Giving United                            1129-000                     $96.00                              $237,619.85
                                  Campaign                                  Way Campaign contribution
                                  P.O. Box 3719
                                  Princeton, NJ 08543-3719
   04/13/12            16         AIG Matching Grants Program               Matching Grants for employees                          1129-000                     $75.00                              $237,694.85
                                  P.O. Box 8857                             R. Pivarcyk and K. Sheffer
                                  Princeton, NJ 08543-8857
   04/13/12            16         ABC Educational Services, LLC             Reference No. 1N106853 -                               1129-000                    $111.20                              $237,806.05
                                  1030 West Van Buren Street                Canceled order/voided invoice
                                  Chicago, IL 60607




                                                                                    Page Subtotals:                                                       $91,186.81                  $0.00
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           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX6769
                                                                                                                                            Money Market Account
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   04/13/12            16         The Chicago Community Trust               Grant D1991-05553                                      1129-000                 $3,390.00                               $241,196.05
                                  111 East Wacker Drive, Suite 1400
                                  Chicago, IL 60601
   04/13/12            16         GE United Way Campaign                    GE United Way Campaign                                 1129-000                     $14.43                              $241,210.48
                                  P.O. Box 7067                             contribution
                                  Princeton, NJ 08543-7067
   04/13/12            16         Truist                                    Fall 2011-12 Campaign -                                1129-000                     $32.00                              $241,242.48
                                  120 Wall Street, 4th Floor                Various contributions
                                  New York, NY 10005-3904 USA
   04/13/12            16         5325 Cottage Grove                        Invoice No. 013112 ADD -                               1129-000                    $514.46                              $241,756.94
                                  Metroplex, Inc. as Agent                  Security deposit refund
                                  200 East Randolph, Suite 2100
                                  Chicago, IL 60601-6432
   04/13/12            16         United Way of Metropolitan Chicago        Campaign Description: 2010                             1129-000                    $143.49                              $241,900.43
                                  560 West Lake Street                      Local #17/Obligation 120619
                                  Chicago, IL 60661-1499
   04/13/12            16         The GE Foundation                         Matching Gifts/Payment ID:                             1129-000                    $900.00                              $242,800.43
                                  3135 Easton Turnpike                      10214034
                                  Fairfield, CT 06828
   04/30/12            INT        Bank of America                           Interest Rate Posting                                  1270-000                      $0.87                              $242,801.30

   04/30/12                       Bank of America                           Bank Service Fee under 11                              2600-000                                         $129.86         $242,671.44
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   05/11/12            16         TRUiST                                    Unspecified contribution                               1129-000                    $117.93                              $242,789.37
                                  120 Wall Street, 4th Floor
                                  New York, NY 10005-3904
   05/11/12            16         Aramark                                   ARAMARK United Way Giving                              1129-000                     $20.00                              $242,809.37
                                  P.O. Box 8319                             Campaign
                                  Princeton, NJ 08543-8319
   05/11/12            16         Brown County United Way                   Reference No. 11 Local 1st                             1129-000                     $43.27                              $242,852.64
                                  P.O. Box 1593
                                  Green Bay, WI 54305-1593
   05/11/12            16         IBM Employee Services Center              IBM Employee Charitable                                1129-000                      $4.25                              $242,856.89
                                  1701 North Street                         Contribution Campaign
                                  Endicott, NY 13760




                                                                                   Page Subtotals:                                                          $5,180.70               $129.86
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                              Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                      Bank Name: Bank of America
                                                                                                                    Account Number/CD#: XXXXXX6769
                                                                                                                                             Money Market Account
  Taxpayer ID No: XX-XXX0135                                                                                Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                               Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                        Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                            ($)
   05/11/12            16         IBM Employee Services Center                IBM Employee Charitable                               1129-000                      $1.00                              $242,857.89
                                  1701 North Street                           Contribution Campaign
                                  Endicott, NY 13760
   05/11/12            16         The Northern Trust Company                  Hutchinson, Charles L. - Fund                         1129-000                    $781.04                              $243,638.93
                                  50 South La Salle Street
                                  Chicago, Illinois 60675
   05/11/12            16         Fort Dearborn Life Insurance Company        Refund underpayment -                                 1129-000                 $1,051.06                               $244,689.99
                                  1020 31st Street                            terminated for nonpayment of
                                  Downers Grove, IL 60515-5591                policy
   05/11/12            16         Judy Baar Topinka                           Warrant Number AA7584323                              1129-000                 $8,257.00                               $252,946.99
                                  On the Treasurer of the State of Illinois
   05/11/12            16         The Northern Trust Company                  Hutchinson, Charles L. - Fund                         1129-000               $10,964.20                                $263,911.19
                                  50 South La Salle Street
                                  Chicago, Illinois 60675
   05/11/12                       CHANGE Chicago Housing Authority            Reversal                                              1290-000             ($89,433.77)                                $174,477.42
                                  60 E. Van Buren                             See bank statement ending
                                  Chicago, IL 60605                           4/30/12
                                                                              Return item chargeback on
                                                                              4/19/12
   05/11/12                       Hedge Funds Care, Inc.                      2011 Grant Reversal                                   1221-000             ($17,500.00)                                $156,977.42
                                  70 West 36th Street                         See bank statement ending
                                  Suite 1404                                  3/30/12
                                  New York, NY 10018                          Return item chargeback 3/5/12
   05/31/12            INT        Bank of America                             Interest Rate 0.010                                   1270-000                      $1.24                              $156,978.66

   05/31/12                       Bank of America                             Bank Service Fee under 11                             2600-000                                         $186.38         $156,792.28
                                                                              U.S.C. § 330(a)(1)(B), 503(b)
                                                                              (1), and 507(a)(2)
   06/18/12            16         Byron Union Oil Co.                         Dividend                                              1129-000                    $200.00                              $156,992.28
                                  P.O. Box 2135
                                  Idaho Falls, Idaho 83403
   06/18/12            16         PepsiCo Foundation                          PepsiCo Foundation United                             1129-000                     $49.50                              $157,041.78
                                  P.O. Box 7635                               Way Campaign Foundation
                                  Princeton, NJ 08543-7635                    Matching Gift Program
   06/18/12            16         PWC                                         Truist Comprehensive                                  1129-000                      $2.40                              $157,044.18
                                  120 Wall Street, 4th Floor                  Distribution
                                  New York, NY 10005-3904


                                                                                     Page Subtotals:                                                     ($85,626.33)                $186.38
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                     Bank Name: Bank of America
                                                                                                                   Account Number/CD#: XXXXXX6769
                                                                                                                                            Money Market Account
  Taxpayer ID No: XX-XXX0135                                                                               Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   06/18/12            16         Wells Fargo Bank, N.A.                    IBM Employee Charitable                                1129-000                      $1.00                              $157,045.18
                                  IBM Employee Services Center              Contribution Campaign
                                  1701 North Street
                                  Endicott, NY 13760
   06/18/12            501        Project Leadership Associates             Invoice 081054                                         2420-000                                     $14,400.00          $142,645.18
                                  120 South LaSalle, Suite 1200
                                  Chicago, IL 60603
   06/29/12            INT        Bank of America                           Interest Rate 0.010                                    1270-000                      $1.23                              $142,646.41

   06/29/12                       Bank of America                           Bank Service Fee under 11                              2600-000                                         $180.55         $142,465.86
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/10/12            16         Citibank, N.A.                            Account # ending 8871                                  1129-000                     $97.35                              $142,563.21
                                  Customer Service Center
                                  PO Box 6500
                                  Sioux Falls, South Dakota 57117-6500
   07/10/12            16         United Way of Southeastern Pennsylvania Reference No. 5789474                                    1129-000                     $45.50                              $142,608.71
                                  1709 Benjamin Franklin Parkway
                                  Philadelphia, Pennsylvania 19103-1294
   07/10/12            16         Wells Fargo Bank, N.A.                    IBM Employee Charitable                                1129-000                      $1.00                              $142,609.71
                                  IBM Employee Services Center              Contribution Campaign
                                  1701 North Street
                                  Endicott, NY 13760
   07/11/12            16         Wells Fargo Bank, N.A.                    IBM Employee Charitable                                1129-000                      $1.00                              $142,610.71
                                  IBM Employee Services Center              Contribution Campaign
                                  1701 North Street
                                  Endicott, NY 13760
   07/11/12            16         Catherine C Yarnelle Estate, Richard      Final distribution                                     1129-000                 $2,598.44                               $145,209.15
                                  Duffield Adm, Exe or pe
                                  3430 E. Sunrise Dr. Ste 200
                                  Tucson, AZ 85718-3236
   07/30/12            16         Hospira Employee Giving Campaign          Hospira Giving Campaign                                1129-000                     $75.00                              $145,284.15
                                  Hospira Foundation Match
                                  P.O. Box 3540
                                  Princeton, NJ 08543-3540
   07/30/12            16         Hospira Employee Giving Campaign          Hospira Giving Campaign                                1129-000                    $150.00                              $145,434.15
                                  P.O. Box 3540
                                  Princeton, NJ 08543-3540


                                                                                    Page Subtotals:                                                         $2,970.52           $14,580.55
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                                        Case 12-04800                 Doc 287   Filed 02/09/16
                                                                                          FORM 2
                                                                                                 Entered 02/09/16 15:18:35                              Desc Main
                                                                               Document      Page  206 of 208 RECORD
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                            Trustee Name: DEBORAH M. GUTFELD                                           Exhibit 9
      Case Name: Hull House Association                                                                                    Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX6769
                                                                                                                                           Money Market Account
  Taxpayer ID No: XX-XXX0135                                                                              Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                    6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   07/30/12            16         IBM Employee Services Center              IBM Employee Charitable                               1129-000                      $1.00                              $145,435.15
                                  1701 North Street                         Contribution Campaign
                                  Endicott, NY 13760
   07/30/12            16         Allstate The Giving Campaign              The Giving Campaign                                   1129-000                     $43.16                              $145,478.31
                                  P.O. Box 7899
                                  Princeton, NJ 08543-7899
   07/30/12            16         Truist                                    Truist Comprehensive                                  1129-000                     $95.93                              $145,574.24
                                  P.O. Box 39990                            Distribution
                                  Washington, DC 20016-6990
   07/30/12            16         Truist                                    Truist Comprehensive                                  1129-000                     $95.93                              $145,670.17
                                  120 Wall Street, 4th Floor                Distribution
                                  New York, NY 10005-3904
   07/30/12            16         Fleetcor Tech Operating Co LLC            Ref-070212 - A/R Refund                               1129-000                    $191.85                              $145,862.02
                                  1001 Service Road East
                                  Hwy 190 Suite 200
                                  Covington, LA 70433
   07/31/12            INT        Bank of America                           Interest Rate 0.010                                   1270-000                      $1.23                              $145,863.25

   07/31/12                       Bank of America                           Bank Service Fee under 11                             2600-000                                         $189.08         $145,674.17
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/13/12            502        Ceridian Corporation                      Payment per August 7, 2012                            3991-000                                         $440.00         $145,234.17
                                  3311 East Old Shakopee Road               court order
                                  Minneapolis, MN 55425
   08/15/12            16         Wells Fargo Bank, N.A.                    IBM Employee Charitable                               1129-000                      $1.00                              $145,235.17
                                  IBM Employee Services Center              Contribution Campaign
                                  1701 North Street
                                  Endicott, NY 13760
   08/15/12            16         SXC Health Solutions, Inc.                4/30/12 HTA Affiliate HTA39                           1129-000                      $4.00                              $145,239.17
                                  2441 Warrenville Road
                                  Suite 610
                                  Lisle, IL 60532-3642
   08/15/12            16         Truist                                    Truist Comprehensive                                  1129-000                     $95.93                              $145,335.10
                                  P.O. Box 39990                            Distribution
                                  Washington, DC 20016-6990
   08/31/12            INT        Bank of America                                                                                 1270-000                      $1.19                              $145,336.29




                                                                                   Page Subtotals:                                                            $531.22              $629.08
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-04800                                                                                             Trustee Name: DEBORAH M. GUTFELD                                        Exhibit 9
      Case Name: Hull House Association                                                                                    Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX6769
                                                                                                                                          Money Market Account
  Taxpayer ID No: XX-XXX0135                                                                             Blanket Bond (per case limit): $100,000.00
For Period Ending: 01/19/2016                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   08/31/12                       Bank of America                                                                                 2600-000                                       $179.14         $145,157.15

   08/31/12                       Transfer to Acct # xxxxxx6268             Transfer of Funds                                     9999-000                                  $145,157.15                 $0.00



                                                                                                            COLUMN TOTALS                              $160,879.81          $160,879.81
                                                                                                                  Less: Bank Transfers/CD's                   $0.00         $145,157.15
                                                                                                            Subtotal                                   $160,879.81           $15,722.66
                                                                                                                  Less: Payments to Debtors                   $0.00                $0.00
                                                                                                            Net                                        $160,879.81           $15,722.66




                                                                                   Page Subtotals:                                                            $0.00         $145,336.29
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                                                                                          TOTAL OF ALL ACCOUNTS
                                                                                                                                            NET            ACCOUNT
                                                                                                        NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                             XXXXXX6268 - Checking                                          $949,707.04          $1,094,864.19                  $0.00
                                             XXXXXX6769 - Money Market Account                              $160,879.81               $15,722.66                $0.00
                                                                                                          $1,110,586.85          $1,110,586.85                  $0.00

                                                                                                       (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                               transfers)            to debtors)
                                             Total Allocation Receipts:                       $0.00
                                             Total Net Deposits:                       $1,110,586.85
                                             Total Gross Receipts:                     $1,110,586.85




                                                                     Page Subtotals:                                          $0.00                $0.00
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